·1· · · · · · ·IN THE UNITED STATES DISTRICT COURT
· · · · · · · ·FOR THE MIDDLE DISTRICT OF TENNESSEE
·2· · · · · · · · · · · NASHVILLE DIVISION

·3

·4·   ·BOZA PLEASANT-BEY,· · · · · · )
· ·   · · · · · · · · · · · · · · · ·)
·5·   · · Plaintiff,· · · · · · · · ·)
· ·   · · · · · · · · · · · · · · · ·)· ·Case No. 3:19-cv-00486
·6·   ·VS.· · · · · · · · · · · · · ·)· ·JUDGE TRAUGER
· ·   · · · · · · · · · · · · · · · ·)· ·JURY DEMAND
·7·   ·STATE OF TENNESSEE, et al,· · )
· ·   · · · · · · · · · · · · · · · ·)
·8·   · · Defendants.· · · · · · · · )
· ·   ·______________________________X
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15· · · · · · · · · ·DEPOSITION OF JON WALTON

16· · · · · · · · · · TAKEN ON APRIL 8, 2021

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18· ·_______________________________________________________

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· ·   ·Prepared by:
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Case 3:22-cv-00093 Document 37-2 Filed 05/25/22 Page 1 of 162 PageID #: 2983
BOZA PLEASANT-BEY vs STATE OF TENNESSEE
WALTON, JON on 04/08/2021                                               Page 2
                                                                       Page 2
 ·1· · · · · · · · · · · · ·APPEARANCES:

 ·2

 ·3

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                      Briggs & Associates 615/482-0037
Case 3:22-cv-00093 DocumentNashville, Tennessee
                             37-2 Filed 05/25/22 Page 2 of 162 PageID #: 2984
BOZA PLEASANT-BEY vs STATE OF TENNESSEE
WALTON, JON on 04/08/2021                                               Page 3
                                                                       Page 3
 ·1· · · · · · · · · · · TABLE OF CONTENTS

 ·2

 ·3· ·Witness· · · · · · · · · · · · · · · · · · · · · Page

 ·4

 ·5
 · · ·JON WALTON
 ·6
 · · ·Examination by Ms. Maples· · · · · · · · · · · · ·7
 ·7· ·Examination by Mr. Welborn· · · · · · · · · · · 126

 ·8

 ·9

 10

 11· · · · · · · · · · · ·LIST OF EXHIBITS

 12

 13· ·Number· · ·Description· · · · · · · · · · · · · ·Page

 14

 15·   ·1*· · · · · ·Mr. Walton's cheat sheet· · · · · · 13
 · ·   · · · · · · · (late-filed)
 16
 · ·   ·2· · · · · · Noncompliance reports, collective· ·23
 17
 · ·   ·3· · · · · · Policy No. 501.01, inmate· · · · · ·50
 18·   · · · · · · · grievance procedures

 19·   ·4· · · · · · Contract for the Trousdale· · · · · 53
 · ·   · · · · · · · facility
 20
 · ·   ·5· · · · · · non-compliant reports starting· · · 73
 21·   · · · · · · · with Bates 002291

 22·   ·6· · · · · · final summary, starting at Bates· ·102
 · ·   · · · · · · · No. 003537
 23
 · ·   ·7· · · · · · quarterly reports, starting at· · ·108
 24·   · · · · · · · Bates No. 003709

 25


                      Briggs & Associates 615/482-0037
Case 3:22-cv-00093 DocumentNashville, Tennessee
                             37-2 Filed 05/25/22 Page 3 of 162 PageID #: 2985
BOZA PLEASANT-BEY vs STATE OF TENNESSEE
WALTON, JON on 04/08/2021                                               Page 4
                                                                       Page 4
 ·1·   ·8· · · · · · noncompliant reports starting at· ·113
 · ·   · · · · · · · Bates No. 002260
 ·2
 · ·   ·9*· · · · · ·E-mail, noncompliance reports to· ·117
 ·3·   · · · · · · · contractor (late-filed)

 ·4· ·10· · · · · ·TDOC Policy 205.03· · · · · · · · ·122

 ·5· ·11· · · · · ·Comptroller's performance audit· · 122
 · · · · · · · · · report, 1/2020
 ·6

 ·7

 ·8· ·(* designates late-filed exhibits)

 ·9

 10

 11

 12

 13

 14

 15

 16

 17

 18

 19

 20

 21

 22

 23

 24

 25


                      Briggs & Associates 615/482-0037
Case 3:22-cv-00093 DocumentNashville, Tennessee
                             37-2 Filed 05/25/22 Page 4 of 162 PageID #: 2986
BOZA PLEASANT-BEY vs STATE OF TENNESSEE
WALTON, JON on 04/08/2021                                               Page 5
                                                                       Page 5
 ·1· · · · · · · · · · S T I P U L A T I O N

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 ·4· · · · · · The deposition of Jon Walton, taken on behalf

 ·5· ·of the plaintiff, remotely via Zoom, by agreement of

 ·6· ·parties, on April 8, 2021, for all purposes allowed

 ·7· ·under the Federal Rules of Civil Procedure.

 ·8· · · · · · It is agreed that Carole K. Briggs, licensed

 ·9· ·court reporter for the State of Tennessee, may swear the

 10· ·witness, take his deposition, and afterwards reduce same

 11· ·to typewritten form, and that the reading and signing of

 12· ·the completed deposition by the witness is not waived.

 13· · · · · · All formalities as to notice, caption,

 14· ·certificate, et cetera, are expressly waived. All

 15· ·objections, except as to the form of the question, are

 16· ·reserved to the hearing.

 17

 18· ·(Unless previously provided, all names are spelled
 · · ·phonetically, to the best of the court reporter's
 19· ·ability.)

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                      Briggs & Associates 615/482-0037
Case 3:22-cv-00093 DocumentNashville, Tennessee
                             37-2 Filed 05/25/22 Page 5 of 162 PageID #: 2987    YVer1f
BOZA PLEASANT-BEY vs STATE OF TENNESSEE
WALTON, JON on 04/08/2021                                               Page 6
                                                                       Page 6
 ·1· · · · · · · (Whereupon, the foregoing deposition
 ·2· · · · · · · began at 8:06 a.m.)
 ·3· · · · · · · THE COURT REPORTER:· Today is April 8, 2021
 ·4· ·at 8:06 a.m.· We are here for depositions.· At this
 ·5· ·time, would each attorney introduce yourself, who you
 ·6· ·represent and that you agree to take this deposition via
 ·7· ·Zoom.· We will start with the plaintiff's attorney and
 ·8· ·work our way through the defense.
 ·9· · · · · · · MS. MAPLES:· Janna Maples and Tricia Herzfeld
 10· ·with Branstetter Stranch & Jennings for the plaintiff.
 11· ·And we agree.
 12· · · · · · · MR. AUMANN:· This is Tom Aumann and Nikki
 13· ·Hashemian representing defendant Tennessee Department of
 14· ·Correction, State of Tennessee, commissioner Tony Parker
 15· ·and the director of religious and volunteer services.
 16· ·And we agree.
 17· · · · · · · MR. WELBORN:· Joe Welborn and Erin Polly.· We
 18· ·represent CoreCivic.
 19· · · · · · · THE COURT REPORTER:· And do you agree to take
 20· ·the deposition via Zoom?
 21· · · · · · · MR. WELBORN:· We do.
 22· ·Whereupon,
 23· · · · · · · · · · · · ·JON WALTON,
 24· ·having been first duly sworn, was examined and deposed
 25· ·as follows:


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Case 3:22-cv-00093 DocumentNashville, Tennessee
                             37-2 Filed 05/25/22 Page 6 of 162 PageID #: 2988    YVer1f
BOZA PLEASANT-BEY vs STATE OF TENNESSEE
WALTON, JON on 04/08/2021                                               Page 7
                                                                       Page 7
 ·1· ·EXAMINATION BY MS. MAPLES:
 ·2· · · · Q.· · Please state your name for the record.
 ·3· · · · A.· · Jon Walton.
 ·4· · · · Q.· · What is your current job title?
 ·5· · · · A.· · I am a contract monitor.
 ·6· · · · Q.· · Where is your office located?
 ·7· · · · A.· · 140 Macon Way, Hartsville, Tennessee at the
 ·8· ·Trousdale Turner Correctional Center.
 ·9· · · · Q.· · And you said your job title is contract
 10· ·monitor.· Are you the contract monitor of operations or
 11· ·the contract monitor of compliance?
 12· · · · A.· · Contract monitor of compliance.
 13· · · · Q.· · How long have you been in that position at
 14· ·Trousdale?
 15· · · · A.· · Approximately 16 months.
 16· · · · Q.· · Since what date?
 17· · · · A.· · November 2019.
 18· · · · Q.· · What are the job responsibilities of the
 19· ·contract monitor of compliance?
 20· · · · A.· · To review and ensure that the facility is
 21· ·abiding by the contractual standards set forth by the
 22· ·Tennessee Department of Corrections.
 23· · · · Q.· · Do you work with Trousdale's warden at all?
 24· · · · A.· · I do.
 25· · · · Q.· · How regularly?


                      Briggs & Associates 615/482-0037
Case 3:22-cv-00093 DocumentNashville, Tennessee
                             37-2 Filed 05/25/22 Page 7 of 162 PageID #: 2989    YVer1f
BOZA PLEASANT-BEY vs STATE OF TENNESSEE
WALTON, JON on 04/08/2021                                               Page 8
                                                                       Page 8
 ·1· · · · A.· · Daily.
 ·2· · · · Q.· · Who is the current warden of Trousdale?
 ·3· · · · A.· · The current warden is Raymond Byrd.
 ·4· · · · Q.· · Has Mr. Byrd ever been placed on
 ·5· ·administrative leave at Trousdale?
 ·6· · · · A.· · I'm not aware of anything formally, no.
 ·7· · · · Q.· · Are you aware of anything informally?
 ·8· · · · A.· · I am aware that Mr. Byrd is currently on
 ·9· ·leave, but I'm not certain as to the facts surrounding
 10· ·that.
 11· · · · Q.· · What have you been told about the reasons
 12· ·that Mr. Byrd is currently on leave?
 13· · · · A.· · I have not been told.
 14· · · · Q.· · Has Warden Byrd ever been disciplined since
 15· ·he's been warden at Trousdale?
 16· · · · A.· · Not that I am aware.
 17· · · · Q.· · How long has Mr. Byrd been on leave from
 18· ·Trousdale?
 19· · · · A.· · I want to say approximately four weeks.
 20· · · · Q.· · Was an assistant warden named as acting
 21· ·warden during this time?
 22· · · · A.· · Yes.
 23· · · · Q.· · Which one?
 24· · · · A.· · Vincent Vantell.
 25· · · · Q.· · And do you have any understanding at all as


                      Briggs & Associates 615/482-0037
Case 3:22-cv-00093 DocumentNashville, Tennessee
                             37-2 Filed 05/25/22 Page 8 of 162 PageID #: 2990    YVer1f
BOZA PLEASANT-BEY vs STATE OF TENNESSEE
WALTON, JON on 04/08/2021                                               Page 9
                                                                       Page 9
 ·1· ·to why Mr. Byrd is currently on leave?
 ·2· · · · A.· · No, ma'am.
 ·3· · · · · · · MR. AUMANN:· Objection to form.· You can go
 ·4· ·ahead.
 ·5· ·BY MS. MAPLES:
 ·6· · · · Q.· · Do you know whether Warden Byrd will soon be
 ·7· ·reassigned?
 ·8· · · · A.· · I do not.
 ·9· · · · Q.· · Have there been discussions at Trousdale
 10· ·concerning Warden Byrd being reassigned?
 11· · · · A.· · I'm -- not that has involved me, no.
 12· · · · Q.· · Are you aware of conversations about Warden
 13· ·Byrd being reassigned that have occurred between others?
 14· · · · A.· · Yes.
 15· · · · Q.· · Who are those others that have had
 16· ·conversations about Warden Byrd being reassigned?
 17· · · · A.· · It would be the executive leadership team
 18· ·between the Tennessee Department of Corrections and
 19· ·CoreCivic.
 20· · · · Q.· · Which individuals are part of the executive
 21· ·leadership between TDOC and CoreCivic?
 22· · · · A.· · To my knowledge, that would be TDOC
 23· ·commissioner, Tony Parker; assistant commissioner of
 24· ·operations; Lee Dotson; and, the CoreCivic VP I know is
 25· ·Mr. Medlin.· And there's one other.· I can't recall his


                      Briggs & Associates 615/482-0037
Case 3:22-cv-00093 DocumentNashville, Tennessee
                             37-2 Filed 05/25/22 Page 9 of 162 PageID #: 2991    YVer1f
BOZA PLEASANT-BEY vs STATE OF TENNESSEE
WALTON, JON on 04/08/2021                                               Page 10
                                                                      Page 10
 ·1· ·name right off the top of my head.
 ·2· · · · Q.· · Is it your understanding that the discussions
 ·3· ·about reassigning Warden Byrd are related to the reason
 ·4· ·that Warden Byrd is currently on an informal leave?
 ·5· · · · A.· · Could you repeat that question, I'm sorry.
 ·6· · · · Q.· · Is it your understanding that discussions
 ·7· ·about the reassignment of Warden Byrd are related to the
 ·8· ·reason for him being on an informal leave at present?
 ·9· · · · A.· · I'm really not certain of anything to do with
 10· ·Mr. Byrd's employment.· That's not something that I
 11· ·would oversee.
 12· · · · Q.· · Have you heard any rumors about why he is
 13· ·currently on administrative leave?
 14· · · · A.· · I really can't speak to a rumor.· I'm not
 15· ·sure.
 16· · · · Q.· · Well, I'm not asking you what the rumors are,
 17· ·I'm just asking if you've heard any rumors?
 18· · · · A.· · I have not.
 19· · · · Q.· · You mentioned a Jason Medlin earlier who's a
 20· ·-- I think you said is a VP at CoreCivic.· Has he
 21· ·visited Trousdale recently?
 22· · · · A.· · Yes, ma'am.
 23· · · · Q.· · Why did he visit Trousdale?
 24· · · · A.· · It's routine.· The managing director and
 25· ·several others are on site regularly.


                      Briggs & Associates 615/482-0037
Case 3:22-cv-00093 Document Nashville,
                             37-2 FiledTennessee
                                        05/25/22 Page 10 of 162 PageID #: 2992   YVer1f
BOZA PLEASANT-BEY vs STATE OF TENNESSEE
WALTON, JON on 04/08/2021                                               Page 11
                                                                      Page 11
 ·1· · · · Q.· · Has he been at Trousdale more frequently due
 ·2· ·to the fact that the warden is currently on some kind of
 ·3· ·administrative leave?
 ·4· · · · A.· · Not that I am aware.· No more than usual.
 ·5· · · · Q.· · Has Jason Medlin assumed any kind of control
 ·6· ·over the Trousdale facility that is outside of what is
 ·7· ·routine?
 ·8· · · · A.· · Not that I am aware.
 ·9· · · · Q.· · Have you been in meetings with Jason Medlin
 10· ·at Trousdale?
 11· · · · A.· · No, ma'am.
 12· · · · Q.· · Have you ever discussed conditions inside the
 13· ·prison with Jason Medlin?
 14· · · · A.· · No, ma'am.
 15· · · · Q.· · Do you know any other CoreCivic executives?
 16· · · · A.· · Chuck Keeton.
 17· · · · Q.· · And what is his job title?
 18· · · · A.· · He's the managing director.
 19· · · · Q.· · Does he visit Trousdale?
 20· · · · A.· · He does.
 21· · · · Q.· · How often?
 22· · · · A.· · I would say more frequently than Mr. Medlin.
 23· · · · Q.· · When was the last time Chuck Keeton visited
 24· ·the facility?
 25· · · · A.· · I believe he was here yesterday and he's also


                      Briggs & Associates 615/482-0037
Case 3:22-cv-00093 Document Nashville,
                             37-2 FiledTennessee
                                        05/25/22 Page 11 of 162 PageID #: 2993   YVer1f
BOZA PLEASANT-BEY vs STATE OF TENNESSEE
WALTON, JON on 04/08/2021                                               Page 12
                                                                      Page 12
 ·1· ·scheduled to be on site today.
 ·2· · · · Q.· · Do you know any other CoreCivic executives?
 ·3· · · · A.· · I do not, no.
 ·4· · · · Q.· · Do you know who the CEO of CoreCivic is?
 ·5· · · · A.· · I do not, no.
 ·6· · · · Q.· · Do you know where CoreCivic headquarters is
 ·7· ·located?
 ·8· · · · A.· · I have been told it's in Brentwood, but I
 ·9· ·don't know that for certain.
 10· · · · Q.· · What are some of the areas that you oversee
 11· ·at CoreCivic as contract monitor of compliance?
 12· · · · · · · MR. AUMANN:· Objection to the form.· You can
 13· ·go ahead.· You can go ahead and answer the question.
 14· · · · · · · THE WITNESS:· Oh, I'm sorry.· We oversee a
 15· ·detailed list of items to include.· My area of
 16· ·concentration is clothing and hygiene.· Sanitation of
 17· ·facility.· Staffing, and that would include staffing
 18· ·levels and employee vacancies.· Facility and property.
 19· ·Grievance procedures.· Commissary.· Inmate jobs.· Inmate
 20· ·personal property.· The release procedures.· Security
 21· ·equipment.· Food services.· And policy and procedure.
 22· ·BY MS. MAPLES:
 23· · · · Q.· · Mr. Walton, I can see that you're looking --
 24· ·you seem to be looking at something to your left.· Do
 25· ·you have some kind of list of your job title or job


                      Briggs & Associates 615/482-0037
Case 3:22-cv-00093 Document Nashville,
                             37-2 FiledTennessee
                                        05/25/22 Page 12 of 162 PageID #: 2994   YVer1f
BOZA PLEASANT-BEY vs STATE OF TENNESSEE
WALTON, JON on 04/08/2021                                               Page 13
                                                                      Page 13
 ·1· ·descriptions somewhere in your office?
 ·2· · · · A.· · I don't have it in my office.· What I'm
 ·3· ·looking at is a list.· What we have are ten separate
 ·4· ·instruments that we review as contract monitors.· It's
 ·5· ·my responsibility to review half of those.· And the
 ·6· ·contract of operations reviews the opposing half.· And
 ·7· ·then I'll file and keep all of them stored in my office.
 ·8· ·And I just wanted to ensure that I was giving you a very
 ·9· ·succinct and precise list of areas that I review as the
 10· ·contract monitor of compliance.
 11· · · · Q.· · I appreciate that.· What did you say that
 12· ·that list is called, the ten separate instruments?
 13· · · · A.· · It's called my cheat sheet.
 14· · · · Q.· · Is that something that you could send over to
 15· ·us during a break or after the deposition?
 16· · · · A.· · Absolutely.· Be happy to.
 17· · · · · · · MS. MAPLES:· We would like to make that
 18· ·late-filed Exhibit 1 to Mr. Walton's deposition.
 19· · · · · · · (Exhibit 1 was marked late-filed.)
 20· ·BY MS. MAPLES:
 21· · · · Q.· · What is your interaction with the grievance
 22· ·process at Trousdale?
 23· · · · A.· · What I'll do is I'll take my grievance
 24· ·instrument, which has a series of detailed items to
 25· ·observe to ensure that responses are met within policy


                      Briggs & Associates 615/482-0037
Case 3:22-cv-00093 Document Nashville,
                             37-2 FiledTennessee
                                        05/25/22 Page 13 of 162 PageID #: 2995   YVer1f
BOZA PLEASANT-BEY vs STATE OF TENNESSEE
WALTON, JON on 04/08/2021                                               Page 14
                                                                      Page 14
 ·1· ·standards.· Those responses would include to ensure that
 ·2· ·the grievance chairperson is responding to the grievant
 ·3· ·within a certain amount of time, that the level reviews
 ·4· ·are completed within appropriate dates and that
 ·5· ·everything is being maintained in an orderly fashion.
 ·6· ·Essentially to ensure that the grievance procedures are
 ·7· ·being followed by TDOC policy.
 ·8· · · · Q.· · You mentioned a grievance instrument.· What
 ·9· ·do you mean by that?
 10· · · · A.· · It's a spreadsheet that the contract monitors
 11· ·utilize to review the standards and what we observe --
 12· ·against what we observe.· It's an audit tool.
 13· · · · Q.· · How regularly do you conduct an audit using
 14· ·the grievance instrument spreadsheet?
 15· · · · A.· · Both quarterly and biannually.
 16· · · · Q.· · So you do six every year?
 17· · · · A.· · We do four.· So we have the quarter -- that's
 18· ·kind of confusing.· It's a quarterly audit tool, but
 19· ·when we do what we consider a biannual, which occurs in
 20· ·January and December, we'll take the previous six months
 21· ·into account.· So it's a quarterly review, but we -- the
 22· ·review periods are quarterly and biannually.· Does that
 23· ·make sense, or did I confuse everybody?
 24· · · · Q.· · Well, I guess my next question would be for
 25· ·the biannual audit, do you do any kind of independent


                      Briggs & Associates 615/482-0037
Case 3:22-cv-00093 Document Nashville,
                             37-2 FiledTennessee
                                        05/25/22 Page 14 of 162 PageID #: 2996   YVer1f
BOZA PLEASANT-BEY vs STATE OF TENNESSEE
WALTON, JON on 04/08/2021                                               Page 15
                                                                      Page 15
 ·1· ·review using the grievance instrument, or are you merely
 ·2· ·looking back at the quarterly reports?
 ·3· · · · A.· · It would be a revisit of the quarterly.
 ·4· ·There is nothing that changes, no.
 ·5· · · · Q.· · Okay, so you're not using any new or
 ·6· ·additional data for the biannual audit?
 ·7· · · · A.· · No, ma'am.· Correct.
 ·8· · · · Q.· · And can you describe the audit procedure for
 ·9· ·these quarterly audits?
 10· · · · A.· · The procedure that I use is I basically show
 11· ·up.· It's -- we tell the facility it's an open-book test
 12· ·because they're welcome to review what it is that we are
 13· ·looking at.· We want the facility to not be surprised by
 14· ·anything that we are there to look at.· So whenever we
 15· ·go down, we usually do an unannounced visit and we just
 16· ·take the department head over that area.· In this
 17· ·particular case, it would be the grievance chairperson.
 18· ·And we walk through their logs and their paperwork and
 19· ·review each item on the instrument line by line.
 20· · · · Q.· · Do you get a sampling from the log book or do
 21· ·you just kind of comb through it?
 22· · · · A.· · I usually take -- what I'll do, like this
 23· ·past order is I took a -- their entire log and I just
 24· ·pulled a sample of 20 from their grievance log.· So --
 25· · · · Q.· · Is that --


                      Briggs & Associates 615/482-0037
Case 3:22-cv-00093 Document Nashville,
                             37-2 FiledTennessee
                                        05/25/22 Page 15 of 162 PageID #: 2997   YVer1f
BOZA PLEASANT-BEY vs STATE OF TENNESSEE
WALTON, JON on 04/08/2021                                               Page 16
                                                                      Page 16
 ·1· · · · A.· · I'm sorry, go on.
 ·2· · · · Q.· · Go ahead, finish your answer.
 ·3· · · · A.· · So it's not something that they pull.· It's
 ·4· ·something that I select.
 ·5· · · · Q.· · Is selecting 20 samples a standardized TDOC
 ·6· ·procedure or is that just your audit practice?
 ·7· · · · A.· · That's a standard procedure.
 ·8· · · · Q.· · Is it fair to say that your -- or TDOC's,
 ·9· ·rather, oversight of the grievance procedure is limited
 10· ·to those 20 samples from the grievance log book which
 11· ·are pulled four times a year?
 12· · · · · · · MR. AUMANN:· Objection to form.· You can go
 13· ·ahead.
 14· · · · · · · THE WITNESS:· To ensure that I understood
 15· ·correctly, you're asking me do I feel that the -- better
 16· ·yet, could you repeat that question.
 17· ·BY MS. MAPLES:
 18· · · · Q.· · Okay.· I'm just trying to understand if there
 19· ·is any monitoring of the grievance process other than
 20· ·the 20 samples that are pulled from the log book four
 21· ·times a year?
 22· · · · A.· · There's not.· You know, the monitoring audit
 23· ·tool that we utilize is fairly specific in what it is
 24· ·that we are to review.· You know, if the reviews aren't
 25· ·being completed within a timely manner, you know, we --


                      Briggs & Associates 615/482-0037
Case 3:22-cv-00093 Document Nashville,
                             37-2 FiledTennessee
                                        05/25/22 Page 16 of 162 PageID #: 2998   YVer1f
BOZA PLEASANT-BEY vs STATE OF TENNESSEE
WALTON, JON on 04/08/2021                                               Page 17
                                                                      Page 17
 ·1· ·ultimately, what we are here to ensure is that whenever
 ·2· ·a grievant files a grievance, that they are not only
 ·3· ·being heard, but they're being responded to within an
 ·4· ·appropriate amount of time.
 ·5· · · · · · · And if they're not in a position that they
 ·6· ·agree with the response of the chairperson, that they're
 ·7· ·then given the opportunity to appeal that within an
 ·8· ·appropriate amount of time.· And essentially, that's all
 ·9· ·the grievance process involves.
 10· · · · Q.· · Do you ever speak to Trousdale inmates?
 11· · · · A.· · Every day.
 12· · · · Q.· · Do you do that as part of your job or more in
 13· ·passing?
 14· · · · A.· · Both.
 15· · · · Q.· · In what way or why do you speak to inmates as
 16· ·part of your job?
 17· · · · A.· · Well, come to find out, we've learned a lot
 18· ·from holding dialogue with the population.· You know,
 19· ·there may be some things that would steer us into a
 20· ·direction where we need to more attentive to.· Take this
 21· ·conversation, for example, about the grievance process.
 22· ·If the inmate says that -- comes to me and says that he
 23· ·has filed a grievance but he has not had a response to
 24· ·that grievance, then I could take his information and go
 25· ·to the grievance chairperson without utilizing my audit


                      Briggs & Associates 615/482-0037
Case 3:22-cv-00093 Document Nashville,
                             37-2 FiledTennessee
                                        05/25/22 Page 17 of 162 PageID #: 2999   YVer1f
BOZA PLEASANT-BEY vs STATE OF TENNESSEE
WALTON, JON on 04/08/2021                                               Page 18
                                                                      Page 18
 ·1· ·tool and ask them if they have any information on that
 ·2· ·inmate as far as him having filed a grievance.
 ·3· · · · · · · Depending on what the grievance chairperson
 ·4· ·tells me at that point, if she says, yes, and we're
 ·5· ·processing it, then I did my follow-up.· It was just my
 ·6· ·responsibility to ensure that the grievance landed where
 ·7· ·it needed to.· If she says, no, I haven't received
 ·8· ·anything.· Then what I would do is go back to that
 ·9· ·inmate and let him know that the grievance chairperson
 10· ·is not in receipt of his grievance and he needs to file
 11· ·another grievance so that she can process it.
 12· · · · Q.· · So inmates can come to you with certain
 13· ·complaints as part of your job description; is that
 14· ·right?
 15· · · · A.· · Not right.· It's not my job description.
 16· ·It's just my -- the way that I operate.
 17· · · · Q.· · And have inmates before come to you with
 18· ·questions or concerns about the Trousdale grievance
 19· ·process?
 20· · · · A.· · I'm sure they have.· I can't think of
 21· ·anything specific right off the top of my head.
 22· · · · Q.· · Okay, so is it correct to say that other than
 23· ·your audits conducted quarterly and isolated
 24· ·conversations with individual inmates, there's no other
 25· ·oversight of the grievance process at Trousdale by the


                      Briggs & Associates 615/482-0037
Case 3:22-cv-00093 Document Nashville,
                             37-2 FiledTennessee
                                        05/25/22 Page 18 of 162 PageID #: 3000   YVer1f
BOZA PLEASANT-BEY vs STATE OF TENNESSEE
WALTON, JON on 04/08/2021                                               Page 19
                                                                      Page 19
 ·1· ·contract monitors?
 ·2· · · · A.· · On my behalf as the contract monitor of
 ·3· ·compliance.
 ·4· · · · Q.· · Okay.· Do you know if the contract monitor of
 ·5· ·operations does anything over and above the things I've
 ·6· ·just described to monitor the grievance process?
 ·7· · · · A.· · I'm not aware.
 ·8· · · · Q.· · Are you familiar with TDOC's grievance
 ·9· ·procedure?
 10· · · · A.· · Not as much as the contract monitor of
 11· ·operations.· But I do have some general knowledge, yes.
 12· · · · Q.· · Are you saying that the contract monitor of
 13· ·operations knows more about how that procedure worked?
 14· · · · A.· · Yes.· Operations and procedures go hand in
 15· ·hand.· As a compliance monitor, I'm just there to ensure
 16· ·that time frames and paperwork, the technical aspects,
 17· ·you know, are compliant.
 18· · · · Q.· · You mentioned that there is a grievance log
 19· ·that is maintained by the grievance chairperson, right?
 20· · · · A.· · Yes.
 21· · · · Q.· · So is it fair to say that in doing your
 22· ·audits, you're never sampling grievances that weren't
 23· ·entered into the log?
 24· · · · A.· · Correct.
 25· · · · Q.· · Have you, since you've been at Trousdale,


                      Briggs & Associates 615/482-0037
Case 3:22-cv-00093 Document Nashville,
                             37-2 FiledTennessee
                                        05/25/22 Page 19 of 162 PageID #: 3001   YVer1f
BOZA PLEASANT-BEY vs STATE OF TENNESSEE
WALTON, JON on 04/08/2021                                               Page 20
                                                                      Page 20
 ·1· ·ever heard of grievances not being entered into the
 ·2· ·grievance log?
 ·3· · · · A.· · Not that I am aware.
 ·4· · · · Q.· · Who is the current grievance chairperson?
 ·5· · · · A.· · Her name is Jannell Holly.
 ·6· · · · Q.· · And how long has she been the grievance
 ·7· ·chairperson?
 ·8· · · · A.· · I'm going to say since January.
 ·9· · · · Q.· · Who was the grievance chairperson before
 10· ·that?
 11· · · · A.· · Elizabeth Lopez.
 12· · · · Q.· · How long was she the grievance chairperson?
 13· · · · A.· · She was in that role when I arrived.· I don't
 14· ·really know.
 15· · · · Q.· · Is there a difference between a grievance
 16· ·chairperson and a grievance coordinator?
 17· · · · A.· · Not that I am aware.
 18· · · · Q.· · Do you know who a Sergeant Cockrill is?
 19· · · · A.· · I do not.
 20· · · · Q.· · Do you know of a Sergeant Cockrill ever being
 21· ·a grievance chairperson?
 22· · · · A.· · Not since I've been here, no.
 23· · · · Q.· · Let me try a first and last name, Lybrunca
 24· ·Cockrill?
 25· · · · A.· · I know that Ms. Lybrunca Cockrill, that when


                      Briggs & Associates 615/482-0037
Case 3:22-cv-00093 Document Nashville,
                             37-2 FiledTennessee
                                        05/25/22 Page 20 of 162 PageID #: 3002   YVer1f
BOZA PLEASANT-BEY vs STATE OF TENNESSEE
WALTON, JON on 04/08/2021                                               Page 21
                                                                      Page 21
 ·1· ·I arrived, was an assistant shift supervisor.· She was
 ·2· ·not attached to the grievance process.
 ·3· · · · Q.· · Why -- strike that.· Is Elizabeth Lopez still
 ·4· ·employed at Trousdale?
 ·5· · · · A.· · Yes, ma'am.
 ·6· · · · Q.· · Why is Elizabeth Lopez no longer the
 ·7· ·grievance chairperson?
 ·8· · · · A.· · Because she was promoted.
 ·9· · · · Q.· · Did her removal as grievance chairperson have
 10· ·anything to do with her job performance as grievance
 11· ·chairperson?
 12· · · · · · · MR. AUMANN:· Objection, form.· You can go
 13· ·ahead.
 14· ·BY MS. MAPLES:
 15· · · · Q.· · Since you have been at Trousdale, have you
 16· ·ever had a grievance chairperson that you determined was
 17· ·not properly performing his or her job as grievance
 18· ·chairperson?
 19· · · · A.· · No.
 20· · · · Q.· · For each of the quarterly audits that you do
 21· ·for grievances, do you generate a report?
 22· · · · A.· · If there are noncompliances identified I do,
 23· ·yes.
 24· · · · Q.· · So if there are no noncompliances, then you
 25· ·do not generate a report?


                      Briggs & Associates 615/482-0037
Case 3:22-cv-00093 Document Nashville,
                             37-2 FiledTennessee
                                        05/25/22 Page 21 of 162 PageID #: 3003   YVer1f
BOZA PLEASANT-BEY vs STATE OF TENNESSEE
WALTON, JON on 04/08/2021                                               Page 22
                                                                      Page 22
 ·1· · · · A.· · Not an official report, no.· The only thing
 ·2· ·that would be generated is that monitoring instrument
 ·3· ·that I use during my review.
 ·4· · · · Q.· · Do you save copies of the monitoring
 ·5· ·instrument on your computer?
 ·6· · · · A.· · Yes, ma'am.
 ·7· · · · Q.· · And you have them for the entire time you've
 ·8· ·been at Trousdale?
 ·9· · · · A.· · I do.
 10· · · · Q.· · Since you've been at Trousdale starting in
 11· ·November of 2019, have you ever determined that
 12· ·Trousdale's grievance process is fully in compliance
 13· ·during one of these audits?
 14· · · · A.· · I've identified -- without looking back at my
 15· ·noncompliance reports, I would have to defer to the NCRs
 16· ·that I generate.· But either the process is compliant or
 17· ·a noncompliance report is generated to identify what the
 18· ·noncompliance issues are.
 19· · · · Q.· · So you're saying you can't remember if there
 20· ·has been a quarter in which Trousdale was fully
 21· ·compliant, you would need to see the audit reports?
 22· · · · A.· · I would feel more comfortable to refer to the
 23· ·report.· I know that there have been instances since I
 24· ·have been in my position where the grievance process has
 25· ·not been a hundred percent compliant.· But to speak to


                      Briggs & Associates 615/482-0037
Case 3:22-cv-00093 Document Nashville,
                             37-2 FiledTennessee
                                        05/25/22 Page 22 of 162 PageID #: 3004   YVer1f
BOZA PLEASANT-BEY vs STATE OF TENNESSEE
WALTON, JON on 04/08/2021                                               Page 23
                                                                      Page 23
 ·1· ·what exactly those issues were, I would need those
 ·2· ·reports.
 ·3· · · · Q.· · And as contract monitor of compliance do you
 ·4· ·occasionally review noncompliance reports that were
 ·5· ·generated by other contract monitors?
 ·6· · · · A.· · Not traditionally, no.· That would not be
 ·7· ·something within my job scope.
 ·8· · · · Q.· · Do you ever run across them just in the
 ·9· ·course of your job at Trousdale?
 10· · · · A.· · I do, yes, ma'am.
 11· · · · Q.· · And do you find that you are typically able
 12· ·to read them and interpret them and decide what they
 13· ·mean?
 14· · · · A.· · Yes, ma'am.
 15· · · · · · · MS. MAPLES:· I would like to share my screen
 16· ·now.· I am going to show you a document that is going to
 17· ·be Exhibit 2 to your deposition.
 18· · · · · · · (Exhibit 2 was marked.)
 19· ·BY MS. MAPLES:
 20· · · · Q.· · Do you see the document on your screen?
 21· · · · A.· · I do.
 22· · · · Q.· · And Mr. Walton, here's what I'm going to do.
 23· ·If at any time you would like to scroll through and take
 24· ·control of the document, will you just let me know and
 25· ·you would be welcome to do that.· If you want me to


                      Briggs & Associates 615/482-0037
Case 3:22-cv-00093 Document Nashville,
                             37-2 FiledTennessee
                                        05/25/22 Page 23 of 162 PageID #: 3005   YVer1f
BOZA PLEASANT-BEY vs STATE OF TENNESSEE
WALTON, JON on 04/08/2021                                               Page 24
                                                                      Page 24
 ·1· ·scroll through for you, just say can you go down to the
 ·2· ·next page or zoom in, zoom out, whatever you need, okay?
 ·3· · · · A.· · Okay.
 ·4· · · · Q.· · Do you see that the document that is
 ·5· ·currently on your screen is 18 pages long?
 ·6· · · · A.· · I do.
 ·7· · · · Q.· · Would you say that's a little bit longer than
 ·8· ·your audit reports typically are?
 ·9· · · · A.· · They -- if there is a process issue, they can
 10· ·be lengthy.· So I want to say that.· However, that is
 11· ·not uncommon, it can occur depending on what is being
 12· ·documented and in what detail it's being documented.
 13· · · · · · · MS. MAPLES:· And for the attorneys, I just
 14· ·put this document in the chat.· So if anyone wants to
 15· ·download independently.
 16· ·BY MS. MAPLES:
 17· · · · Q.· · Mr. Walton, what I've done here is -- this is
 18· ·actually a collective exhibit.· So I'll scroll through
 19· ·and let you see that I've taken multiple documents and
 20· ·combined them all into one to make things easier for us
 21· ·over Zoom, okay?
 22· · · · A.· · Sure.
 23· · · · Q.· · Do you see that the document in front of you
 24· ·has a first bolded header of privately operated facility
 25· ·dash notification of noncompliance?


                      Briggs & Associates 615/482-0037
Case 3:22-cv-00093 Document Nashville,
                             37-2 FiledTennessee
                                        05/25/22 Page 24 of 162 PageID #: 3006   YVer1f
BOZA PLEASANT-BEY vs STATE OF TENNESSEE
WALTON, JON on 04/08/2021                                               Page 25
                                                                      Page 25
 ·1· · · · A.· · Yes, ma'am.
 ·2· · · · Q.· · Is this a noncompliance report or NCR that
 ·3· ·you've been describing this morning?
 ·4· · · · A.· · It is, yes,ma'am.
 ·5· · · · Q.· · Now, I see that this one is dated July 17th
 ·6· ·of 2018.· Do you see that?
 ·7· · · · A.· · I do.
 ·8· · · · Q.· · So this one was not generated by you?
 ·9· · · · A.· · It was not, no.
 10· · · · Q.· · So if we scroll down now to the third page,
 11· ·we have a second noncompliance report.· Do you see that?
 12· · · · A.· · I do.
 13· · · · Q.· · Do you see that it's dated January 31st of
 14· ·2019?
 15· · · · A.· · Yes, ma'am.
 16· · · · Q.· · And so this one wasn't generated by you
 17· ·either; is that correct?
 18· · · · A.· · That's correct.
 19· · · · Q.· · But is it fair to say that both of the two
 20· ·reports we've just looked at in collective Exhibit 2 are
 21· ·noncompliance reports concerning inmate grievance
 22· ·procedures?
 23· · · · A.· · Yes, ma'am.· And --
 24· · · · · · · MS. POLLY:· I apologize for interrupting,
 25· ·what is the Bates number on this?


                      Briggs & Associates 615/482-0037
Case 3:22-cv-00093 Document Nashville,
                             37-2 FiledTennessee
                                        05/25/22 Page 25 of 162 PageID #: 3007   YVer1f
BOZA PLEASANT-BEY vs STATE OF TENNESSEE
WALTON, JON on 04/08/2021                                               Page 26
                                                                      Page 26
 ·1· · · · · · · MS. MAPLES:· It's in the top right-hand
 ·2· ·corner.
 ·3· ·BY MS. MAPLES:
 ·4· · · · Q.· · Now, if we go down to the third document in
 ·5· ·this collective exhibit, do you see that the date is May
 ·6· ·31st of 2019?
 ·7· · · · A.· · Yes, ma'am.
 ·8· · · · Q.· · And do you see that this is another
 ·9· ·noncompliance report concerning inmate grievances?
 10· · · · A.· · Yes, ma'am.
 11· · · · Q.· · And then this page with the Bates stamp TDOC
 12· ·001372, do you see that this is a noncompliance report
 13· ·dated January 31st of 2020?
 14· · · · A.· · Yes, ma'am.
 15· · · · Q.· · Do you see that this one was generated by
 16· ·you?
 17· · · · A.· · Yes, ma'am.
 18· · · · Q.· · And do you see that the audit period is July
 19· ·through December of 2019?
 20· · · · A.· · I do.
 21· · · · Q.· · So is this one of your biannual audits, then,
 22· ·as opposed to the quarterly?
 23· · · · A.· · This would have been one of my first -- one
 24· ·of the first noncompliance reports that I issued the
 25· ·facility.· I'm not sure.· Can you ask that question one


                      Briggs & Associates 615/482-0037
Case 3:22-cv-00093 Document Nashville,
                             37-2 FiledTennessee
                                        05/25/22 Page 26 of 162 PageID #: 3008   YVer1f
BOZA PLEASANT-BEY vs STATE OF TENNESSEE
WALTON, JON on 04/08/2021                                               Page 27
                                                                      Page 27
 ·1· ·more time?· I want to make sure that I answer your
 ·2· ·question.
 ·3· · · · Q.· · You testified earlier that you do quarterly
 ·4· ·audits and then you do biannual audits?
 ·5· · · · A.· · Yes, ma'am.
 ·6· · · · Q.· · And this, the audit period listed on this
 ·7· ·document is July to December of 2017.· So I am just
 ·8· ·asking, is this a biannual audit or a quarterly audit?
 ·9· · · · · · · MR. AUMANN:· I'm sorry.· Janna, you said 2017
 10· ·when you mentioned the date.
 11· · · · · · · MS. MAPLES:· I misspoke, 2019.
 12· · · · · · · MR. AUMANN:· Okay.
 13· ·BY MS. MAPLES:
 14· · · · Q.· · I'll ask that question again, Mr. Walton.
 15· ·I've asked that given the date listed to the right of
 16· ·the words audit period is July to December of 2019.· Is
 17· ·this document a biannual audit report or a quarterly
 18· ·audit report?
 19· · · · A.· · The grievance instrument itself is actually a
 20· ·biannual report.· So yes, this is a biannual NCR for
 21· ·that time frame.
 22· · · · Q.· · Do you generate reports for your quarterly
 23· ·audit?
 24· · · · A.· · Yes.
 25· · · · Q.· · What are the reports of the grievance --


                      Briggs & Associates 615/482-0037
Case 3:22-cv-00093 Document Nashville,
                             37-2 FiledTennessee
                                        05/25/22 Page 27 of 162 PageID #: 3009   YVer1f
BOZA PLEASANT-BEY vs STATE OF TENNESSEE
WALTON, JON on 04/08/2021                                               Page 28
                                                                      Page 28
 ·1· ·strike that.· What are the reports concerning your audit
 ·2· ·of the grievance process every quarter called?
 ·3· · · · A.· · I think to clarify, the -- our instruments
 ·4· ·are broken down into reporting periods.· So although
 ·5· ·that we may be reviewing it on a quarterly basis, the
 ·6· ·reporting period is when the final NCR gets drafted.
 ·7· ·And that gives the facility sufficient time to be able
 ·8· ·to review and correct any compliance issues that we
 ·9· ·find, which may need immediate attention.
 10· · · · · · · So the quarterly review is going to be
 11· ·captured in the biannual noncompliance report.· Hence,
 12· ·that's why we're seeing that we've got July through
 13· ·December, but we want to make sure that every quarter,
 14· ·or more frequently as the monitor determines necessary,
 15· ·that we are staying on top of the procedures of the
 16· ·facility to ensure that there's no bad practices that's
 17· ·being -- that's taking place in the middle of that
 18· ·monitoring period.· If that makes sense.
 19· · · · · · · So I think to answer your question, there are
 20· ·-- the NCR's are distributed by the contract monitoring
 21· ·director.· The monitoring instruments are -- is a
 22· ·separate process that is reviewed by the monitors at the
 23· ·facility on a quarterly and a biannual basis.· When the
 24· ·formal -- and that's what this is.· This is the formal
 25· ·end report.· When that comes out, that's distributed


                      Briggs & Associates 615/482-0037
Case 3:22-cv-00093 Document Nashville,
                             37-2 FiledTennessee
                                        05/25/22 Page 28 of 162 PageID #: 3010   YVer1f
BOZA PLEASANT-BEY vs STATE OF TENNESSEE
WALTON, JON on 04/08/2021                                               Page 29
                                                                      Page 29
 ·1· ·through the contract monitoring director.
 ·2· · · · Q.· · Okay.· And I believe you testified that this
 ·3· ·here Bates stamped TDOC 001372 and dated January 31st of
 ·4· ·2020 is the first biannual NCR that you were a part of
 ·5· ·at Trousdale; is that right?
 ·6· · · · A.· · Yes, ma'am.· And Janna, I wanted to draw
 ·7· ·attention to also, one of the first questions that you
 ·8· ·asked me when this exhibit was presented was to note
 ·9· ·that it's 18 pages.· I wanted to just let the larger
 10· ·group know that this is over an extenuated period of
 11· ·time.· It wasn't an 18-page report just for one quarter
 12· ·or an 18-page report for a biannual period.· It looks
 13· ·like that we've got multiple biannual periods throughout
 14· ·this exhibit.
 15· · · · Q.· · I appreciate that, Mr. Walton.· That's
 16· ·exactly why I was trying to point that out that this is
 17· ·not a single report, that this is a collection of
 18· ·multiple reports.
 19· · · · A.· · Yes, ma'am.
 20· · · · Q.· · So that we can all be clear, I am just going
 21· ·to continue to scroll down to the beginning of the next
 22· ·report, which is attached to the others.· Do you see
 23· ·that we are looking at a page Bates stamped TDOC 001696?
 24· · · · A.· · Yes, ma'am.
 25· · · · Q.· · Do you see that it's dated August 4th of


                      Briggs & Associates 615/482-0037
Case 3:22-cv-00093 Document Nashville,
                             37-2 FiledTennessee
                                        05/25/22 Page 29 of 162 PageID #: 3011   YVer1f
BOZA PLEASANT-BEY vs STATE OF TENNESSEE
WALTON, JON on 04/08/2021                                               Page 30
                                                                      Page 30
 ·1· ·2020?
 ·2· · · · A.· · Yes, ma'am.
 ·3· · · · Q.· · Do you see that the audit period is January
 ·4· ·through June of 2020?
 ·5· · · · A.· · I do.
 ·6· · · · Q.· · And were you a part of this biannual
 ·7· ·noncompliance report?
 ·8· · · · A.· · I was the auditor on that report.
 ·9· · · · Q.· · Okay, and now I'm going to scroll down to
 10· ·TDOC 002373, which is dated February 1st of 2021.· Do
 11· ·you see that document in front of you?
 12· · · · A.· · Yes, ma'am.
 13· · · · Q.· · And do you see that the audit period is July
 14· ·1st of 2020 to December 31st of 2020?
 15· · · · A.· · I do.
 16· · · · Q.· · And were you a part of this audit report?
 17· · · · A.· · Yes, ma'am.
 18· · · · Q.· · Is this the most recent one that you've done
 19· ·since you've been at Trousdale?
 20· · · · A.· · Yes, ma'am.
 21· · · · Q.· · So we're going to scroll back up to the first
 22· ·one, which is dated January 31st of 2020.· Do you see
 23· ·that we're on the screen TDOC 001372?
 24· · · · A.· · Yes, ma'am.
 25· · · · Q.· · And do you see that on this page, you have


                      Briggs & Associates 615/482-0037
Case 3:22-cv-00093 Document Nashville,
                             37-2 FiledTennessee
                                        05/25/22 Page 30 of 162 PageID #: 3012   YVer1f
BOZA PLEASANT-BEY vs STATE OF TENNESSEE
WALTON, JON on 04/08/2021                                               Page 31
                                                                      Page 31
 ·1· ·written:· Of the 20 grievances contract monitor checked
 ·2· ·for this instrument, there were seven instances that
 ·3· ·were found that were not compliant?
 ·4· · · · A.· · I do.
 ·5· · · · Q.· · And then do you see that there is a table
 ·6· ·there?
 ·7· · · · A.· · I do.
 ·8· · · · Q.· · And can you explain what that table -- what
 ·9· ·information that table is providing?
 10· · · · A.· · Yes, ma'am.· So the information in this table
 11· ·has the inmate's TDOC identification number; the
 12· ·grievance number of the grievance that was attached to
 13· ·the inmate's grievance; the date that the chairperson's
 14· ·response was due; and, the date that the chairperson
 15· ·actually responded.· And then the area of service that
 16· ·the inmate is grieving.· And the finding is the
 17· ·monitor's determination of what was found to be
 18· ·deficient with that particular grievance.
 19· · · · Q.· · So this report is saying, just to be clear,
 20· ·that of the 20 samples you took, seven of them were not
 21· ·compliant with Tennessee Department of Correction's
 22· ·policy; is that right?
 23· · · · A.· · That's correct.
 24· · · · Q.· · And do you see that under the table, there's
 25· ·another paragraph that says:· Prior documentation of


                      Briggs & Associates 615/482-0037
Case 3:22-cv-00093 Document Nashville,
                             37-2 FiledTennessee
                                        05/25/22 Page 31 of 162 PageID #: 3013   YVer1f
BOZA PLEASANT-BEY vs STATE OF TENNESSEE
WALTON, JON on 04/08/2021                                               Page 32
                                                                      Page 32
 ·1· ·noncompliance, colon, this was a noncompliant finding on
 ·2· ·the biannual report NCR issued July 17th of 2018 and
 ·3· ·January 31st of 2019.· An assessment of liquidated
 ·4· ·damages letter was sent on April 16th of 2019 for
 ·5· ·January 31st, 2019 NCR?
 ·6· · · · A.· · I do.
 ·7· · · · Q.· · And what does that mean?
 ·8· · · · A.· · That means that the facility has been found
 ·9· ·to be noncompliant on a reoccurring basis during the
 10· ·monitor's audit to the point that Tennessee Department
 11· ·of Corrections has issued liquidated damage assessments
 12· ·due to this particular finding.
 13· · · · Q.· · As contract monitor of compliance, do you
 14· ·have any kind of role in discussing or overseeing any
 15· ·corrective action taken by CoreCivic?
 16· · · · A.· · Yes.
 17· · · · Q.· · And can you explain what that role is?
 18· · · · A.· · The contract monitor of compliance is
 19· ·responsible for documenting the corrective action plan
 20· ·for the noncompliance findings that are issued to the
 21· ·facility and reviewing to ensure that the corrective
 22· ·action plans are implemented.· And to report out to the
 23· ·monitoring director of whether the corrective action
 24· ·plans are actually improving the process, if the issue
 25· ·remains, up to, but not limited to, issuing another


                      Briggs & Associates 615/482-0037
Case 3:22-cv-00093 Document Nashville,
                             37-2 FiledTennessee
                                        05/25/22 Page 32 of 162 PageID #: 3014   YVer1f
BOZA PLEASANT-BEY vs STATE OF TENNESSEE
WALTON, JON on 04/08/2021                                               Page 33
                                                                      Page 33
 ·1· ·finding of noncompliance.
 ·2· · · · Q.· · I'm scrolling down to the second page of the
 ·3· ·January 31st, 2020 NCR.· Do you see that there is a
 ·4· ·description of the corrective action taken by CoreCivic
 ·5· ·in response to this NCR?
 ·6· · · · A.· · Yes.
 ·7· · · · Q.· · Do you recall this specific corrective
 ·8· ·action?
 ·9· · · · A.· · I don't, no.
 10· · · · Q.· · Do you see that in the second full paragraph,
 11· ·this document states:· As of September 29th, 2019, the
 12· ·staff member responsible for this finding is no longer
 13· ·assigned to the grievance coordinator position.
 14· ·However, appropriate corrective action was taken with
 15· ·the staff member.· A new grievance coordinator was
 16· ·appointed on October 25th of 2019.
 17· · · · A.· · I do, yes.
 18· · · · Q.· · Now, the new grievance coordinator that was
 19· ·appointed as of October 25th of 2019, would that be
 20· ·Elizabeth Lopez who was there when you began working at
 21· ·Trousdale?
 22· · · · A.· · I'm not sure.· I can only assume.· Like I
 23· ·said, my employment in this role began the following
 24· ·month in November.· So I'm not sure if maybe there was
 25· ·someone else in that role and then it changed again


                      Briggs & Associates 615/482-0037
Case 3:22-cv-00093 Document Nashville,
                             37-2 FiledTennessee
                                        05/25/22 Page 33 of 162 PageID #: 3015   YVer1f
BOZA PLEASANT-BEY vs STATE OF TENNESSEE
WALTON, JON on 04/08/2021                                               Page 34
                                                                      Page 34
 ·1· ·within a 30-day time.· But when I arrived in November,
 ·2· ·that's the individual that I recall holding that
 ·3· ·position.
 ·4· · · · Q.· · Well, as the author of this report and having
 ·5· ·an understanding of what corrective action is, do you
 ·6· ·see that one of CoreCivic's corrective actions is
 ·7· ·removing the grievance coordinator, who was Elizabeth
 ·8· ·Lopez's predecessor?
 ·9· · · · · · · MR. AUMANN:· Objection, form.· You can go
 10· ·ahead.
 11· · · · · · · MR. WELBORN:· Same objection.
 12· ·BY MS. MAPLES:
 13· · · · Q.· · Go ahead.
 14· · · · A.· · Okay.· What I see is not -- in my
 15· ·understanding, it's not that CoreCivic removed anybody
 16· ·from a role.· It's just saying that, for whatever
 17· ·reason, that person is no longer in that role.· And that
 18· ·could be due to a termination, reassignment, and
 19· ·generally, that's the most common reasons that somebody
 20· ·gets removed from a position.
 21· · · · · · · Now, there are instances, obviously, where
 22· ·that person was just underperforming.· I'm not sure,
 23· ·that's -- when it comes to staff performance, that's not
 24· ·something that the contract monitor is a participant in
 25· ·investigating or guiding at the facility.


                      Briggs & Associates 615/482-0037
Case 3:22-cv-00093 Document Nashville,
                             37-2 FiledTennessee
                                        05/25/22 Page 34 of 162 PageID #: 3016   YVer1f
BOZA PLEASANT-BEY vs STATE OF TENNESSEE
WALTON, JON on 04/08/2021                                               Page 35
                                                                      Page 35
 ·1· · · · · · · This particular paragraph says that the staff
 ·2· ·member responsible is no longer assigned to this
 ·3· ·position.· What does that mean?· It just means that the
 ·4· ·person that was assigned to that role is not assigned to
 ·5· ·that role as the corrective action plan has been written
 ·6· ·on this report.
 ·7· · · · Q.· · Well, I mean, the first sentence of the
 ·8· ·paragraph we've been discussing says as of September
 ·9· ·29th, 2019, the staff member responsible for this
 10· ·finding is no longer assigned to the grievance
 11· ·coordinator position.
 12· · · · A.· · Yes.
 13· · · · Q.· · Doesn't it seem like that sentence means that
 14· ·the grievance coordinator who caused the noncompliance
 15· ·you've noted in this NCR was removed as part of the
 16· ·corrective action?
 17· · · · · · · MR. AUMANN:· Objection, form.
 18· · · · · · · THE WITNESS:· No, ma'am, that would not be my
 19· ·interpretation.
 20· ·BY MS. MAPLES:
 21· · · · Q.· · So when you wrote this, you didn't ask why
 22· ·that person who was grievance coordinator and
 23· ·responsible for this finding was removed or reassigned?
 24· · · · A.· · No, ma'am.
 25· · · · Q.· · Why not?


                      Briggs & Associates 615/482-0037
Case 3:22-cv-00093 Document Nashville,
                             37-2 FiledTennessee
                                        05/25/22 Page 35 of 162 PageID #: 3017   YVer1f
BOZA PLEASANT-BEY vs STATE OF TENNESSEE
WALTON, JON on 04/08/2021                                               Page 36
                                                                      Page 36
 ·1· · · · A.· · That would not be in my scope of
 ·2· ·responsibility.· Facility writes a corrective action
 ·3· ·plan.· Again, it's the contract monitor's position to
 ·4· ·ensure that the corrective action plan written is
 ·5· ·working.· When it comes to staff assignment,
 ·6· ·disciplinary, things of that nature, that's not a matter
 ·7· ·that the Tennessee Department of Corrections is involved
 ·8· ·in.
 ·9· · · · Q.· · Do you see that the last paragraph under the
 10· ·corrective action plan kind of header states:· Beginning
 11· ·December 10th of 2019, the respective assistant warden
 12· ·will conduct a weekly review of all grievances to
 13· ·monitor compliance.· This review will continue until
 14· ·compliance for three months.· Any noncompliance will be
 15· ·reported to the warden and will result in formal
 16· ·disciplinary action?
 17· · · · A.· · I do, yes, ma'am.
 18· · · · Q.· · Do you know if the respective assistant
 19· ·warden conducted weekly reviews of all grievances to
 20· ·monitor compliance?
 21· · · · A.· · Yes.
 22· · · · Q.· · And did they?
 23· · · · A.· · They did.
 24· · · · Q.· · Did you review those weekly reviews?
 25· · · · A.· · I did not.


                      Briggs & Associates 615/482-0037
Case 3:22-cv-00093 Document Nashville,
                             37-2 FiledTennessee
                                        05/25/22 Page 36 of 162 PageID #: 3018   YVer1f
BOZA PLEASANT-BEY vs STATE OF TENNESSEE
WALTON, JON on 04/08/2021                                               Page 37
                                                                      Page 37
 ·1· · · · Q.· · How do you know that they were conducted?
 ·2· · · · A.· · Because conversations with the staff at the
 ·3· ·facility and with the compliance managers, as part of
 ·4· ·their corrective action plan, they reported that they
 ·5· ·were being conducted.
 ·6· · · · Q.· · Did you ever see any documentation for that?
 ·7· · · · A.· · No, ma'am.
 ·8· · · · Q.· · Did you ever request any?
 ·9· · · · A.· · No, ma'am.
 10· · · · Q.· · Why not?
 11· · · · A.· · Again, the corrective action plan is a
 12· ·statement by the facility of what they're going to do to
 13· ·improve the monitor's finding.· When we go and we
 14· ·revisit and we review this item for the next monitoring
 15· ·period, that's our follow-up.· That's our point to say,
 16· ·you know, this area was a finding during the last
 17· ·quarter or during the last biannual audit.· Show me
 18· ·where this process is at this point in time.· And that
 19· ·would be our follow-up item whenever we do the next
 20· ·audit.
 21· · · · · · · So I guess the short story is we do not
 22· ·participate in the facility's corrective action plan.
 23· ·What we do is review it to ensure that during our next
 24· ·audit, if it continues to be a finding, we continue
 25· ·documenting that it's noncompliant.


                      Briggs & Associates 615/482-0037
Case 3:22-cv-00093 Document Nashville,
                             37-2 FiledTennessee
                                        05/25/22 Page 37 of 162 PageID #: 3019   YVer1f
BOZA PLEASANT-BEY vs STATE OF TENNESSEE
WALTON, JON on 04/08/2021                                               Page 38
                                                                      Page 38
 ·1· · · · Q.· · Did you review any of the noncompliance that
 ·2· ·would be reported to the warden if it occurred according
 ·3· ·to the last sentence in this paragraph?
 ·4· · · · · · · MR. AUMANN:· Objection, form.
 ·5· · · · · · · THE WITNESS:· Did I -- can you say that one
 ·6· ·more time, ma'am.
 ·7· ·BY MS. MAPLES:
 ·8· · · · Q.· · The last sentence of this paragraph states:
 ·9· ·Any noncompliance will be reported to the warden and
 10· ·will result in formal disciplinary action.· What I'm
 11· ·asking is, did you review any noncompliance that might
 12· ·have been reported to the warden during this time
 13· ·period?
 14· · · · A.· · I would have to defer to the NCR for the next
 15· ·monitoring period.
 16· · · · Q.· · Okay, let's go to that one.
 17· · · · A.· · Ms. Janna, if you would, can you go back up
 18· ·to that one?
 19· · · · Q.· · Sure.
 20· · · · A.· · And what we will be looking for -- do you see
 21· ·where it says Noncompliant Item No. 2?
 22· · · · Q.· · Yes.
 23· · · · A.· · The corrective action plan above it applies
 24· ·to Noncompliant Item No. 1.· If you can scroll up to
 25· ·that bold font?


                      Briggs & Associates 615/482-0037
Case 3:22-cv-00093 Document Nashville,
                             37-2 FiledTennessee
                                        05/25/22 Page 38 of 162 PageID #: 3020   YVer1f
BOZA PLEASANT-BEY vs STATE OF TENNESSEE
WALTON, JON on 04/08/2021                                               Page 39
                                                                      Page 39
 ·1· · · · Q.· · Uh-huh.
 ·2· · · · A.· · Noncompliant Item No. 1, it's not there on my
 ·3· ·screen yet.· Noncompliant Item No. 1 is going to be
 ·4· ·grievance Item No. 1.· So when we look at the next
 ·5· ·quarter, that would be what we're looking for, grievance
 ·6· ·Item No. 1 as a finding for the next monitoring period.
 ·7· · · · Q.· · Okay, gotcha.· Thank you.
 ·8· · · · A.· · Yes, ma'am.
 ·9· · · · Q.· · Okay, so we're scrolling down now to the next
 10· ·NCR.· This one is dated August 4th of 2020.· Do you see
 11· ·that?
 12· · · · A.· · Yes, ma'am.
 13· · · · Q.· · And do you see that, as you've just pointed
 14· ·out, Noncompliant Item 1 has a bolded red in parenthesis
 15· ·word there that states repeat; do you see that?
 16· · · · A.· · I do.
 17· · · · Q.· · What do you take that to mean?
 18· · · · A.· · That the deficiency remains.· The
 19· ·noncompliant -- or the cap from the previous finding was
 20· ·not effective.
 21· · · · Q.· · And can you read what the noncompliance issue
 22· ·is there right above the table?
 23· · · · A.· · There were 10 instances out of 20 grievances
 24· ·reviewed that were determined to be noncompliant.
 25· · · · Q.· · And then you've written equals 50 percent


                      Briggs & Associates 615/482-0037
Case 3:22-cv-00093 Document Nashville,
                             37-2 FiledTennessee
                                        05/25/22 Page 39 of 162 PageID #: 3021   YVer1f
BOZA PLEASANT-BEY vs STATE OF TENNESSEE
WALTON, JON on 04/08/2021                                               Page 40
                                                                      Page 40
 ·1· ·compliance there, do you see that?
 ·2· · · · A.· · I do, yeah.
 ·3· · · · Q.· · Was that your way of emphasizing the severity
 ·4· ·of the noncompliance here?
 ·5· · · · A.· · It is, yes, ma'am.
 ·6· · · · Q.· · And can you describe what we've got in the
 ·7· ·table below that?
 ·8· · · · A.· · The inmate's assigned TDOC identification
 ·9· ·number; the grievance number assigned to the inmate's
 10· ·grievance; the date that the responses were due; the
 11· ·date that the actual responses occurred and the areas in
 12· ·which of the grievance applied to, along with the
 13· ·contract monitor's finding specific to that inmate
 14· ·grievance.
 15· · · · Q.· · Okay, and if we, again, look down under that
 16· ·table, do you see that there's a bolded header reading
 17· ·prior documentation of noncompliance?
 18· · · · A.· · Yes, ma'am.
 19· · · · Q.· · And do you see that liquidated damages
 20· ·letters were sent on April 16th of 2019 for January 31st
 21· ·of 2019, and September 18th of 2019 for May 31st of
 22· ·2019, and June 3rd of 2020 for January 31st of 2020?
 23· · · · A.· · I do.
 24· · · · Q.· · Okay.· And if we look under that, this is
 25· ·what you were referring to earlier, I think.· Is this


                      Briggs & Associates 615/482-0037
Case 3:22-cv-00093 Document Nashville,
                             37-2 FiledTennessee
                                        05/25/22 Page 40 of 162 PageID #: 3022   YVer1f
BOZA PLEASANT-BEY vs STATE OF TENNESSEE
WALTON, JON on 04/08/2021                                               Page 41
                                                                      Page 41
 ·1· ·the corrective action for grievance Item No. 1?
 ·2· · · · A.· · This is a repeat clause.· When an item is a
 ·3· ·consistent repeat finding deficiency, the facility is
 ·4· ·then asked to provide a detailed explanation on how
 ·5· ·their new plan of corrective action is going to be
 ·6· ·different from their corrective action plan from the
 ·7· ·previous findings.· So what we see here is the facility
 ·8· ·detailing their process and how -- whether or not that
 ·9· ·process has been implemented at the time of their
 10· ·reporting.· And essentially, it's the -- the new CAP.
 11· ·It's the beginning of a new CAP response, corrective
 12· ·action response.
 13· · · · Q.· · So No. 1 under this more detailed explanation
 14· ·of previous corrective action, do you see that No. 1
 15· ·states provide an explanation as to what was the
 16· ·corrective action taken previously for this item?
 17· · · · A.· · I do, uh-huh.
 18· · · · Q.· · Do you see that underneath there is an
 19· ·explanation of a new grievance procedure that was
 20· ·implemented in June of 2019 before you arrived?
 21· · · · A.· · Yes, ma'am.
 22· · · · Q.· · And do you see that under No. 3, which states
 23· ·what were the reasons the previous corrective action
 24· ·failed, it states the previous grievance coordinator
 25· ·failed to ensure that the supervisor's response was


                      Briggs & Associates 615/482-0037
Case 3:22-cv-00093 Document Nashville,
                             37-2 FiledTennessee
                                        05/25/22 Page 41 of 162 PageID #: 3023   YVer1f
BOZA PLEASANT-BEY vs STATE OF TENNESSEE
WALTON, JON on 04/08/2021                                               Page 42
                                                                      Page 42
 ·1· ·received and entered in a timely manner?
 ·2· · · · A.· · I do.
 ·3· · · · Q.· · And did you write that?
 ·4· · · · A.· · No, ma'am.· That's the facility's response.
 ·5· · · · Q.· · Okay.· And when they're referring to the
 ·6· ·previous grievance coordinator, are they referring to
 ·7· ·that individual who was in charge before you arrived?
 ·8· · · · A.· · I am to assume.· I'm not sure.
 ·9· · · · Q.· · Well, would you assume that in answer to No.
 10· ·3, they're not talking about Elizabeth Lopez?
 11· · · · A.· · That would be a good assumption, yes.
 12· · · · Q.· · Okay.· Do you see that No. 4, if we scroll
 13· ·down to the next page, says:· How will the upcoming plan
 14· ·of corrective action be different and ensure the action
 15· ·is truly corrected?
 16· · · · A.· · Uh-huh.
 17· · · · Q.· · Do you see that underneath the facility has
 18· ·written appointment of a new grievance coordinator?
 19· · · · A.· · I do.
 20· · · · Q.· · Do you interpret that as the facility saying
 21· ·that the old grievance coordinator was part of the
 22· ·problem?
 23· · · · A.· · It --
 24· · · · · · · MR. AUMANN:· Objection to form.
 25· · · · · · · THE WITNESS:· I'm sorry?


                      Briggs & Associates 615/482-0037
Case 3:22-cv-00093 Document Nashville,
                             37-2 FiledTennessee
                                        05/25/22 Page 42 of 162 PageID #: 3024   YVer1f
BOZA PLEASANT-BEY vs STATE OF TENNESSEE
WALTON, JON on 04/08/2021                                               Page 43
                                                                      Page 43
 ·1· · · · · · · MR. AUMANN:· I just said objection to form.
 ·2· ·You can go ahead and answer.
 ·3· · · · · · · THE WITNESS:· Yes, sir.· I believe the
 ·4· ·interpretation could assume that, but I would have to
 ·5· ·add that that's not always commonly the purpose there.
 ·6· ·And I say that, you had referenced a Lybrunca Cockrill.
 ·7· ·If that was the person that held this position prior to
 ·8· ·Ms. Lopez, Ms. Cockrill was promoted.· And again, it's
 ·9· ·not in my purview to determine, you know, disciplinary
 10· ·matters of staff here at the CoreCivic facility.· You
 11· ·know, those are HR matters that we do not review.                I
 12· ·just wanted to add that.
 13· ·BY MS. MAPLES:
 14· · · · Q.· · Well, I mean, No. 4 says:· How will the
 15· ·upcoming plan of corrective action be different and
 16· ·ensure the action is truly corrected?
 17· · · · A.· · Uh-huh.
 18· · · · Q.· · And the facility has responded:· Appointment
 19· ·of a new grievance coordinator.
 20· · · · A.· · Correct.
 21· · · · Q.· · Doesn't it sound like to you the facility is
 22· ·saying that the appointment of the new grievance
 23· ·coordinator is going to make the new plan of corrective
 24· ·action successful?
 25· · · · A.· · That -- yes, that is their plan, in that


                      Briggs & Associates 615/482-0037
Case 3:22-cv-00093 Document Nashville,
                             37-2 FiledTennessee
                                        05/25/22 Page 43 of 162 PageID #: 3025   YVer1f
BOZA PLEASANT-BEY vs STATE OF TENNESSEE
WALTON, JON on 04/08/2021                                               Page 44
                                                                      Page 44
 ·1· ·statement.
 ·2· · · · Q.· · Okay.· Now underneath that, do you see that
 ·3· ·you've got a new plan of corrective action in response
 ·4· ·to this specific NCR?
 ·5· · · · A.· · Yes, ma'am.
 ·6· · · · Q.· · And do you recall this plan of corrective
 ·7· ·action that was initiated in the summer of 2020?
 ·8· · · · A.· · I believe I do, yes, ma'am.
 ·9· · · · Q.· · And do you see that instead of weekly reports
 10· ·to the respective assistant warden, now there are daily
 11· ·grievance reports of noncompliance to a supervisor and
 12· ·the assistant warden?
 13· · · · A.· · Yes, ma'am.
 14· · · · Q.· · Okay, now we're scrolling down to the
 15· ·noncompliance report dated February 1st of 2021.· Do you
 16· ·see that?
 17· · · · A.· · I do.
 18· · · · Q.· · And do you see noncompliance Item 1 is again
 19· ·repeated?
 20· · · · A.· · I do, uh-huh.
 21· · · · Q.· · And what does that mean?
 22· · · · A.· · That means that the deficiency remains and
 23· ·has been documented previously within this annual
 24· ·monitoring period.
 25· · · · Q.· · And it also says that out of your review of


                      Briggs & Associates 615/482-0037
Case 3:22-cv-00093 Document Nashville,
                             37-2 FiledTennessee
                                        05/25/22 Page 44 of 162 PageID #: 3026   YVer1f
BOZA PLEASANT-BEY vs STATE OF TENNESSEE
WALTON, JON on 04/08/2021                                               Page 45
                                                                      Page 45
 ·1· ·the 20 inmate grievance samples, you found 8 to be
 ·2· ·noncompliant?
 ·3· · · · A.· · Yes, ma'am.
 ·4· · · · Q.· · And do you see that this time you have put
 ·5· ·the corrective action plan portion in red?
 ·6· · · · A.· · Yes, ma'am.
 ·7· · · · Q.· · And you've written:· Due to this item
 ·8· ·repeating noncompliance, please provide an in-depth
 ·9· ·explanation for the following in addition to providing a
 10· ·new plan of corrective action?
 11· · · · A.· · I do.
 12· · · · Q.· · So here, again, you're going through what the
 13· ·facility did in response to the August of 2020
 14· ·noncompliance report, right?
 15· · · · A.· · Yes, ma'am.
 16· · · · Q.· · And you're assessing whether or not they
 17· ·successfully implemented that corrective action plan?
 18· · · · · · · MR. AUMANN:· Objection to form.
 19· · · · · · · THE WITNESS:· Actually, that is their
 20· ·response.· The bulletin numbers is the questions
 21· ·presented by -- that was included by myself on behalf of
 22· ·TDOC.· Everything in blue is their response to those
 23· ·questions.
 24· ·BY MS. MAPLES:
 25· · · · Q.· · Okay, so CoreCivic itself is stating whether


                      Briggs & Associates 615/482-0037
Case 3:22-cv-00093 Document Nashville,
                             37-2 FiledTennessee
                                        05/25/22 Page 45 of 162 PageID #: 3027   YVer1f
BOZA PLEASANT-BEY vs STATE OF TENNESSEE
WALTON, JON on 04/08/2021                                               Page 46
                                                                      Page 46
 ·1· ·or not it complied with its own corrective action plan;
 ·2· ·is that right?
 ·3· · · · A.· · That is correct, yes.
 ·4· · · · Q.· · And do you see that Item 2 asks was the
 ·5· ·corrective action actually implemented, and CoreCivic
 ·6· ·answers partially?
 ·7· · · · A.· · Correct, yes.
 ·8· · · · Q.· · And do you see that No. 3 asks what were the
 ·9· ·reasons the previous corrective action failed, and
 10· ·CoreCivic has answered lack of follow-up by supervisory
 11· ·staff to ensure the response was provided to the
 12· ·grievance coordinator on time?
 13· · · · A.· · I do, yes.
 14· · · · Q.· · And do you remember this?
 15· · · · A.· · I do.
 16· · · · Q.· · And did you have discussions with anyone at
 17· ·CoreCivic about this corrective action plan?
 18· · · · A.· · I believe I discussed that with the quality
 19· ·manager.
 20· · · · Q.· · Who is the quality manager?
 21· · · · A.· · Currently it is Terry Carter and Kari Kaiser.
 22· · · · Q.· · Can you say that second name again.
 23· · · · A.· · Kari, K-A-R-I, Kaiser, K-A-I-S-E-R.
 24· · · · Q.· · What did the quality managers have to say
 25· ·about this continued noncompliance and the corrective


                      Briggs & Associates 615/482-0037
Case 3:22-cv-00093 Document Nashville,
                             37-2 FiledTennessee
                                        05/25/22 Page 46 of 162 PageID #: 3028   YVer1f
BOZA PLEASANT-BEY vs STATE OF TENNESSEE
WALTON, JON on 04/08/2021                                               Page 47
                                                                      Page 47
 ·1· ·action plan?
 ·2· · · · A.· · I don't specifically recall.· Any repeat
 ·3· ·findings is communicated to the quality team.· And
 ·4· ·they're part of the facility's corrective action plan
 ·5· ·for ensuring that improvement is achieved.· So to say
 ·6· ·specifically what somebody said, I'm just not sure.· But
 ·7· ·we --
 ·8· · · · Q.· · Have you had conversations --
 ·9· · · · A.· · Go ahead.
 10· · · · Q.· · Go ahead.
 11· · · · A.· · That's okay.
 12· · · · Q.· · Have you had conversations with other TDOC
 13· ·employees concerning the grievance process noncompliance
 14· ·at Trousdale?
 15· · · · A.· · No, ma'am.
 16· · · · Q.· · Well, have you had conversations with Carolyn
 17· ·Jordan, the TDOC director of contract monitoring?
 18· · · · A.· · Yes, that's my supervision.
 19· · · · Q.· · Okay, and what have you discussed with her
 20· ·about this noncompliance concerning the grievance
 21· ·process?
 22· · · · A.· · Exactly what is in the noncompliance report.
 23· ·That's about the extent of our discussions surrounding
 24· ·the finding.· Ms. Jordan, as the monitoring director,
 25· ·she reviews the contract monitor's reports for accuracy


                      Briggs & Associates 615/482-0037
Case 3:22-cv-00093 Document Nashville,
                             37-2 FiledTennessee
                                        05/25/22 Page 47 of 162 PageID #: 3029   YVer1f
BOZA PLEASANT-BEY vs STATE OF TENNESSEE
WALTON, JON on 04/08/2021                                               Page 48
                                                                      Page 48
 ·1· ·and formatting to ensure that all of the information is
 ·2· ·included that should be.· But as far as actually
 ·3· ·discussing the finding, there's not a lot of dialogue
 ·4· ·surrounding that.
 ·5· · · · · · · What we report is what we observe, and the
 ·6· ·contract monitoring director just ensures that
 ·7· ·everything is formated in the proper format.· If there
 ·8· ·is anything that she feels should be modified, she'll do
 ·9· ·that prior to issuing the formal report to the
 10· ·contractor.· Did I answer your question?
 11· · · · Q.· · Yes.· I guess I am still a little confused,
 12· ·though.· So this is a biannual report.· And you've
 13· ·conducted quarterly reviews, but we only have 20 inmate
 14· ·grievance's listed here.· Why is that?
 15· · · · A.· · Because that's what the instrument specifies.
 16· · · · Q.· · Well, I guess what I'm asking is that if
 17· ·you're doing quarterly reviews, shouldn't there be 40?
 18· · · · A.· · At the end of the day, the finding still
 19· ·remains.· And that's what we're documenting.
 20· · · · Q.· · No, I understand that.· I am asking why, if
 21· ·you are doing quarterly reviews and you look at 20
 22· ·inmate grievances each time, shouldn't there be 40
 23· ·listed?
 24· · · · A.· · And I think that's where that I am not being
 25· ·clear on my response.· We have biannual instruments and


                      Briggs & Associates 615/482-0037
Case 3:22-cv-00093 Document Nashville,
                             37-2 FiledTennessee
                                        05/25/22 Page 48 of 162 PageID #: 3030   YVer1f
BOZA PLEASANT-BEY vs STATE OF TENNESSEE
WALTON, JON on 04/08/2021                                               Page 49
                                                                      Page 49
 ·1· ·then we have quarterly instruments.· The grievance at
 ·2· ·this time was a biannual instrument.· And that's the
 ·3· ·reason you're seeing them being issued on a biannual
 ·4· ·basis.
 ·5· · · · · · · Now, since then, they've been moved to a
 ·6· ·quarterly instrument.· And it's still something that we
 ·7· ·review as part of our quarterly review.· But now it's
 ·8· ·something that -- you're right, there should be 40, you
 ·9· ·know, to your response.· But you know, given these
 10· ·reports, you know, what we do is we just take what is on
 11· ·the instrument and that's what we report out.· So we
 12· ·could put 40 on there, but ultimately what we're saying
 13· ·is the finding remains.
 14· · · · Q.· · So we've just looked at four noncompliance
 15· ·reports dated January 31st of 2020, August 4th of 2020
 16· ·and February 1st of 2021.· And is it fair to say that
 17· ·CoreCivic was not in compliance with TDOC grievance
 18· ·procedure during any of those time periods reflected in
 19· ·those reports?
 20· · · · · · · MR. AUMANN:· Objection, form.
 21· · · · · · · THE WITNESS:· Yes, ma'am.
 22· ·BY MS. MAPLES:
 23· · · · Q.· · And is it fair to say that since you've been
 24· ·at Trousdale, CoreCivic has never been in compliance
 25· ·with the grievance procedure?


                      Briggs & Associates 615/482-0037
Case 3:22-cv-00093 Document Nashville,
                             37-2 FiledTennessee
                                        05/25/22 Page 49 of 162 PageID #: 3031   YVer1f
BOZA PLEASANT-BEY vs STATE OF TENNESSEE
WALTON, JON on 04/08/2021                                               Page 50
                                                                      Page 50
 ·1· · · · · · · MR. WELBORN:· Objection to the form.
 ·2· · · · · · · MR. AUMANN:· Same objection, form.
 ·3· ·BY MS. MAPLES:
 ·4· · · · Q.· · Go ahead.
 ·5· · · · A.· · That would be correct, yes.
 ·6· · · · · · · MS. MAPLES:· Do you all want to take a quick
 ·7· ·break?
 ·8· · · · · · · MR. AUMANN:· Sure.
 ·9· · · · · · · MS. MAPLES:· Okay, great.· Let's take five,
 10· ·ten minutes.
 11· · · · · · · THE WITNESS:· Just so I know, is that five or
 12· ·ten?· And I don't mean to be facetious, I just --
 13· · · · · · · MS. MAPLES:· Let's say 10.
 14· · · · · · · (Recess observed.)
 15· ·BY MS. MAPLES:
 16· · · · Q.· · Mr. Walton, do you remember earlier this
 17· ·morning we discussed the TDOC inmate grievance policy?
 18· · · · A.· · Yes, ma'am.
 19· · · · Q.· · And I think you said that while you're
 20· ·perhaps not an expert on it, you are familiar with it?
 21· · · · A.· · I am.
 22· · · · · · · MS. MAPLES:· Everyone, I've just put Exhibit
 23· ·3 to the deposition in the chat.· And I'm about to put
 24· ·it on the screen.
 25· · · · · · · (Exhibit 3 was marked.)


                      Briggs & Associates 615/482-0037
Case 3:22-cv-00093 Document Nashville,
                             37-2 FiledTennessee
                                        05/25/22 Page 50 of 162 PageID #: 3032   YVer1f
BOZA PLEASANT-BEY vs STATE OF TENNESSEE
WALTON, JON on 04/08/2021                                               Page 51
                                                                      Page 51
 ·1· ·BY MS. MAPLES:
 ·2· · · · Q.· · Do you see that in front of you?· You have a
 ·3· ·document with a policy No. 501.01?
 ·4· · · · A.· · I do.
 ·5· · · · Q.· · And do you see that the subject is inmate
 ·6· ·grievance procedures?
 ·7· · · · A.· · Yes, ma'am.
 ·8· · · · Q.· · And if we scroll down here, do you see that
 ·9· ·Section 6N states:· Each institution will submit an
 10· ·annual evaluation of the grievance procedures as
 11· ·outlined in the handbook TDOC inmate grievance
 12· ·procedures.· Staff preparing these reports may review
 13· ·actual grievances?
 14· · · · A.· · Yes, ma'am.
 15· · · · Q.· · Now, when it says each institution will
 16· ·submit, is it referring to Trousdale?
 17· · · · A.· · That would be, yes.
 18· · · · Q.· · Has Trousdale submitted an annual evaluation
 19· ·of the grievance procedures?
 20· · · · A.· · I'm certain they have, yes.
 21· · · · Q.· · That's not something that you created for
 22· ·Trousdale, it's something that CoreCivic created for
 23· ·Trousdale?
 24· · · · A.· · The latter, correct.
 25· · · · Q.· · Did you review the annual evaluation?


                      Briggs & Associates 615/482-0037
Case 3:22-cv-00093 Document Nashville,
                             37-2 FiledTennessee
                                        05/25/22 Page 51 of 162 PageID #: 3033   YVer1f
BOZA PLEASANT-BEY vs STATE OF TENNESSEE
WALTON, JON on 04/08/2021                                               Page 52
                                                                      Page 52
 ·1· · · · A.· · Not in its entirety, no.
 ·2· · · · Q.· · Did you review a portion of it?
 ·3· · · · A.· · I did, yes.
 ·4· · · · Q.· · For what purpose did you review a portion of
 ·5· ·that annual evaluation?
 ·6· · · · A.· · To identify that they were compliant and that
 ·7· ·they had a process in place, a grievance handbook in
 ·8· ·place.
 ·9· · · · Q.· · Are you familiar with the contract for
 10· ·Trousdale Turner Correctional Facility?
 11· · · · A.· · I am.
 12· · · · Q.· · Is it safe to say you've read it?
 13· · · · A.· · No, I'm not that qualified.
 14· · · · Q.· · But you've seen it before?
 15· · · · A.· · Yes.· Now, did you say read it or wrote it?
 16· · · · Q.· · Read it.
 17· · · · A.· · Read, yes.· I thought you said did I write
 18· ·it.· I've read the contract.
 19· · · · Q.· · No, I was asking if you've read it?
 20· · · · A.· · Yes.
 21· · · · Q.· · Okay.· Do you see that exhibit -- the
 22· ·document that will be Exhibit 4 to your deposition on
 23· ·the screen is the contract for the Trousdale facility?
 24· · · · A.· · It appears to be, yes.
 25· · · · · · · MS. MAPLES:· And I just placed this document


                      Briggs & Associates 615/482-0037
Case 3:22-cv-00093 Document Nashville,
                             37-2 FiledTennessee
                                        05/25/22 Page 52 of 162 PageID #: 3034   YVer1f
BOZA PLEASANT-BEY vs STATE OF TENNESSEE
WALTON, JON on 04/08/2021                                               Page 53
                                                                      Page 53
 ·1· ·in the chat for everyone.· It should load shortly.
 ·2· · · · · · · (Exhibit 4 was marked.)
 ·3· ·BY MS. MAPLES:
 ·4· · · · Q.· · Mr. Walton, do you see that the document you
 ·5· ·have in front of you begins with the Bates stamp CCI
 ·6· ·000933?
 ·7· · · · A.· · I do.
 ·8· · · · Q.· · I'm going to scroll all of the way to the
 ·9· ·end.· And do you see that the document ends with the
 10· ·Bates stamp CCI 001018?
 11· · · · A.· · I don't see that.
 12· · · · Q.· · At the bottom, bottom right-hand corner.
 13· · · · A.· · I see 7/3/2014 -- oh, there it is.
 14· · · · Q.· · Okay, so I'm going to scroll back down for
 15· ·you just to confirm.· Do you see that the bottom states
 16· ·1018?
 17· · · · A.· · You said at the bottom?
 18· · · · Q.· · Yeah, bottom right-hand corner.
 19· · · · A.· · No, I don't see that.· I see a date in the
 20· ·bottom right corner.· I see -- if you scroll up.
 21· · · · Q.· · Let me zoom out.
 22· · · · A.· · I'm not sure what I see at this point,
 23· ·everything just got very tiny.
 24· · · · Q.· · Sorry, let's see what I can do about that.
 25· · · · A.· · I see at the bottom of the page --


                      Briggs & Associates 615/482-0037
Case 3:22-cv-00093 Document Nashville,
                             37-2 FiledTennessee
                                        05/25/22 Page 53 of 162 PageID #: 3035   YVer1f
BOZA PLEASANT-BEY vs STATE OF TENNESSEE
WALTON, JON on 04/08/2021                                               Page 54
                                                                      Page 54
 ·1· · · · Q.· · How about now?
 ·2· · · · A.· · There it is, yes.· It's underneath the
 ·3· ·7/3/14.
 ·4· · · · Q.· · Okay, and you see that it says CCI 001018?
 ·5· · · · A.· · Yes, ma'am.
 ·6· · · · Q.· · Now, is it your understanding that this
 ·7· ·contract sets forth the requirements that CoreCivic has
 ·8· ·to adhere to while managing Trousdale?
 ·9· · · · · · · MR. AUMANN:· Objection, form.
 10· · · · · · · THE WITNESS:· Yes.
 11· ·BY MS. MAPLES:
 12· · · · Q.· · And does this set forth the standards for the
 13· ·Trousdale facility?
 14· · · · A.· · Yes.
 15· · · · Q.· · Let's scroll almost all of the way back up.
 16· ·Do you see that on Page 3, there is a header titled
 17· ·contract monitoring?
 18· · · · A.· · Yes.
 19· · · · Q.· · Do you see that the second paragraph says:
 20· ·The State shall develop reporting requirements for
 21· ·Trousdale County that shall include, but not be limited
 22· ·to, weekly, monthly, and/or quarterly reports on the
 23· ·following subjects, and then there's a series of items
 24· ·listed after that?
 25· · · · A.· · Yes, ma'am.


                      Briggs & Associates 615/482-0037
Case 3:22-cv-00093 Document Nashville,
                             37-2 FiledTennessee
                                        05/25/22 Page 54 of 162 PageID #: 3036   YVer1f
BOZA PLEASANT-BEY vs STATE OF TENNESSEE
WALTON, JON on 04/08/2021                                               Page 55
                                                                      Page 55
 ·1· · · · · · · MR. AUMANN:· Janna, could you just give the
 ·2· ·Bates stamp number for that page, please.
 ·3· · · · · · · MS. MAPLES:· Sure.· This is Page 3, Bates
 ·4· ·stamp CCI 000936.
 ·5· · · · · · · MR. AUMANN:· Thank you.
 ·6· ·BY MS. MAPLES:
 ·7· · · · Q.· · Are you familiar with the State's reporting
 ·8· ·requirements for Trousdale County?
 ·9· · · · A.· · Yes.
 10· · · · Q.· · Who is the recipient for these required
 11· ·reports?
 12· · · · A.· · TDOC central office.
 13· · · · Q.· · So you don't receive reports from Trousdale
 14· ·County?
 15· · · · A.· · No, ma'am.
 16· · · · Q.· · Do you receive reports prepared by CoreCivic
 17· ·pursuant to this requirement?
 18· · · · A.· · Yes, ma'am.
 19· · · · Q.· · And which of these reports that are listed
 20· ·here did you receive?
 21· · · · A.· · Staffing, turnover and vacancies, staff
 22· ·training, inmate grievances.
 23· · · · Q.· · Are there any others?
 24· · · · A.· · Not that they deliver directly, no.· A lot of
 25· ·that is through our TOMIS system or through the --


                      Briggs & Associates 615/482-0037
Case 3:22-cv-00093 Document Nashville,
                             37-2 FiledTennessee
                                        05/25/22 Page 55 of 162 PageID #: 3037   YVer1f
BOZA PLEASANT-BEY vs STATE OF TENNESSEE
WALTON, JON on 04/08/2021                                               Page 56
                                                                      Page 56
 ·1· · · · Q.· · What is the OMS system?
 ·2· · · · A.· · TOMIS.
 ·3· · · · Q.· · You said the OMS system or, and then I think
 ·4· ·I cut you off.· What were you going to say?
 ·5· · · · A.· · The comp stat report.· The monthly comp stat.
 ·6· · · · Q.· · Can you repeat the name of that report again
 ·7· ·or maybe spell it or something, I can't quite understand
 ·8· ·you.
 ·9· · · · A.· · Yes, ma'am.· It's C-O-M-P, as in Paul,
 10· ·S-T-A-T.· Comp stat.
 11· · · · Q.· · Does comp stat stand for something?
 12· · · · A.· · Not that I am aware.
 13· · · · Q.· · What kind of information is in the monthly
 14· ·comp stat report?
 15· · · · A.· · It includes a breakdown by number of the
 16· ·disciplinary reports, the grievances, health care
 17· ·totals, transfers.· And I'm not sure what all else.
 18· ·It's an overview of the facility operations for the
 19· ·month.
 20· · · · Q.· · Are all of those monthly comp stat reports
 21· ·stored somewhere?
 22· · · · A.· · Yes.
 23· · · · Q.· · Are they all, you know, clearly marked and
 24· ·identified in the system they're stored in?
 25· · · · A.· · Yes.


                      Briggs & Associates 615/482-0037
Case 3:22-cv-00093 Document Nashville,
                             37-2 FiledTennessee
                                        05/25/22 Page 56 of 162 PageID #: 3038   YVer1f
BOZA PLEASANT-BEY vs STATE OF TENNESSEE
WALTON, JON on 04/08/2021                                               Page 57
                                                                      Page 57
 ·1· · · · Q.· · Are they easy to locate?
 ·2· · · · A.· · They are.
 ·3· · · · Q.· · What is the name of the system where they're
 ·4· ·stored?
 ·5· · · · A.· · Well, I have them on file on a hard drive on
 ·6· ·my personal laptop.
 ·7· · · · Q.· · If you had to grab them all since November of
 ·8· ·2019, how long would it take you?
 ·9· · · · A.· · I would just need to get approval from TDOC.
 10· ·And I could have them the same day.
 11· · · · Q.· · You mentioned some other reports that you
 12· ·receive independent of the monthly comp stat report.                I
 13· ·think you said staffing turnover and vacancies, staff
 14· ·training and inmate grievances; is that right?
 15· · · · A.· · Staff turnover and vacancies.· And I'm sorry,
 16· ·that does say employee grievances.· I do not receive
 17· ·employee grievances.· Staff training is kept on site.
 18· ·We can review those at any time, but that's not in the
 19· ·form of a report that's provided on a routine basis.
 20· · · · Q.· · So you don't receive staffing reports from
 21· ·Trousdale?
 22· · · · A.· · I receive a staffing report, not staffing
 23· ·training.
 24· · · · Q.· · I am sorry, I think I may have misunderstood.
 25· ·How often do you receive staffing reports from


                      Briggs & Associates 615/482-0037
Case 3:22-cv-00093 Document Nashville,
                             37-2 FiledTennessee
                                        05/25/22 Page 57 of 162 PageID #: 3039   YVer1f
BOZA PLEASANT-BEY vs STATE OF TENNESSEE
WALTON, JON on 04/08/2021                                               Page 58
                                                                      Page 58
 ·1· ·Trousdale?
 ·2· · · · A.· · Monthly.
 ·3· · · · Q.· · What kind of information is contained in
 ·4· ·those reports?
 ·5· · · · A.· · Position codes; position titles; employee
 ·6· ·names; start dates; hire dates; days that the position
 ·7· ·-- total number of days the position has been vacant.
 ·8· · · · Q.· · Is that all?
 ·9· · · · A.· · And I said hire and termination dates,
 10· ·correct?· Yes, ma'am.
 11· · · · Q.· · I think you said -- okay.· And do you store
 12· ·those all on your computer?
 13· · · · A.· · Yes, ma'am.
 14· · · · Q.· · Does CoreCivic maintain copies?
 15· · · · A.· · I would be certain of it, yes.
 16· · · · Q.· · Is it easy for you to identify and locate the
 17· ·monthly staffing reports you received from CoreCivic?
 18· · · · A.· · Yes, ma'am.
 19· · · · Q.· · Are they clearly labeled in your computer?
 20· · · · A.· · They are.
 21· · · · Q.· · And if you had to grab them all for the time
 22· ·period that you've been employed at Trousdale, how long
 23· ·would it take you?
 24· · · · A.· · Same day.
 25· · · · Q.· · Now, you said you don't receive any kind of


                      Briggs & Associates 615/482-0037
Case 3:22-cv-00093 Document Nashville,
                             37-2 FiledTennessee
                                        05/25/22 Page 58 of 162 PageID #: 3040   YVer1f
BOZA PLEASANT-BEY vs STATE OF TENNESSEE
WALTON, JON on 04/08/2021                                               Page 59
                                                                      Page 59
 ·1· ·reporting on inmate grievances; is that right?
 ·2· · · · A.· · I receive -- not on a monthly basis, no,
 ·3· ·ma'am.· The grievances, I receive their quarterly log
 ·4· ·when I do the review.
 ·5· · · · Q.· · Where does the State maintain the reporting
 ·6· ·requirements that are described in the second paragraph
 ·7· ·of B1 on the page Bates stamped CCI 000936 of Exhibit 4?
 ·8· · · · A.· · Central office.
 ·9· · · · Q.· · What would those be called?· Do you know?
 10· · · · A.· · Comp stat report.
 11· · · · Q.· · Now, the turnover and vacancies report, is
 12· ·that separate than the staffing report or are they the
 13· ·same thing?
 14· · · · A.· · It's the same thing.
 15· · · · Q.· · Do you review the turnover ratio at
 16· ·Trousdale?
 17· · · · A.· · No, ma'am.
 18· · · · Q.· · Does anyone?
 19· · · · A.· · The contract monitoring director looks at the
 20· ·vacancy percentages.· I'm not certain that she looks at
 21· ·the turnover ratio.
 22· · · · Q.· · When I say turnover ratio, do you know what I
 23· ·mean?
 24· · · · A.· · Yes, ma'am, I believe I do.
 25· · · · Q.· · Okay, can you explain what that is?


                      Briggs & Associates 615/482-0037
Case 3:22-cv-00093 Document Nashville,
                             37-2 FiledTennessee
                                        05/25/22 Page 59 of 162 PageID #: 3041   YVer1f
BOZA PLEASANT-BEY vs STATE OF TENNESSEE
WALTON, JON on 04/08/2021                                               Page 60
                                                                      Page 60
 ·1· · · · A.· · The rate at which a position is vacant,
 ·2· ·filled and then becomes vacant again.
 ·3· · · · Q.· · Is there a certain level of -- strike that.
 ·4· ·Is there a turnover ratio that is considered
 ·5· ·unacceptable by TDOC?
 ·6· · · · A.· · Not that I am aware.
 ·7· · · · Q.· · Just a second.· I am going to scroll down to
 ·8· ·Page 24.· This page is going to be Bates stamped CCI
 ·9· ·000957.· Do you see that we're on Page 24?
 10· · · · A.· · Yes, ma'am.
 11· · · · Q.· · Do you see that Item 2 on this page states:
 12· ·The contractor shall maintain permanent logs in addition
 13· ·to shift reports that record routine in emergency
 14· ·situations?
 15· · · · A.· · Yes, ma'am.
 16· · · · Q.· · Are you familiar with shift reports?
 17· · · · A.· · No, ma'am.
 18· · · · Q.· · How about these logs of routine in emergency
 19· ·situations?
 20· · · · A.· · No, ma'am.· The only thing that --
 21· · · · Q.· · Okay, do you --
 22· · · · A.· · The only thing that would involve me of what
 23· ·I review is the daily shift rosters that has that
 24· ·information on it.
 25· · · · Q.· · What is a daily shift roster?


                      Briggs & Associates 615/482-0037
Case 3:22-cv-00093 Document Nashville,
                             37-2 FiledTennessee
                                        05/25/22 Page 60 of 162 PageID #: 3042   YVer1f
BOZA PLEASANT-BEY vs STATE OF TENNESSEE
WALTON, JON on 04/08/2021                                               Page 61
                                                                      Page 61
 ·1· · · · A.· · It outlines where each individual staff
 ·2· ·member worked to include any emergencies that arise and
 ·3· ·staff that had to be posted due to those emergencies.
 ·4· · · · Q.· · Why did you review those?
 ·5· · · · A.· · For critical post closures.
 ·6· · · · Q.· · Do you see that Item 6 on this page states:
 ·7· ·The contractor shall prepare and submit to the contract
 ·8· ·liaison such reports as are required by the State.
 ·9· ·Unless otherwise notified in writing by the contract
 10· ·liaison, these reports include the following, which must
 11· ·be submitted on a monthly basis.· And then there's a
 12· ·series of reports listed underneath, A through G.
 13· · · · A.· · Yes, ma'am.
 14· · · · Q.· · Now, it says contract liaison.· Is it your
 15· ·understanding that the contract liaison and contract
 16· ·monitor are the same thing?
 17· · · · A.· · Yes, ma'am.
 18· · · · Q.· · Do you receive any of the reports that are
 19· ·listed here under A through G?
 20· · · · A.· · Yes, ma'am.· Those are also in the comp stat
 21· ·report.
 22· · · · Q.· · These are all in the comp stat report?
 23· · · · A.· · Yes, ma'am.
 24· · · · Q.· · What is a post order?
 25· · · · A.· · I'm sorry?


                      Briggs & Associates 615/482-0037
Case 3:22-cv-00093 Document Nashville,
                             37-2 FiledTennessee
                                        05/25/22 Page 61 of 162 PageID #: 3043   YVer1f
BOZA PLEASANT-BEY vs STATE OF TENNESSEE
WALTON, JON on 04/08/2021                                               Page 62
                                                                      Page 62
 ·1· · · · Q.· · What is a post order?
 ·2· · · · A.· · A post order is a general set of guidelines
 ·3· ·for a security position within a facility.
 ·4· · · · Q.· · Do you review post orders?
 ·5· · · · A.· · I review that post orders are available for
 ·6· ·that post.
 ·7· · · · Q.· · I'm going to scroll down to Page 28.· This is
 ·8· ·Bates stamped CCI 000961.· Do you see that?
 ·9· · · · A.· · No, ma'am.· I do see page --
 10· · · · Q.· · How about now?
 11· · · · A.· · Yes.
 12· · · · Q.· · Do you see that there is a header, Section A4
 13· ·titled staffing, slash, employees?
 14· · · · A.· · Yes.
 15· · · · Q.· · Does it set forth the requirements for
 16· ·staffing at Trousdale?
 17· · · · · · · MR. AUMANN:· Objection, form.· You can go
 18· ·ahead and answer.
 19· · · · · · · THE WITNESS:· Can you repeat the question.
 20· ·BY MS. MAPLES:
 21· · · · Q.· · Does section A4 on Page 28 and then
 22· ·continuing to the following pages set forth the
 23· ·requirements for staffing and employees at Trousdale?
 24· · · · · · · MR. AUMANN:· Same objection, form.· You can
 25· ·go ahead and answer.


                      Briggs & Associates 615/482-0037
Case 3:22-cv-00093 Document Nashville,
                             37-2 FiledTennessee
                                        05/25/22 Page 62 of 162 PageID #: 3044   YVer1f
BOZA PLEASANT-BEY vs STATE OF TENNESSEE
WALTON, JON on 04/08/2021                                               Page 63
                                                                      Page 63
 ·1· · · · · · · THE WITNESS:· No.
 ·2· ·BY MS. MAPLES:
 ·3· · · · Q.· · What does Section A4 give us?
 ·4· · · · A.· · A4 appears to be a set of definitions for
 ·5· ·each of those bullet items, what is to be considered
 ·6· ·personnel, what is to be considered executive officer,
 ·7· ·and what is to be considered an independent contractor.
 ·8· · · · Q.· · Well, I mean, let's look at the second
 ·9· ·sentence of Section C.· It says:· All vacancies shall be
 10· ·filled in 45 days, provided, however, that during the
 11· ·period of any vacancy, the services associated with that
 12· ·position shall be provided by contractor.· And then the
 13· ·sentence goes on.· But does that supply a requirement
 14· ·for the staffing at Trousdale County -- or excuse me,
 15· ·Trousdale facility?
 16· · · · A.· · That's a requirement for meeting the
 17· ·contractual obligations of the total staffing pattern.
 18· · · · Q.· · Do see that the last sentence of that
 19· ·paragraph titled personnel states:· The contractor's
 20· ·staff turnover ratio for security personnel shall not
 21· ·exceed 50 percent annually as of each June 30?
 22· · · · A.· · I do.
 23· · · · Q.· · And do you recall a moment ago you testified
 24· ·that you didn't monitor the turnover ratio at Trousdale?
 25· · · · A.· · Yes, ma'am.


                      Briggs & Associates 615/482-0037
Case 3:22-cv-00093 Document Nashville,
                             37-2 FiledTennessee
                                        05/25/22 Page 63 of 162 PageID #: 3045   YVer1f
BOZA PLEASANT-BEY vs STATE OF TENNESSEE
WALTON, JON on 04/08/2021                                               Page 64
                                                                      Page 64
 ·1· · · · Q.· · If you had to guess, would you -- strike
 ·2· ·that.· Based on your review of staffing at Trousdale,
 ·3· ·does the turnover ratio for security personnel exceed 50
 ·4· ·percent at Trousdale?
 ·5· · · · · · · MR. AUMANN:· Objection, form.
 ·6· · · · · · · MR. WELBORN:· Same objection.
 ·7· · · · · · · THE WITNESS:· I really don't know.
 ·8· ·BY MS. MAPLES:
 ·9· · · · Q.· · It's certainly possible that it does, though;
 10· ·would you agree to that?
 11· · · · · · · MR. AUMANN:· Objection, form.
 12· · · · · · · MR. WELBORN:· Same objection.
 13· · · · · · · THE WITNESS:· I'm going to say no, I don't
 14· ·think that's possible.· I don't think it's 50 percent.
 15· ·BY MS. MAPLES:
 16· · · · Q.· · If we scroll up to Page 27, this page has a
 17· ·Bates stamp CCI 000960.· Do you see that?
 18· · · · A.· · 960, yes.
 19· · · · Q.· · Do you see that section NN is titled
 20· ·volunteer services?
 21· · · · A.· · Yes, ma'am.
 22· · · · Q.· · Do you see that it states in the -- let's
 23· ·see, second sentence:· At a minimum, the contractor
 24· ·shall provide for supervision and monitoring of the
 25· ·program and security background checks for volunteer


                      Briggs & Associates 615/482-0037
Case 3:22-cv-00093 Document Nashville,
                             37-2 FiledTennessee
                                        05/25/22 Page 64 of 162 PageID #: 3046   YVer1f
BOZA PLEASANT-BEY vs STATE OF TENNESSEE
WALTON, JON on 04/08/2021                                               Page 65
                                                                      Page 65
 ·1· ·applicants.· And then the next sentence, contractor
 ·2· ·shall establish and maintain a local volunteer advisory
 ·3· ·board.
 ·4· · · · A.· · Yes, ma'am.
 ·5· · · · Q.· · Does Trousdale have a local volunteer
 ·6· ·advisory board?
 ·7· · · · A.· · Not that I am aware.
 ·8· · · · Q.· · Have you ever asked why there is not a local
 ·9· ·volunteer advisory board?
 10· · · · · · · MR. WELBORN:· Object to the form.
 11· · · · · · · THE WITNESS:· No, ma'am.· And it could be a
 12· ·verbiage barrier also.· It could be referred to as
 13· ·something different here.· But I don't know of anything
 14· ·called that.
 15· ·BY MS. MAPLES:
 16· · · · Q.· · Do you know of anything that, you know, might
 17· ·perform the same function as a local volunteer advisory
 18· ·board?
 19· · · · · · · MR. AUMANN:· Objection, form.
 20· · · · · · · THE WITNESS:· No, ma'am, I do not.
 21· ·BY MS. MAPLES:
 22· · · · Q.· · Does Trousdale have volunteers?
 23· · · · A.· · They do, yes, ma'am.
 24· · · · Q.· · Are you involved with volunteers at all?
 25· · · · A.· · We, as a contract monitor, review the


                      Briggs & Associates 615/482-0037
Case 3:22-cv-00093 Document Nashville,
                             37-2 FiledTennessee
                                        05/25/22 Page 65 of 162 PageID #: 3047   YVer1f
BOZA PLEASANT-BEY vs STATE OF TENNESSEE
WALTON, JON on 04/08/2021                                               Page 66
                                                                      Page 66
 ·1· ·background checks and determine whether or not an
 ·2· ·individual can be cleared to come onto the property as a
 ·3· ·volunteer.
 ·4· · · · Q.· · Is that all?
 ·5· · · · A.· · That's all.
 ·6· · · · Q.· · Are you in any way involved with Trousdale
 ·7· ·staff complaints?
 ·8· · · · A.· · No, ma'am.
 ·9· · · · Q.· · Do you know if CoreCivic has a policy or
 10· ·procedure to handle staff complaints at Trousdale?
 11· · · · A.· · Not that I am involved in, no.
 12· · · · Q.· · I'm not asking if you're involved in it.· I'm
 13· ·just asking if you know whether or not they have one?
 14· · · · A.· · I know they have a human resource program.
 15· · · · Q.· · Is it your understanding that the human
 16· ·resource program handles staff complaints at Trousdale?
 17· · · · A.· · Yes, ma'am.
 18· · · · Q.· · I'm going to scroll up to Page 20 of the
 19· ·contract.· This page has the Bates stamp CCI 000953.· Do
 20· ·you see that?
 21· · · · A.· · I do now, yes.
 22· · · · Q.· · Do you see that on this page, Item N is
 23· ·titled religious services?
 24· · · · A.· · Yes.
 25· · · · Q.· · And do you see that it states:· Contractor


                      Briggs & Associates 615/482-0037
Case 3:22-cv-00093 Document Nashville,
                             37-2 FiledTennessee
                                        05/25/22 Page 66 of 162 PageID #: 3048   YVer1f
BOZA PLEASANT-BEY vs STATE OF TENNESSEE
WALTON, JON on 04/08/2021                                               Page 67
                                                                      Page 67
 ·1· ·will designate adequate staff, volunteers and space
 ·2· ·within the facility for religious services and provide
 ·3· ·religious programs and religious services in compliance
 ·4· ·with departmental policy?
 ·5· · · · A.· · Yes.
 ·6· · · · Q.· · Are you involved in tracking, monitoring or
 ·7· ·overseeing Trousdale's treatment of religious services?
 ·8· · · · A.· · No.
 ·9· · · · Q.· · Are you involved in determining whether or
 10· ·not Trousdale has designated adequate staff, volunteers
 11· ·and space for religious services?
 12· · · · A.· · No.
 13· · · · Q.· · Are you involved with anything at Trousdale
 14· ·concerning religion?
 15· · · · A.· · No, ma'am.
 16· · · · Q.· · Do you oversee or monitor employees, like the
 17· ·chaplain, for instance, who might be involved with
 18· ·religion?
 19· · · · A.· · Do I monitor or oversee the chaplains, was
 20· ·that the question?
 21· · · · Q.· · Yes.
 22· · · · A.· · No, ma'am.
 23· · · · Q.· · Does the contract monitor of operations
 24· ·oversee Trousdale concerning religious services or
 25· ·religious staffing or anything of that nature?


                      Briggs & Associates 615/482-0037
Case 3:22-cv-00093 Document Nashville,
                             37-2 FiledTennessee
                                        05/25/22 Page 67 of 162 PageID #: 3049   YVer1f
BOZA PLEASANT-BEY vs STATE OF TENNESSEE
WALTON, JON on 04/08/2021                                               Page 68
                                                                      Page 68
 ·1· · · · A.· · No, ma'am.· The only thing that we, as a
 ·2· ·contract monitor, do with religious services is review
 ·3· ·the background checks.· For the chaplains, that would be
 ·4· ·the criminal background histories, background reports,
 ·5· ·because they are staff assigned to the facility.· And
 ·6· ·the volunteers, we approve or deny their entry into the
 ·7· ·institution.
 ·8· · · · Q.· · Do you ever review incident reports as
 ·9· ·contract monitor of Trousdale?
 10· · · · A.· · Yes, ma'am.
 11· · · · Q.· · For what purposes do you review those
 12· ·reports?
 13· · · · A.· · For accuracy.· To ensure that if it was a
 14· ·Class A incident, that it was reported to the contract
 15· ·monitors.· And that if need be, that it was reported to
 16· ·the central communications center.
 17· · · · Q.· · What is a Class A incident?
 18· · · · A.· · Class A incident is what TDOC designates as a
 19· ·serious incident at a facility that could seriously
 20· ·impact the security of the institution, or if it's
 21· ·outside the normal operations of the prison.
 22· · · · Q.· · So is it fair to say that you don't do
 23· ·anything to monitor Class B or Class C incidents?
 24· · · · A.· · No, that is correct.
 25· · · · Q.· · Okay, what do you do to monitor Class B and


                      Briggs & Associates 615/482-0037
Case 3:22-cv-00093 Document Nashville,
                             37-2 FiledTennessee
                                        05/25/22 Page 68 of 162 PageID #: 3050   YVer1f
BOZA PLEASANT-BEY vs STATE OF TENNESSEE
WALTON, JON on 04/08/2021                                               Page 69
                                                                      Page 69
 ·1· ·Class C and so on and so forth incidents?
 ·2· · · · A.· · We just review to ensure correct entry has
 ·3· ·been submitted into our TOMIS system.
 ·4· · · · Q.· · So explain to me how the treatment for Class
 ·5· ·A incidents is different than the treatment of the lower
 ·6· ·classifications of incidents.
 ·7· · · · A.· · So what will happen during a Class A event is
 ·8· ·that the contract says that the contract monitor has to
 ·9· ·be notified within an hour of occurrence of a Class A
 10· ·incident and also that the central communication center
 11· ·has to be notified of the event.· That is not a
 12· ·requirement for Class B or C related matters.· Also a --
 13· · · · Q.· · How often is Class A --
 14· · · · A.· · And also a TOMIS incident has to be entered
 15· ·by the end of shift.
 16· · · · Q.· · Why is it important that these procedures be
 17· ·followed and that this documentation be created?
 18· · · · A.· · To ensure if there is any emergent
 19· ·notification or, basically, because that's the
 20· ·commissioner's directive.· You know, if there's any
 21· ·emergency at the facility or any security breach, that's
 22· ·something that TDOC wants to know about first and
 23· ·foremost.
 24· · · · Q.· · Well, is that because it's important for TDOC
 25· ·to have oversight of what is going on at Trousdale?


                      Briggs & Associates 615/482-0037
Case 3:22-cv-00093 Document Nashville,
                             37-2 FiledTennessee
                                        05/25/22 Page 69 of 162 PageID #: 3051   YVer1f
BOZA PLEASANT-BEY vs STATE OF TENNESSEE
WALTON, JON on 04/08/2021                                               Page 70
                                                                      Page 70
 ·1· · · · A.· · Absolutely.· And that would be for any
 ·2· ·prison.
 ·3· · · · Q.· · How often do Class A incidents occur at
 ·4· ·Trousdale?
 ·5· · · · A.· · I want to say no more routinely than any
 ·6· ·other facility.· Class A incidents are matters that do
 ·7· ·occur.· To speak to the frequency, I'm really not sure.
 ·8· ·We could go a day or two without any, then we could have
 ·9· ·a day where we have five.· It just -- it really varies.
 10· · · · Q.· · But you're notified every time there is one;
 11· ·is that right?
 12· · · · A.· · Or the contract monitor of operations.
 13· ·Primarily, it's going to be him.· And in his absence or
 14· ·whenever they're not able to contact the operations
 15· ·monitor, then they'll contact me.
 16· · · · Q.· · Can you give some examples of what
 17· ·constitutes a Class A incident?
 18· · · · A.· · If there is an inmate assault, a staff
 19· ·assault, a death.· If an inmate has to be transported
 20· ·off the property.· Anything that might be considered a
 21· ·breach of security and use of force -- or rather,
 22· ·chemical use of force, let me clarify.
 23· · · · Q.· · Do you know how many deaths there have been
 24· ·at Trousdale since you have been there?
 25· · · · A.· · Since I've been here, I would have to defer


                      Briggs & Associates 615/482-0037
Case 3:22-cv-00093 Document Nashville,
                             37-2 FiledTennessee
                                        05/25/22 Page 70 of 162 PageID #: 3052   YVer1f
BOZA PLEASANT-BEY vs STATE OF TENNESSEE
WALTON, JON on 04/08/2021                                               Page 71
                                                                      Page 71
 ·1· ·to my notes.· I do have a file of those.
 ·2· · · · Q.· · Do you keep that file on your computer or in
 ·3· ·your office?
 ·4· · · · A.· · On my computer.
 ·5· · · · Q.· · What is it called in your computer?
 ·6· · · · A.· · Deceased inmates.
 ·7· · · · Q.· · And it's just your notes on the various
 ·8· ·deaths?
 ·9· · · · A.· · It's the -- it's a CR 2592 is the injury
 10· ·report that was documented by the medical team.
 11· · · · Q.· · Does Trousdale have any pending unexplained
 12· ·deaths or deaths for which it has not yet determined a
 13· ·cause right now?
 14· · · · A.· · I am not sure.· That's not something that I
 15· ·would even have knowledge about.
 16· · · · Q.· · So you're not involved in overseeing
 17· ·Trousdale's investigation into inmate deaths?
 18· · · · A.· · No, ma'am.
 19· · · · Q.· · Is the contract monitor of operations
 20· ·involved in that?
 21· · · · A.· · I believe he is.
 22· · · · Q.· · Do you know how many homicides there have
 23· ·been at Trousdale since you've been there?
 24· · · · A.· · I do not, no.
 25· · · · Q.· · Has there been more than one?


                      Briggs & Associates 615/482-0037
Case 3:22-cv-00093 Document Nashville,
                             37-2 FiledTennessee
                                        05/25/22 Page 71 of 162 PageID #: 3053   YVer1f
BOZA PLEASANT-BEY vs STATE OF TENNESSEE
WALTON, JON on 04/08/2021                                               Page 72
                                                                      Page 72
 ·1· · · · A.· · I'm not sure.· And again, you know, the
 ·2· ·definition of homicide is anything other than natural
 ·3· ·and not a suicide.· The final outcome on the death
 ·4· ·certificate would outline anything or cause of death.
 ·5· ·And I just don't have access to those and that's not
 ·6· ·something that I monitor.
 ·7· · · · Q.· · How long did you prepare for your deposition
 ·8· ·today?
 ·9· · · · A.· · How long did I prepare today?
 10· · · · Q.· · How long did you prepare, I'm assuming in
 11· ·advance of today, for your deposition today?
 12· · · · A.· · I had a phone call last week.· I don't recall
 13· ·exactly what day that was.· I want to say it was last
 14· ·Tuesday, March the 30th, that was maybe an hour.
 15· · · · Q.· · And who was the phone call with?
 16· · · · A.· · It was with Mr. Aumann and Ms. Nikki -- I
 17· ·apologize, I am not sure if I know how to pronounce her
 18· ·last name.· It starts with an H.
 19· · · · Q.· · Those were the only attorneys on that call?
 20· · · · A.· · Yes, ma'am.
 21· · · · Q.· · We've talked a lot this morning about
 22· ·noncompliance reports.· Is that the same thing as a
 23· ·contract deficiency report or a CDR?
 24· · · · A.· · I'm not sure.· I've never heard of a CDR.
 25· · · · Q.· · Did you do anything other than the phone call


                      Briggs & Associates 615/482-0037
Case 3:22-cv-00093 Document Nashville,
                             37-2 FiledTennessee
                                        05/25/22 Page 72 of 162 PageID #: 3054   YVer1f
BOZA PLEASANT-BEY vs STATE OF TENNESSEE
WALTON, JON on 04/08/2021                                               Page 73
                                                                      Page 73
 ·1· ·with Thomas Aumann and Nikki Hashemian to prepare for
 ·2· ·your deposition today?
 ·3· · · · A.· · No, ma'am.
 ·4· · · · Q.· · Okay, I'm going to put another document on
 ·5· ·the screen.· It will be Exhibit 5 to the deposition.
 ·6· ·For convenience, since we're on Zoom, this is going to
 ·7· ·be another collective exhibit of a series of documents,
 ·8· ·okay?· So we'll just walk through that.· Just to be
 ·9· ·clear, so that we all understand, we're talking about
 10· ·multiple documents that have been put together, okay?
 11· · · · A.· · Yes.
 12· · · · · · · (Exhibit 5 was marked.)
 13· ·BY MS. MAPLES:
 14· · · · Q.· · Okay, do you see the document you have in
 15· ·front of you is Bates stamped at the top left-hand
 16· ·corner TDOC 002291?
 17· · · · A.· · Yes.
 18· · · · · · · MS. POLLY:· Hey, Janna, can you make that
 19· ·available in the chat, please?
 20· · · · · · · MS. MAPLES:· Yes, I was doing that as we
 21· ·speak.· It's just going to take me a sec.
 22· ·BY MS. MAPLES:
 23· · · · Q.· · Okay, do you see that this first document is
 24· ·dated December 31st, 2019?
 25· · · · A.· · Yes.


                      Briggs & Associates 615/482-0037
Case 3:22-cv-00093 Document Nashville,
                             37-2 FiledTennessee
                                        05/25/22 Page 73 of 162 PageID #: 3055   YVer1f
BOZA PLEASANT-BEY vs STATE OF TENNESSEE
WALTON, JON on 04/08/2021                                               Page 74
                                                                      Page 74
 ·1· · · · Q.· · And were you involved in preparing this
 ·2· ·report?
 ·3· · · · A.· · Yes.
 ·4· · · · Q.· · Is this another noncompliance report?
 ·5· · · · A.· · Yes.
 ·6· · · · Q.· · Do you see that the first sentence of it
 ·7· ·states:· A review of staffing rosters and staff
 ·8· ·vacancies took place for the period of October 1st, 2019
 ·9· ·to October 31st, 2019?
 10· · · · A.· · Yes.
 11· · · · Q.· · Do you see that it states noncompliance Item
 12· ·1?
 13· · · · A.· · Yes.
 14· · · · Q.· · And can you explain what noncompliance Item 1
 15· ·is here in this report?
 16· · · · A.· · Noncompliance Item 1 covers staffing.· Item
 17· ·2B, which is an essential finding and also a repeat from
 18· ·previous reporting periods.· The instrument directs the
 19· ·auditor to review and ensure that the daily shift
 20· ·rosters for all shifts are reviewed to ensure that all
 21· ·critical posts are staffed as required by contract.
 22· · · · Q.· · And when you applied staffing instrument 2B,
 23· ·what noncompliance issue did you find for October of
 24· ·2019?
 25· · · · A.· · That there were eight days in the month of


                      Briggs & Associates 615/482-0037
Case 3:22-cv-00093 Document Nashville,
                             37-2 FiledTennessee
                                        05/25/22 Page 74 of 162 PageID #: 3056   YVer1f
BOZA PLEASANT-BEY vs STATE OF TENNESSEE
WALTON, JON on 04/08/2021                                               Page 75
                                                                      Page 75
 ·1· ·October that reflected 24 critical posts were not filled
 ·2· ·on time or the position was left vacant during the
 ·3· ·shift.
 ·4· · · · Q.· · And the table below that paragraph you've
 ·5· ·just cited, does it describe the specific shifts that
 ·6· ·were found to be vacant?
 ·7· · · · A.· · To include the date and the time of the
 ·8· ·vacancy, yes.
 ·9· · · · Q.· · And do you see here in red there is a note
 10· ·that states:· Per the monitoring instrument for
 11· ·staffing, Item 2B has been determined to be an essential
 12· ·monitoring item, which may result in a notification of
 13· ·breach?
 14· · · · A.· · Yes.
 15· · · · Q.· · What is an essential monitoring item?
 16· · · · A.· · An essential monitoring item is any
 17· ·monitoring item that is required to be a hundred
 18· ·percent.· If there is one deficiency, then it gets
 19· ·documented as a noncompliance.
 20· · · · Q.· · That's sort of a strict standard.· Is that
 21· ·because that monitoring item is particularly important?
 22· · · · · · · MR. AUMANN:· Objection, form.· You can go
 23· ·ahead.
 24· · · · · · · THE WITNESS:· That's a security sensitive
 25· ·item, yes.


                      Briggs & Associates 615/482-0037
Case 3:22-cv-00093 Document Nashville,
                             37-2 FiledTennessee
                                        05/25/22 Page 75 of 162 PageID #: 3057   YVer1f
BOZA PLEASANT-BEY vs STATE OF TENNESSEE
WALTON, JON on 04/08/2021                                               Page 76
                                                                      Page 76
 ·1· ·BY MS. MAPLES:
 ·2· · · · Q.· · And when you say security sensitive item,
 ·3· ·what does that mean?
 ·4· · · · A.· · And item -- an area of audit that requires a
 ·5· ·hundred percent compliance.
 ·6· · · · Q.· · Well, I think that's a little circular.                I
 ·7· ·guess what I'm asking is what does security sensitive
 ·8· ·mean?
 ·9· · · · A.· · It's what the department of corrections
 10· ·determines to be something that they cannot give any
 11· ·leniency toward.· So if it's --
 12· · · · Q.· · I guess what I'm asking is an even simpler
 13· ·question.· It's just -- does security sensitive mean
 14· ·something that could impact the security of the prison?
 15· · · · A.· · Yes.
 16· · · · Q.· · Okay.· Do you see on the next page, it
 17· ·states:· Prior documentation of noncompliance?
 18· · · · A.· · Yes.
 19· · · · Q.· · And here, did you just go back and track
 20· ·whether there was noncompliance for the previous six
 21· ·months before you drafted this report?
 22· · · · A.· · Are we speaking to the prior documentation
 23· ·portion?
 24· · · · Q.· · Yes.
 25· · · · A.· · Yes.


                      Briggs & Associates 615/482-0037
Case 3:22-cv-00093 Document Nashville,
                             37-2 FiledTennessee
                                        05/25/22 Page 76 of 162 PageID #: 3058   YVer1f
BOZA PLEASANT-BEY vs STATE OF TENNESSEE
WALTON, JON on 04/08/2021                                               Page 77
                                                                      Page 77
 ·1· · · · Q.· · So it's fair to say that before you issued
 ·2· ·this report, CoreCivic had been consistently
 ·3· ·noncompliant?
 ·4· · · · A.· · Yes.
 ·5· · · · · · · MR. AUMANN:· Objection, form.· You can go
 ·6· ·ahead.
 ·7· · · · · · · THE WITNESS:· Yes.
 ·8· ·BY MS. MAPLES:
 ·9· · · · Q.· · And then as we discussed earlier, your report
 10· ·contains a kind of summary of the previous corrective
 11· ·actions that CoreCivic had taken at Trousdale?
 12· · · · A.· · The portion of the NCR that I'm looking at
 13· ·right now is the contractor's response.
 14· · · · Q.· · Okay.· So it says -- you're right:· Response
 15· ·of contractor slash corrective action taken.· So it's
 16· ·both, right?
 17· · · · A.· · Yes, ma'am.
 18· · · · Q.· · Okay.· So if we will scroll down, it looks
 19· ·like there is a bunch of dates here.· Is it fair to say
 20· ·that beside the date, there's sort of an explanation by
 21· ·CoreCivic as to what occurred each time there was a
 22· ·deficiency in this report; is that right?
 23· · · · A.· · Yes.
 24· · · · Q.· · And then if we scroll down to the next page,
 25· ·in the paragraph beginning with in January 2019, does


                      Briggs & Associates 615/482-0037
Case 3:22-cv-00093 Document Nashville,
                             37-2 FiledTennessee
                                        05/25/22 Page 77 of 162 PageID #: 3059   YVer1f
BOZA PLEASANT-BEY vs STATE OF TENNESSEE
WALTON, JON on 04/08/2021                                               Page 78
                                                                      Page 78
 ·1· ·CoreCivic there describe the corrective action that is
 ·2· ·taken?
 ·3· · · · A.· · Yes.
 ·4· · · · Q.· · And if we scroll down to noncompliance Item
 ·5· ·2, it notes that the monitoring instrument is staffing
 ·6· ·6B.· How is that different than staffing 2B?
 ·7· · · · A.· · So staffing 6B is a complete different item
 ·8· ·that we're reviewing for compliance.· And on this
 ·9· ·particular line item, we're looking to determine that
 10· ·one, that the staffing report was received on or before
 11· ·the 15th day of each month.· So if it was received on
 12· ·the 16th day or any day thereafter, that could
 13· ·constitute a finding.
 14· · · · · · · The next part of this item says that the
 15· ·warden submits a report to the liaison providing the
 16· ·name of each employee who separated service with reason,
 17· ·whether it be voluntary or involuntary, to include the
 18· ·separation date and the position that was vacated.
 19· · · · · · · So on this particular finding, in the month
 20· ·of October, the total number of employment actions that
 21· ·resulted in a vacancy on this report, the following
 22· ·position, the vacant position number does not appear on
 23· ·the monthly staffing report for the month of October.
 24· · · · Q.· · So it sounds like what you're saying is that
 25· ·there was just a -- almost an oversight and someone


                      Briggs & Associates 615/482-0037
Case 3:22-cv-00093 Document Nashville,
                             37-2 FiledTennessee
                                        05/25/22 Page 78 of 162 PageID #: 3060   YVer1f
BOZA PLEASANT-BEY vs STATE OF TENNESSEE
WALTON, JON on 04/08/2021                                               Page 79
                                                                      Page 79
 ·1· ·forgot to put in the number?
 ·2· · · · A.· · Correct.
 ·3· · · · Q.· · So staffing 6B isn't as important as staffing
 ·4· ·2B; is that right?
 ·5· · · · A.· · That would be correct.
 ·6· · · · · · · MR. AUMANN:· Objection, form.
 ·7· · · · · · · MR. WELBORN:· Objection.
 ·8· · · · · · · THE WITNESS:· And if you notice, this
 ·9· ·particular item is not considered to be an essential
 10· ·finding.
 11· ·BY MS. MAPLES:
 12· · · · Q.· · Okay.· Now, if we scroll down to
 13· ·noncompliance Item 3, the applicable monitoring
 14· ·instrument Staffing 9.· It is essential, right?
 15· · · · A.· · Yes.
 16· · · · Q.· · And what is staffing monitoring Instrument 9?
 17· · · · A.· · That all vacant positions are filled within
 18· ·45 days of the date in which it became vacant.
 19· · · · Q.· · And here in October of 2019, CoreCivic was
 20· ·noncompliant again; is that right?
 21· · · · A.· · Yes, ma'am.
 22· · · · Q.· · And can you describe the noncompliance?
 23· · · · A.· · In the month of October, there were 43
 24· ·positions that exceeded a 45-day vacancy.
 25· · · · Q.· · Is that a lot?· I mean 43 --


                      Briggs & Associates 615/482-0037
Case 3:22-cv-00093 Document Nashville,
                             37-2 FiledTennessee
                                        05/25/22 Page 79 of 162 PageID #: 3061   YVer1f
BOZA PLEASANT-BEY vs STATE OF TENNESSEE
WALTON, JON on 04/08/2021                                               Page 80
                                                                      Page 80
 ·1· · · · · · · MR. AUMANN:· Objection, form.
 ·2· · · · · · · MR. WELBORN:· Same objection.
 ·3· · · · · · · THE WITNESS:· I think at this time, it was
 ·4· ·probably average for the monitoring period.
 ·5· ·BY MS. MAPLES:
 ·6· · · · Q.· · What monitoring period?
 ·7· · · · A.· · For that quarter.· So we're looking at
 ·8· ·October 2019.· I'm going to say fourth quarter 2019.
 ·9· · · · Q.· · So when you say average for that monitoring
 10· ·period, you mean average for CoreCivic at Trousdale?
 11· · · · A.· · Yes.
 12· · · · Q.· · I am going to continue to scroll down.· Do
 13· ·you see that on this page, which I'm going to show you
 14· ·the Bates number is TDOC 002298, at the bottom, the last
 15· ·sentence on the page reads:· In October 2019, the
 16· ·facility authorized 7,676.34 hours of overtime.· Do you
 17· ·see that?
 18· · · · A.· · Yes.
 19· · · · Q.· · Do you consider that to be a lot of overtime?
 20· · · · · · · MR. AUMANN:· Objection, form.
 21· · · · · · · MR. WELBORN:· Same objection.
 22· · · · · · · THE WITNESS:· I really don't have an opinion
 23· ·one way or the other.· I believe that that number is
 24· ·subjective and it would probably need to be reviewed in
 25· ·light of other staffing reports during that monitoring


                      Briggs & Associates 615/482-0037
Case 3:22-cv-00093 Document Nashville,
                             37-2 FiledTennessee
                                        05/25/22 Page 80 of 162 PageID #: 3062   YVer1f
BOZA PLEASANT-BEY vs STATE OF TENNESSEE
WALTON, JON on 04/08/2021                                               Page 81
                                                                      Page 81
 ·1· ·period.
 ·2· · · · · · · You know, again, one of the things I want to
 ·3· ·draw attention to is that the contractor's response is
 ·4· ·not particularly something that, as a contract monitor,
 ·5· ·we do, other than just continue to monitor that
 ·6· ·instrument item.· The corrective action plan is a
 ·7· ·process that the facility takes to correct the
 ·8· ·deficiency and that's something that is theirs and of
 ·9· ·their own.
 10· · · · Q.· · Well, is there anyone at CoreCivic -- excuse
 11· ·me, strike that.· Is there anyone at TDOC who doesn't
 12· ·just look at the process, as you do, but actually looks
 13· ·at these things in the aggregate?
 14· · · · A.· · Yes.
 15· · · · Q.· · Who is that person?
 16· · · · A.· · That would be my boss, which is Carolyn
 17· ·Jordan.· My direct supervisor, I guess would be a more
 18· ·professional way to say that.· Ms. Carolyn Jordan and
 19· ·the inspector general's office, Mr. Kelly Young.
 20· · · · Q.· · How often do you have conversations with
 21· ·Carolyn Jordan about staffing at Trousdale?
 22· · · · A.· · Routinely.
 23· · · · Q.· · Once a day?
 24· · · · A.· · I'm going to say perhaps bimonthly.
 25· · · · Q.· · How long are those conversations typically?


                      Briggs & Associates 615/482-0037
Case 3:22-cv-00093 Document Nashville,
                             37-2 FiledTennessee
                                        05/25/22 Page 81 of 162 PageID #: 3063   YVer1f
BOZA PLEASANT-BEY vs STATE OF TENNESSEE
WALTON, JON on 04/08/2021                                               Page 82
                                                                      Page 82
 ·1· · · · A.· · I'm not sure.
 ·2· · · · Q.· · Has Carolyn Jordan ever expressed concern
 ·3· ·about the staffing at Trousdale?
 ·4· · · · A.· · Not particularly.· Her concern is to ensure
 ·5· ·that we're documenting any noncompliance that we
 ·6· ·identify.
 ·7· · · · Q.· · So she's never said anything to indicate
 ·8· ·displeasure with the way that Trousdale is staffed?
 ·9· · · · A.· · Not to me, no.
 10· · · · Q.· · What has she said to you about the staffing
 11· ·at Trousdale?
 12· · · · A.· · To continue to monitor and document all of
 13· ·the staffing discrepancies that we identify.· We did
 14· ·talk in great detail around this period about ensuring
 15· ·that all of our documentation was accurate and complete,
 16· ·because we -- that's our role.· That's, you know, as a
 17· ·contract monitor of compliance, to ensure that we have
 18· ·complete and accurate reporting.· And that's been her
 19· ·primary focus.
 20· · · · Q.· · Have you found that CoreCivic staffing
 21· ·reporting for Trousdale has been accurate and complete?
 22· · · · A.· · That it has been or has not been?
 23· · · · Q.· · Well, I'm asking which one?
 24· · · · A.· · That's what I'm asking, what was your
 25· ·question?


                      Briggs & Associates 615/482-0037
Case 3:22-cv-00093 Document Nashville,
                             37-2 FiledTennessee
                                        05/25/22 Page 82 of 162 PageID #: 3064   YVer1f
BOZA PLEASANT-BEY vs STATE OF TENNESSEE
WALTON, JON on 04/08/2021                                               Page 83
                                                                      Page 83
 ·1· · · · Q.· · Have you found CoreCivic's staffing
 ·2· ·documentation to be complete and accurate, or incomplete
 ·3· ·and inaccurate?
 ·4· · · · A.· · Incomplete --
 ·5· · · · · · · MR. AUMANN:· Objection, form.
 ·6· · · · · · · MR. WELBORN:· Same objection.
 ·7· ·BY MS. MAPLES:
 ·8· · · · Q.· · Can you say that again?
 ·9· · · · A.· · Incomplete and inaccurate.· Hence, the
 10· ·previous finding on this NCR report.
 11· · · · Q.· · And has that been true for the entire time
 12· ·you've been at Trousdale?
 13· · · · A.· · For the majority part, yes.
 14· · · · Q.· · If we scroll down to the document with the
 15· ·Bates stamp TDOC 002281, do you see that this is another
 16· ·noncompliance report concerning staffing dated December
 17· ·31st, 2019 for the month of November 2019?
 18· · · · A.· · Yes.
 19· · · · Q.· · Do you see that staffing monitoring
 20· ·instrument 2B is once again noncompliant?
 21· · · · A.· · Yes.
 22· · · · Q.· · And this time, there were 14 days in the
 23· ·month of November for which critical posts were unfilled
 24· ·or left vacant; is that right?
 25· · · · A.· · Yes.


                      Briggs & Associates 615/482-0037
Case 3:22-cv-00093 Document Nashville,
                             37-2 FiledTennessee
                                        05/25/22 Page 83 of 162 PageID #: 3065   YVer1f
BOZA PLEASANT-BEY vs STATE OF TENNESSEE
WALTON, JON on 04/08/2021                                               Page 84
                                                                      Page 84
 ·1· · · · Q.· · If we go down to noncompliance No. 2, do you
 ·2· ·see that monitoring instrument staff for staffing 6B was
 ·3· ·found to be noncompliant again in the warden's monthly
 ·4· ·staffing report?
 ·5· · · · A.· · Yes.
 ·6· · · · Q.· · And who was the warden at this time?
 ·7· · · · A.· · I believe that would be Warden Washburn.
 ·8· · · · Q.· · And here we've got Noncompliant Item 3, it's
 ·9· ·staffing monitoring Instrument 8.· Can you explain what
 10· ·that is?
 11· · · · A.· · Yes, ma'am.· Staffing Item 8.· Again, this
 12· ·goes back to speak to the complete and accuracy of the
 13· ·reporting method.· Copies of the staffing report was
 14· ·obtained for the previous month and compared to the
 15· ·month that it was being reported in to identify whether
 16· ·or not the list of employees had been hired and
 17· ·terminated are accurately documented over that time
 18· ·frame.
 19· · · · · · · And what we see is that this position became
 20· ·vacant, treatment counselor position became vacant on
 21· ·August the 30th, 2019, but was not listed on the
 22· ·September or October vacancy reports.· The position is
 23· ·then listed as having been filled on a monthly staffing
 24· ·report for November.· So basically, what happened there
 25· ·is they filled a position that was never reported to be


                      Briggs & Associates 615/482-0037
Case 3:22-cv-00093 Document Nashville,
                             37-2 FiledTennessee
                                        05/25/22 Page 84 of 162 PageID #: 3066   YVer1f
BOZA PLEASANT-BEY vs STATE OF TENNESSEE
WALTON, JON on 04/08/2021                                               Page 85
                                                                      Page 85
 ·1· ·vacant.
 ·2· · · · Q.· · Do you see at the bottom of the page that
 ·3· ·monitoring instrument Staffing 9 is again noncompliant
 ·4· ·for the month of November 2019?
 ·5· · · · A.· · Yes.
 ·6· · · · Q.· · And that's because they had certain unfilled
 ·7· ·positions that had been vacant for more than 45 days?
 ·8· · · · A.· · Yes.
 ·9· · · · Q.· · And if we scroll down to the page Bates
 10· ·stamped TDOC 002288, do you see that the last sentence
 11· ·again calculates the number of hours of overtime worked
 12· ·in November of 2019?
 13· · · · A.· · Yes.
 14· · · · Q.· · Do you see the number of hours there is
 15· ·6,103.33?
 16· · · · A.· · Yes.
 17· · · · Q.· · Do you see that the next document with Bates
 18· ·stamp TDOC 001432 is the monthly staffing report
 19· ·covering December of 2019?
 20· · · · A.· · Yes.
 21· · · · Q.· · Do you see that monitoring instrument
 22· ·staffing 2B is again noncompliant?
 23· · · · A.· · Yes.
 24· · · · Q.· · Do you see that Noncompliant Item 2 is
 25· ·monitoring instrument 6A?


                      Briggs & Associates 615/482-0037
Case 3:22-cv-00093 Document Nashville,
                             37-2 FiledTennessee
                                        05/25/22 Page 85 of 162 PageID #: 3067   YVer1f
BOZA PLEASANT-BEY vs STATE OF TENNESSEE
WALTON, JON on 04/08/2021                                               Page 86
                                                                      Page 86
 ·1· · · · A.· · Yes.
 ·2· · · · Q.· · 6A is a new one.· What is it?
 ·3· · · · A.· · To determine that on or before the fifth day
 ·4· ·of the -- of each month that the facility submits a
 ·5· ·report providing the names of those that are hired to
 ·6· ·include the position and the date that they were hired.
 ·7· ·So what we see here is that during this monitoring
 ·8· ·period, there were two separate reports that the
 ·9· ·facility provided the contract monitor to review to meet
 10· ·the standard.· On one of those reports, it indicated
 11· ·that 34 employees were hired.· But on the secondary
 12· ·report, it indicated that 36 employees were hired.· So
 13· ·those two reports were not consistent with one another.
 14· ·They were not accurate and consistent.
 15· · · · Q.· · So again, you are getting reporting from the
 16· ·facility that is incomplete and inaccurate, right?
 17· · · · A.· · Yes.
 18· · · · Q.· · If we scroll down to Noncompliant Item No. 3,
 19· ·do you see that Staffing Item 9 is, again, noncompliant?
 20· · · · A.· · Yes.
 21· · · · Q.· · And do you see that, again, CoreCivic has
 22· ·noted the amount of overtime that was worked in this
 23· ·report?
 24· · · · A.· · Yes.
 25· · · · Q.· · And do you see that it's 6,810.34 hours of


                      Briggs & Associates 615/482-0037
Case 3:22-cv-00093 Document Nashville,
                             37-2 FiledTennessee
                                        05/25/22 Page 86 of 162 PageID #: 3068   YVer1f
BOZA PLEASANT-BEY vs STATE OF TENNESSEE
WALTON, JON on 04/08/2021                                               Page 87
                                                                      Page 87
 ·1· ·overtime?
 ·2· · · · A.· · Yes.
 ·3· · · · Q.· · Do you see that on the document with the
 ·4· ·Bates stamp TDOC 001441 dated February 26th of 2020 and
 ·5· ·covering January of 2020, item staffing 2B is again
 ·6· ·noncompliant?
 ·7· · · · A.· · Yes.
 ·8· · · · Q.· · And can you explain the noncompliance issue
 ·9· ·in January of 2020?
 10· · · · A.· · In January, there were 19 days wherein 16
 11· ·critical posts were not filled on time or were left
 12· ·vacant.
 13· · · · Q.· · Was Warden Washburn still there at this time?
 14· · · · A.· · Yes.
 15· · · · Q.· · Did you try to work with him on staffing?
 16· · · · · · · MR. AUMANN:· Objection to form.
 17· · · · · · · THE WITNESS:· No.· That would be outside the
 18· ·scope of my responsibility.
 19· ·BY MS. MAPLES:
 20· · · · Q.· · Does anyone at TDOC have that responsibility?
 21· · · · A.· · No, that's the contractor's responsibility.
 22· · · · Q.· · Did you ever provide an evaluation of any
 23· ·kind, verbal or written, to anyone at TDOC concerning
 24· ·Warden Washburn's performance?
 25· · · · A.· · No.


                      Briggs & Associates 615/482-0037
Case 3:22-cv-00093 Document Nashville,
                             37-2 FiledTennessee
                                        05/25/22 Page 87 of 162 PageID #: 3069   YVer1f
BOZA PLEASANT-BEY vs STATE OF TENNESSEE
WALTON, JON on 04/08/2021                                               Page 88
                                                                      Page 88
 ·1· · · · Q.· · Were you ever asked your opinion about how
 ·2· ·Warden Washburn was doing at Trousdale by anyone at
 ·3· ·TDOC?
 ·4· · · · A.· · No.
 ·5· · · · Q.· · Did anybody at TDOC ever express an opinion
 ·6· ·to you about Warden Washburn's job performance at
 ·7· ·Trousdale?
 ·8· · · · A.· · Not that I recall, no.
 ·9· · · · Q.· · If we continue to scroll down, do you see
 10· ·that Noncompliant Item 2 is Staffing 7?
 11· · · · A.· · I'm sorry?
 12· · · · Q.· · Do you see that under noncompliant --
 13· · · · A.· · Staffing 7?
 14· · · · Q.· · Yes, Staffing 7.
 15· · · · A.· · Yes.
 16· · · · Q.· · And is this another instance of incomplete
 17· ·and inaccurate reporting by CoreCivic?
 18· · · · · · · MR. AUMANN:· Objection, form.
 19· · · · · · · THE WITNESS:· Yes, ma'am.
 20· ·BY MS. MAPLES:
 21· · · · Q.· · Same thing with Noncompliant Item 3, which is
 22· ·Monitoring Instrument Staffing 8.· Is this another
 23· ·example of incomplete and inaccurate reporting by
 24· ·CoreCivic for January 2020?
 25· · · · A.· · Yes, ma'am.


                      Briggs & Associates 615/482-0037
Case 3:22-cv-00093 Document Nashville,
                             37-2 FiledTennessee
                                        05/25/22 Page 88 of 162 PageID #: 3070   YVer1f
BOZA PLEASANT-BEY vs STATE OF TENNESSEE
WALTON, JON on 04/08/2021                                               Page 89
                                                                      Page 89
 ·1· · · · Q.· · And noncompliant Item 4, do you see that
 ·2· ·again it's Staffing Monitoring Instrument No. 9?
 ·3· · · · A.· · Yes.
 ·4· · · · Q.· · So various vacant positions are unfilled for
 ·5· ·45 days?
 ·6· · · · A.· · Correct.
 ·7· · · · Q.· · And moving to the next monthly report, we've
 ·8· ·got TDOC 001794 dated September 25th of 2015 and
 ·9· ·covering February of 2020.· Do you see that?
 10· · · · A.· · Yes.
 11· · · · Q.· · Do you see Staffing Item 2B is again
 12· ·noncompliant for February of 2020?
 13· · · · A.· · Yes.
 14· · · · Q.· · Now, why is the February 2020 report being
 15· ·issued in September?
 16· · · · A.· · We were working with the facility at the time
 17· ·to help improve their reporting method.· As you have
 18· ·noticed, there was a lot of data entry errors that was
 19· ·contributing to a lot of these findings.· The dates were
 20· ·off, the numbers were wrong.· There was just
 21· ·inconsistent reporting from month to month.
 22· · · · · · · So this was a period of time that the
 23· ·contract monitoring director and the contract monitors
 24· ·at the CoreCivic facilities were working in tandem to
 25· ·try to identify best practice in a way to try and


                      Briggs & Associates 615/482-0037
Case 3:22-cv-00093 Document Nashville,
                             37-2 FiledTennessee
                                        05/25/22 Page 89 of 162 PageID #: 3071   YVer1f
BOZA PLEASANT-BEY vs STATE OF TENNESSEE
WALTON, JON on 04/08/2021                                               Page 90
                                                                      Page 90
 ·1· ·improve the reporting standard.· So that, in turn,
 ·2· ·created a delay in the issuance of the NCR.
 ·3· · · · Q.· · Okay, so you're saying that from February
 ·4· ·1st, 2020, through September of 2020, you were not
 ·5· ·submitting monthly staffing noncompliance reports,
 ·6· ·right?
 ·7· · · · A.· · Wrong.· I was submitting them on a monthly
 ·8· ·basis.· My supervisor takes those reports and she
 ·9· ·reviews them.· And again, we were working with the
 10· ·facility for an extended period of time.· And then when
 11· ·she submitted the report in what you see in front of
 12· ·you, that was the amount of time that had lapsed.· So I
 13· ·report out on a monthly basis.
 14· · · · Q.· · I see.
 15· · · · A.· · Yeah.· And then my supervisor is the one that
 16· ·submits these reports formally.
 17· · · · Q.· · So I guess that means we should probably look
 18· ·at who these reports are being submitted to, because I
 19· ·don't think we've covered that.· Is it your
 20· ·understanding that these reports are going to the
 21· ·Trousdale County attorney?
 22· · · · A.· · Yes.
 23· · · · Q.· · And for what purpose?
 24· · · · A.· · Because the Tennessee Department of
 25· ·Corrections is contracted with Trousdale County, who in


                      Briggs & Associates 615/482-0037
Case 3:22-cv-00093 Document Nashville,
                             37-2 FiledTennessee
                                        05/25/22 Page 90 of 162 PageID #: 3072   YVer1f
BOZA PLEASANT-BEY vs STATE OF TENNESSEE
WALTON, JON on 04/08/2021                                               Page 91
                                                                      Page 91
 ·1· ·turn contracts with CoreCivic.
 ·2· · · · Q.· · Well, I guess the question is, are they being
 ·3· ·submitted so that Trousdale County can determine whether
 ·4· ·they're going to assess damages?
 ·5· · · · · · · MR. AUMANN:· Objection to form.· You can go
 ·6· ·ahead.
 ·7· · · · · · · THE WITNESS:· They're being submitted so that
 ·8· ·the contractor can have an opportunity to identify the
 ·9· ·discrepancies that the monitor has observed, provide a
 10· ·defense, which may result in a redaction of that finding
 11· ·or could result in a liquidated damage assessment if the
 12· ·Tennessee Department of Corrections determines that the
 13· ·corrective action plan is not sufficient.
 14· ·BY MS. MAPLES:
 15· · · · Q.· · So it seems like from February 1st of 2020
 16· ·until September 25th of 2020, you all had held off on
 17· ·sending these reports to the Trousdale County attorney
 18· ·because you were trying to work with CoreCivic on their
 19· ·data entry and reporting, right?
 20· · · · A.· · That's correct, yes.
 21· · · · Q.· · So in September of 2020, did you all just
 22· ·give up?
 23· · · · A.· · No, ma'am.
 24· · · · · · · MS. POLLY:· Objection.
 25· · · · · · · THE WITNESS:· We continued.


                      Briggs & Associates 615/482-0037
Case 3:22-cv-00093 Document Nashville,
                             37-2 FiledTennessee
                                        05/25/22 Page 91 of 162 PageID #: 3073   YVer1f
BOZA PLEASANT-BEY vs STATE OF TENNESSEE
WALTON, JON on 04/08/2021                                               Page 92
                                                                      Page 92
 ·1· · · · · · · MR. AUMANN:· Objection to form.
 ·2· ·BY MS. MAPLES:
 ·3· · · · Q.· · You all decided that you would start sending
 ·4· ·them to the attorney again?
 ·5· · · · A.· · No, ma'am.· They've always gone to the
 ·6· ·attorney.
 ·7· · · · Q.· · Well, but they've typically gone to the
 ·8· ·attorney in a more timely fashion, right?
 ·9· · · · A.· · You are correct.
 10· · · · Q.· · Okay, so we've already talked about Staffing
 11· ·Item 2B for February of 2020 that was noncompliant.· If
 12· ·we scroll down, do you see Noncompliant Item 2 is
 13· ·Staffing Monitoring Instrument No. 8?
 14· · · · A.· · Yes.
 15· · · · Q.· · And that's an incomplete and inaccurate
 16· ·reporting noncompliant item again, right?
 17· · · · A.· · Yes.
 18· · · · Q.· · And then Noncompliant Item No. 3 for this
 19· ·month is Staffing Item 9 again, which is vacant
 20· ·positions staying vacant for more than 45 days, right?
 21· · · · A.· · Yes.
 22· · · · Q.· · And you said that the fact that these certain
 23· ·staffing items are designated as essential means that
 24· ·TDOC requires a hundred percent compliance.
 25· · · · A.· · Yes.


                      Briggs & Associates 615/482-0037
Case 3:22-cv-00093 Document Nashville,
                             37-2 FiledTennessee
                                        05/25/22 Page 92 of 162 PageID #: 3074   YVer1f
BOZA PLEASANT-BEY vs STATE OF TENNESSEE
WALTON, JON on 04/08/2021                                               Page 93
                                                                      Page 93
 ·1· · · · Q.· · Is that right?
 ·2· · · · A.· · Yes, ma'am.
 ·3· · · · Q.· · Is it safe to say that on the Staffing Items
 ·4· ·2B and 9, CoreCivic is nowhere close to a hundred
 ·5· ·percent?
 ·6· · · · · · · MR. AUMANN:· Objection, form.
 ·7· ·BY MS. MAPLES:
 ·8· · · · Q.· · You can answer.
 ·9· · · · A.· · Yes, correct.
 10· · · · Q.· · We're going to keep scrolling to the next
 11· ·month, March 2020, also submitted to the attorney on
 12· ·September 25th of 2020.· And the Bates stamp in the top
 13· ·left-hand corner is TDOC 001760.· Do you see that?
 14· · · · A.· · Yes.
 15· · · · Q.· · Do you see that noncompliance Item 1 is again
 16· ·Staffing Item 2B?
 17· · · · A.· · No.
 18· · · · Q.· · Oh, apologies.· Do you see that noncompliance
 19· ·Item 1 is Staffing Item 2B again?
 20· · · · A.· · Yes.
 21· · · · Q.· · And do you see that under noncompliance
 22· ·issues, you have highlighted the words reflective 96
 23· ·critical posts?
 24· · · · A.· · Yes.
 25· · · · Q.· · Why did you highlight that?


                      Briggs & Associates 615/482-0037
Case 3:22-cv-00093 Document Nashville,
                             37-2 FiledTennessee
                                        05/25/22 Page 93 of 162 PageID #: 3075   YVer1f
BOZA PLEASANT-BEY vs STATE OF TENNESSEE
WALTON, JON on 04/08/2021                                               Page 94
                                                                      Page 94
 ·1· · · · · · · MR. AUMANN:· Objection to form.
 ·2· · · · · · · THE WITNESS:· I would have to refer back to
 ·3· ·my notes, but I believe that that was an indication of a
 ·4· ·an uptick.
 ·5· ·BY MS. MAPLES:
 ·6· · · · Q.· · Right, because having 25 days of the month
 ·7· ·which the shift roster's reflected 96 critical posts
 ·8· ·unfilled or left vacant would seem particularly
 ·9· ·egregious, right?
 10· · · · · · · MR. WELBORN:· Objection to form.
 11· · · · · · · MR. AUMANN:· Objection to form.
 12· · · · · · · THE WITNESS:· Based on previous months of
 13· ·reporting, that indicated an increase.
 14· ·BY MS. MAPLES:
 15· · · · Q.· · I'm going to scroll down to the document with
 16· ·the Bates stamp at the top TDOC 001769.· And do you see
 17· ·that noncompliance Item 2, Staffing Item 8, is repeated
 18· ·here?
 19· · · · A.· · Yes, ma'am.
 20· · · · Q.· · And that means the hiring and firing report
 21· ·submitted by the warden was wrong again?
 22· · · · · · · MR. AUMANN:· Objection to form.
 23· · · · · · · THE WITNESS:· Correct.
 24· ·BY MS. MAPLES:
 25· · · · Q.· · If we go to the next page, do you see that


                      Briggs & Associates 615/482-0037
Case 3:22-cv-00093 Document Nashville,
                             37-2 FiledTennessee
                                        05/25/22 Page 94 of 162 PageID #: 3076   YVer1f
BOZA PLEASANT-BEY vs STATE OF TENNESSEE
WALTON, JON on 04/08/2021                                               Page 95
                                                                      Page 95
 ·1· ·noncompliance Item 3 is again Staffing Item 9?
 ·2· · · · A.· · Yes.
 ·3· · · · Q.· · So from March 2020, you've been doing these
 ·4· ·covering a period of six months; is that fair?
 ·5· · · · A.· · Make sure I understood the question.· By
 ·6· ·March the 20th, correct, I had covered an approximate
 ·7· ·six-month period of staffing reports.
 ·8· · · · Q.· · Because just now, we've taken quite a bit of
 ·9· ·time to go through October of 2019 through March of
 10· ·2020, right?
 11· · · · A.· · Yes, ma'am.
 12· · · · Q.· · And is it fair to say that for that entire
 13· ·six-month period, your first six months at Trousdale,
 14· ·CoreCivic was noncompliant on Staffing Item 2B and
 15· ·noncompliant on Staffing Item 9?
 16· · · · A.· · Yes.
 17· · · · Q.· · And during that six month period of time,
 18· ·CoreCivic was also noncompliant on various monitoring
 19· ·instruments concerning complete and accurate reporting;
 20· ·is that fair?
 21· · · · · · · MR. WELBORN:· Object to form.
 22· · · · · · · MR. AUMANN:· Same objection.
 23· · · · · · · THE WITNESS:· Yes.
 24· ·BY MS. MAPLES:
 25· · · · Q.· · And when I say various monitoring instrument


                      Briggs & Associates 615/482-0037
Case 3:22-cv-00093 Document Nashville,
                             37-2 FiledTennessee
                                        05/25/22 Page 95 of 162 PageID #: 3077   YVer1f
BOZA PLEASANT-BEY vs STATE OF TENNESSEE
WALTON, JON on 04/08/2021                                               Page 96
                                                                      Page 96
 ·1· ·items, I'm referring to Numbers 8, 6A and 6B; is that
 ·2· ·fair?
 ·3· · · · A.· · Yes.
 ·4· · · · Q.· · Okay, let's keep going.· Do you see on your
 ·5· ·screen that we're looking at a document with the Bates
 ·6· ·stamp at the top left-hand corner TDOC 001775?
 ·7· · · · A.· · Yes.
 ·8· · · · Q.· · And do you see that this is the staffing
 ·9· ·report for April of 2020?
 10· · · · A.· · Yes.
 11· · · · Q.· · Do you see that 2B is again noncompliant?
 12· · · · A.· · Yes.
 13· · · · Q.· · Now, do you recall that in March of 2020, you
 14· ·highlighted the number of critical posts that were left
 15· ·unfilled, which you characterized as an uptick at a rate
 16· ·of 96?
 17· · · · · · · MR. AUMANN:· Objection to form.
 18· · · · · · · THE WITNESS:· Yes.
 19· ·BY MS. MAPLES:
 20· · · · Q.· · And do you see that here, the very next
 21· ·month, the number is 180?
 22· · · · A.· · Yes.
 23· · · · Q.· · So 96 was an uptick and then the number
 24· ·doubled for the following month?
 25· · · · A.· · Correct.


                      Briggs & Associates 615/482-0037
Case 3:22-cv-00093 Document Nashville,
                             37-2 FiledTennessee
                                        05/25/22 Page 96 of 162 PageID #: 3078   YVer1f
BOZA PLEASANT-BEY vs STATE OF TENNESSEE
WALTON, JON on 04/08/2021                                               Page 97
                                                                      Page 97
 ·1· · · · Q.· · Let's keep scrolling down, TDOC 1789 is this
 ·2· ·report.· Here we go, 1789.· Do you see that non-
 ·3· ·compliance 2 is Staffing Item 9 again?
 ·4· · · · A.· · Yes.
 ·5· · · · Q.· · Now, is that Warden Byrd's first month at
 ·6· ·Trousdale?
 ·7· · · · A.· · I believe that was.
 ·8· · · · Q.· · Did you discuss staffing levels with Warden
 ·9· ·Byrd at Trousdale when he started?
 10· · · · A.· · I can't recall.· We did have a meeting with
 11· ·the warden when he came onboard.· And we discussed a
 12· ·multitude of items that we had documented and seen.· And
 13· ·basically, it was an onboarding for the new warden to
 14· ·discuss what his expectations were of us and what we
 15· ·expected of the contract as the new person in command.
 16· ·But to speak towards specifically to staffing, I'm sure
 17· ·that that was mentioned, but I cannot swear that that
 18· ·was something that was covered exclusively.
 19· · · · Q.· · Well, do you think you discussed with him the
 20· ·fact that CoreCivic's reporting of staffing issues had
 21· ·been a long-standing problem?
 22· · · · · · · MR. AUMANN:· Objection to form.
 23· · · · · · · THE WITNESS:· I'm sure we did, but I don't
 24· ·recall.
 25· ·BY MS. MAPLES:


                      Briggs & Associates 615/482-0037
Case 3:22-cv-00093 Document Nashville,
                             37-2 FiledTennessee
                                        05/25/22 Page 97 of 162 PageID #: 3079   YVer1f
BOZA PLEASANT-BEY vs STATE OF TENNESSEE
WALTON, JON on 04/08/2021                                               Page 98
                                                                      Page 98
 ·1· · · · Q.· · So I'm prepared to continue going all of the
 ·2· ·way through all of the rest of these reports, you know,
 ·3· ·to the extent that I have them.· But is it fair to say
 ·4· ·that CoreCivic has never been in compliance with
 ·5· ·Staffing Item 2B?
 ·6· · · · · · · MR. AUMANN:· Objection to form.
 ·7· · · · · · · MR. WELBORN:· Same objection.
 ·8· ·BY MS. MAPLES:
 ·9· · · · Q.· · Since you've been at the facility?
 10· · · · A.· · That would be fair, yes.
 11· · · · Q.· · Is it fair to say that CoreCivic has never
 12· ·been in compliance with Staffing Item 9 since you have
 13· ·been at CoreCivic?
 14· · · · · · · MR. AUMANN:· Objection to form.
 15· · · · · · · THE WITNESS:· Yes.
 16· · · · · · · MS. MAPLES:· Do you all want to take a break?
 17· · · · · · · THE WITNESS:· Sure, I could use one.
 18· · · · · · · MS. MAPLES:· Yeah, since we've been going
 19· ·over an hour.
 20· · · · · · · MR. WELBORN:· I need to take a break from
 21· ·noon to 12:30.· Janna, do you have any feel for how much
 22· ·more time you've got?· I'm not trying to limit you.
 23· · · · · · · MS. MAPLES:· No, you're fine.· Let's take
 24· ·five and then when I come back I think I will be able to
 25· ·give you a good answer.· I mean, noon to 12:30 would be


                      Briggs & Associates 615/482-0037
Case 3:22-cv-00093 Document Nashville,
                             37-2 FiledTennessee
                                        05/25/22 Page 98 of 162 PageID #: 3080   YVer1f
BOZA PLEASANT-BEY vs STATE OF TENNESSEE
WALTON, JON on 04/08/2021                                               Page 99
                                                                      Page 99
 ·1· ·fine, we could just take a lunch then.· That's no
 ·2· ·problem with me.· Let's take a break for five.
 ·3· · · · · · · (Recess observed.)
 ·4· ·BY MS. MAPLES:
 ·5· · · · Q.· · Mr. Walton, I'm going to return just briefly
 ·6· ·to the series of documents that we've been looking at.
 ·7· · · · A.· · Okay.
 ·8· · · · Q.· · Do you see here that we are back on the April
 ·9· ·2020 noncompliance report concerning staffing?
 10· · · · A.· · Yes.
 11· · · · Q.· · And have we previously discussed that in the
 12· ·section providing CoreCivic's response and plan of
 13· ·corrective action concerning the noncompliance report,
 14· ·CoreCivic has previously noted the number of hours of
 15· ·overtime worked?
 16· · · · A.· · Yes.
 17· · · · Q.· · And would you also agree that they have noted
 18· ·the amounts that they have paid to cover that overtime?
 19· · · · A.· · Yes.
 20· · · · Q.· · Do you see that if we go down to the page
 21· ·that is Bates stamped TDOC 001792, for April 2020, it
 22· ·states that the facility authorized 6,957.25 hours of
 23· ·overtime for a total cost of $179,705.77?
 24· · · · A.· · Yes.
 25· · · · Q.· · So almost $180,000 spent on overtime in April


                      Briggs & Associates 615/482-0037
Case 3:22-cv-00093 Document Nashville,
                             37-2 FiledTennessee
                                        05/25/22 Page 99 of 162 PageID #: 3081   YVer1f
BOZA PLEASANT-BEY vs STATE OF TENNESSEE
WALTON, JON on 04/08/2021                                               Page 100
                                                                       Page 100
 ·1· ·of 2020?
 ·2· · · · A.· · Yes.
 ·3· · · · Q.· · At Trousdale, is overtime sometimes used to
 ·4· ·cover those vacant, unfilled positions?
 ·5· · · · A.· · Yes.
 ·6· · · · Q.· · If we scroll back up for the same report to
 ·7· ·TDOC 001789 and we look at Noncompliance Item 2,
 ·8· ·Staffing Item 9, do you see that in your description of
 ·9· ·noncompliant issue, you write:· At the conclusion of the
 10· ·month of April, there were a total of 118 vacant
 11· ·positions at Trousdale, 81 of those positions exceeded
 12· ·45 days?
 13· · · · A.· · I do.
 14· · · · Q.· · Now, the overtime is costing $180,000 and
 15· ·there are 118 vacant positions.· Could CoreCivic fill
 16· ·118 vacant positions with $180,000?
 17· · · · · · · MR. AUMANN:· Objection to form.
 18· · · · · · · MR. WELBORN:· Object to the form.
 19· · · · · · · THE WITNESS:· I'm not sure.· I don't know.
 20· ·BY MS. MAPLES:
 21· · · · Q.· · Well, guess.· I mean, could you pay 118
 22· ·people at the facility for $180,000?
 23· · · · · · · MR. AUMANN:· Objection to form.
 24· · · · · · · MR. WELBORN:· Same objection.
 25· · · · · · · THE WITNESS:· I have no clue.


                       Briggs & Associates 615/482-0037
                             Nashville,
Case 3:22-cv-00093 Document 37-2   FiledTennessee
                                         05/25/22 Page 100 of 162 PageID #: 3082  YVer1f
BOZA PLEASANT-BEY vs STATE OF TENNESSEE
WALTON, JON on 04/08/2021                                               Page 101
                                                                       Page 101
 ·1· ·BY MS. MAPLES:
 ·2· · · · Q.· · You really don't have a clue at all?
 ·3· · · · A.· · No, ma'am.
 ·4· · · · · · · MR. AUMANN:· Objection to form.
 ·5· · · · · · · THE WITNESS:· You have to take salary into
 ·6· ·consideration and that's outside the scope of my duties.
 ·7· ·BY MS. MAPLES:
 ·8· · · · Q.· · Well, I mean, let's say we've got -- well,
 ·9· ·how much do you make?
 10· · · · A.· · How much do I make?
 11· · · · Q.· · Yeah.
 12· · · · · · · MR. AUMANN:· Objection to form.
 13· · · · · · · THE WITNESS:· You want my annual or my
 14· ·hourly?
 15· · · · · · · MS. MAPLES:· Annual.
 16· · · · · · · THE WITNESS:· $53,200, I believe.· Not a lot.
 17· ·BY MS. MAPLES:
 18· · · · Q.· · Do you think it's cheaper for CoreCivic to
 19· ·pay overtime than to hire people to fill vacant
 20· ·positions?
 21· · · · · · · MR. AUMANN:· Objection to form.
 22· · · · · · · MR. WELBORN:· Object to the form.
 23· · · · · · · THE WITNESS:· Do I think it's cheaper?
 24· · · · · · · MS. MAPLES:· Yes.
 25· · · · · · · THE WITNESS:· I'm going to say no, in my


                       Briggs & Associates 615/482-0037
                             Nashville,
Case 3:22-cv-00093 Document 37-2   FiledTennessee
                                         05/25/22 Page 101 of 162 PageID #: 3083  YVer1f
BOZA PLEASANT-BEY vs STATE OF TENNESSEE
WALTON, JON on 04/08/2021                                               Page 102
                                                                       Page 102
 ·1· ·opinion.· I don't think paying overtime would be
 ·2· ·cheaper, no.
 ·3· ·BY MS. MAPLES:
 ·4· · · · Q.· · What is that based on, because you just said
 ·5· ·you didn't know anything about salary?
 ·6· · · · A.· · Well, you wanted my opinion.
 ·7· · · · Q.· · Okay, well, what is it based on?
 ·8· · · · A.· · That's just my opinion.· I'm sorry?
 ·9· · · · Q.· · What is it based on?
 10· · · · A.· · Well, if you look at working somebody
 11· ·overtime to fill a vacant position, then you're not
 12· ·meeting the contractual obligation set forth by the
 13· ·contract.· So I think, in my opinion, any time that you
 14· ·are not showing compliance with your customer, that is
 15· ·more costly.· So I don't think that you would be coming
 16· ·out ahead by paying overtime because you are not
 17· ·compliant with your customer's expectation.· Just my
 18· ·opinion.
 19· · · · Q.· · And there's the liquidated damages?
 20· · · · A.· · Yes.
 21· · · · · · · MS. MAPLES:· I am going to put another
 22· ·document on the screen.· And I am also going to drop
 23· ·that into the chat feature.
 24· · · · · · · (Exhibit 6 was marked.)
 25· ·BY MS. MAPLES:


                       Briggs & Associates 615/482-0037
                             Nashville,
Case 3:22-cv-00093 Document 37-2   FiledTennessee
                                         05/25/22 Page 102 of 162 PageID #: 3084  YVer1f
BOZA PLEASANT-BEY vs STATE OF TENNESSEE
WALTON, JON on 04/08/2021                                               Page 103
                                                                       Page 103
 ·1· · · · Q.· · Mr. Byrd, do you see that in front of you is
 ·2· ·a document with the Bates stamp -- excuse me, strike
 ·3· ·that.· Mr. Walton, do you see that in front of you is a
 ·4· ·document with the Bates stamp TDOC 003537?
 ·5· · · · A.· · Yes.
 ·6· · · · Q.· · And it's dated August 3rd of 2020 with the
 ·7· ·subject TTCC compliance audit final summary.· Do you see
 ·8· ·that?
 ·9· · · · A.· · Yes.
 10· · · · Q.· · Now, I see that you didn't author this
 11· ·document; is that right?
 12· · · · A.· · Correct.
 13· · · · Q.· · Are you familiar with compliance audits at
 14· ·Trousdale?
 15· · · · A.· · Yes.
 16· · · · Q.· · And in what way are you familiar with them?
 17· · · · A.· · A lot of the audit items bleed over into what
 18· ·we monitor on a quarterly and a biannual period.· I'm
 19· ·also familiar from having tenure with the department of
 20· ·corrections to know what their expectations are.
 21· · · · Q.· · Okay.· And are you familiar with this
 22· ·particular compliance audit that is going to be an
 23· ·exhibit to your deposition?
 24· · · · A.· · No, ma'am.· I'm not.
 25· · · · Q.· · Is it your understanding that Trousdale has


                       Briggs & Associates 615/482-0037
                             Nashville,
Case 3:22-cv-00093 Document 37-2   FiledTennessee
                                         05/25/22 Page 103 of 162 PageID #: 3085  YVer1f
BOZA PLEASANT-BEY vs STATE OF TENNESSEE
WALTON, JON on 04/08/2021                                               Page 104
                                                                       Page 104
 ·1· ·been meeting TDOC's expectations as they are monitored
 ·2· ·in these compliance audits?
 ·3· · · · · · · MR. AUMANN:· Objection to form.
 ·4· · · · · · · THE WITNESS:· I'd have to defer back to the
 ·5· ·NCR reports.· Other than what is documented in the NCR
 ·6· ·reports, I would say that they are meeting the
 ·7· ·expectation of the department.
 ·8· ·BY MS. MAPLES:
 ·9· · · · Q.· · Other than the noncompliance report?
 10· · · · A.· · Correct, that's what I -- yeah.· I thought I
 11· ·had said that.· Other than what's documented in the
 12· ·noncompliance reports, I would say that CoreCivic is
 13· ·meeting the expectations of the department.
 14· · · · Q.· · Well, I mean, that sounds a little bit
 15· ·circular.· I guess what I'm trying to figure out is what
 16· ·is your understanding of whether CoreCivic is meeting
 17· ·TDOC's expectations at Trousdale in the aggregate, not
 18· ·on an itemized list?
 19· · · · · · · MR. AUMANN:· Objection to form.
 20· · · · · · · MR. WELBORN:· Object to the form.
 21· · · · · · · THE WITNESS:· I'm going to say that's
 22· ·probably not my position to speak on behalf of the
 23· ·department.· You know, my position at this facility is
 24· ·to document any noncompliance findings.· It's obvious
 25· ·that there are some areas that need improvement based on


                       Briggs & Associates 615/482-0037
                             Nashville,
Case 3:22-cv-00093 Document 37-2   FiledTennessee
                                         05/25/22 Page 104 of 162 PageID #: 3086  YVer1f
BOZA PLEASANT-BEY vs STATE OF TENNESSEE
WALTON, JON on 04/08/2021                                               Page 105
                                                                       Page 105
 ·1· ·the noncompliance reports that we've reviewed.· And
 ·2· ·that's all that I feel that I've got the authority to
 ·3· ·speak on.
 ·4· ·BY MS. MAPLES:
 ·5· · · · Q.· · Well, so you're not here to speak on what you
 ·6· ·think is within your authority, you are here to speak on
 ·7· ·what you have knowledge of.· So I guess what I'm asking
 ·8· ·is do you have any knowledge of what the department's
 ·9· ·position is?
 10· · · · A.· · No, I don't.
 11· · · · Q.· · Who is John Fisher?
 12· · · · A.· · He is the correctional administrator.
 13· · · · Q.· · What does he do?
 14· · · · A.· · He oversees all of the CoreCivic facilities
 15· ·from an operations side of the house.
 16· · · · Q.· · We've used that term a number of times,
 17· ·operations.· What does that mean in the corrections
 18· ·context?
 19· · · · A.· · Operations is the physical day-to-day
 20· ·activity of each facility.· So if we're looking at the
 21· ·operations, we're looking at everything from how things
 22· ·are done to implementation.· I guess in layman's terms
 23· ·it would just be day-to-day activity.
 24· · · · Q.· · Would the contract monitor of operations
 25· ·spend more time walking around the facility and


                       Briggs & Associates 615/482-0037
                             Nashville,
Case 3:22-cv-00093 Document 37-2   FiledTennessee
                                         05/25/22 Page 105 of 162 PageID #: 3087  YVer1f
BOZA PLEASANT-BEY vs STATE OF TENNESSEE
WALTON, JON on 04/08/2021                                               Page 106
                                                                       Page 106
 ·1· ·interacting with inmates than you do as contract monitor
 ·2· ·of compliance?
 ·3· · · · A.· · Routinely, I would say yes.
 ·4· · · · Q.· · You mentioned that these audits sometimes
 ·5· ·spill over into areas that you cover in your
 ·6· ·noncompliance report, right?
 ·7· · · · A.· · Yes, ma'am.
 ·8· · · · Q.· · Is one of those areas the grievance process?
 ·9· · · · A.· · Yes, ma'am.
 10· · · · Q.· · And do you see if we keep scrolling here,
 11· ·that this compliance audit indicated a problem with
 12· ·grievances?
 13· · · · A.· · Yes.
 14· · · · Q.· · And do you see underneath Item 5 concerning
 15· ·grievances in this document, there is a corrective
 16· ·action plan?
 17· · · · A.· · Yes, ma'am.
 18· · · · Q.· · Can you describe in a little bit more detail
 19· ·what your role is concerning corrective action plans of
 20· ·the facility?
 21· · · · A.· · My role in corrective action plan is to
 22· ·document and review.
 23· · · · Q.· · So you don't suggest any particular course of
 24· ·action?
 25· · · · A.· · No, not in the corrective action plan.


                       Briggs & Associates 615/482-0037
                             Nashville,
Case 3:22-cv-00093 Document 37-2   FiledTennessee
                                         05/25/22 Page 106 of 162 PageID #: 3088  YVer1f
BOZA PLEASANT-BEY vs STATE OF TENNESSEE
WALTON, JON on 04/08/2021                                               Page 107
                                                                       Page 107
 ·1· · · · Q.· · You don't conduct meetings with the relevant
 ·2· ·CoreCivic staff to check in and see how those corrective
 ·3· ·action plans are proceeding?
 ·4· · · · A.· · No, ma'am, I do not.
 ·5· · · · Q.· · Is that something that you would be permitted
 ·6· ·to do if you chose to do it?
 ·7· · · · A.· · Probably not.
 ·8· · · · Q.· · Why not?
 ·9· · · · A.· · My position at the facility is to identify
 10· ·and document the error, not correct the error on behalf
 11· ·of the contractor.
 12· · · · Q.· · Why not?· Is that in your job description
 13· ·that you can't do anything else?
 14· · · · A.· · No, ma'am, it's not.· It's just not in my job
 15· ·description to do it.· You know, ultimately -- and I may
 16· ·be speaking out of turn and I apologize.· You know, the
 17· ·Tennessee Department of Corrections has contracted with
 18· ·a company to provide a service.· The expectation is that
 19· ·they will provide that service.· If I do anything that
 20· ·interferes with that action, then I could be held
 21· ·liable.
 22· · · · · · · MS. MAPLES:· I'm going to put another
 23· ·document on your screen.· Mr. Walton, again, this is a
 24· ·collective exhibit which I'll represent to you contains
 25· ·three different quarterly audits of some kind.


                       Briggs & Associates 615/482-0037
                             Nashville,
Case 3:22-cv-00093 Document 37-2   FiledTennessee
                                         05/25/22 Page 107 of 162 PageID #: 3089  YVer1f
BOZA PLEASANT-BEY vs STATE OF TENNESSEE
WALTON, JON on 04/08/2021                                               Page 108
                                                                       Page 108
 ·1· · · · · · · (Exhibit 7 was marked.)
 ·2· ·BY MS. MAPLES:
 ·3· · · · Q.· · I am going to let you describe what kind
 ·4· ·we're talking about.· Do you see that the first document
 ·5· ·is Bates stamped TDOC 003709?
 ·6· · · · A.· · Yes, ma'am.
 ·7· · · · Q.· · What is this document that we're looking at?
 ·8· · · · A.· · That is a noncompliance report of formal
 ·9· ·findings on behalf of the clinical services audit.
 10· · · · Q.· · Okay, explain what a clinic services audit
 11· ·is.
 12· · · · A.· · A group of clinicians will come on site and
 13· ·they will do, within a specified amount of time, to
 14· ·review the facility on their clinical standards and
 15· ·outcomes what I would do on a day-to-day basis.· But the
 16· ·only thing that they look at are inmate health charts
 17· ·and documents that surround the clinical services
 18· ·provided at the facility.
 19· · · · Q.· · So this is dated February 12th of 2020 and it
 20· ·seems to be covering the third quarter of 2019; is that
 21· ·right?
 22· · · · A.· · Yes, ma'am.
 23· · · · Q.· · So this is the first one that you were a part
 24· ·of or involved in after you arrived at Trousdale?
 25· · · · A.· · Yes, ma'am.


                       Briggs & Associates 615/482-0037
                             Nashville,
Case 3:22-cv-00093 Document 37-2   FiledTennessee
                                         05/25/22 Page 108 of 162 PageID #: 3090  YVer1f
BOZA PLEASANT-BEY vs STATE OF TENNESSEE
WALTON, JON on 04/08/2021                                               Page 109
                                                                       Page 109
 ·1· · · · Q.· · And this is a noncompliance report, so is it
 ·2· ·fair to say Trousdale was found to be noncompliant
 ·3· ·concerning its clinical services?
 ·4· · · · A.· · Yes, ma'am.
 ·5· · · · · · · MR. AUMANN:· Objection to form.
 ·6· · · · · · · MR. WELBORN:· Same objection.
 ·7· ·BY MS. MAPLES:
 ·8· · · · Q.· · Are some of the noncompliance items within
 ·9· ·this audit report for the third quarter of 2019
 10· ·essential items?
 11· · · · A.· · I would have to review the NCR to identify
 12· ·that.
 13· · · · Q.· · Okay, well, let's scroll down.· Do you see
 14· ·that noncompliance Item 1 is Behavioral Health Item 6
 15· ·and it's noted as essential?
 16· · · · A.· · Yes, ma'am.
 17· · · · Q.· · Do you see that Noncompliant Item 2 is
 18· ·Behavioral Health Item 7 and it's also indicated as
 19· ·essential?
 20· · · · A.· · Yes, ma'am.
 21· · · · Q.· · And do you see that Noncompliant Item 3 is
 22· ·also -- or it's Behavioral Health Item 8 and is also
 23· ·listed as essential?
 24· · · · A.· · Yes, ma'am.
 25· · · · Q.· · Let's scroll down to the page Bates stamped


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                             Nashville,
Case 3:22-cv-00093 Document 37-2   FiledTennessee
                                         05/25/22 Page 109 of 162 PageID #: 3091  YVer1f
BOZA PLEASANT-BEY vs STATE OF TENNESSEE
WALTON, JON on 04/08/2021                                               Page 110
                                                                       Page 110
 ·1· ·TDOC 003793, which is dated October 22nd, 2020.· Do you
 ·2· ·see this?
 ·3· · · · A.· · Yes.
 ·4· · · · Q.· · Does this cover the first quarter of 2020?
 ·5· · · · A.· · Yes.
 ·6· · · · Q.· · And so this is the second time period -- or
 ·7· ·is this the third time period -- excuse me, third time
 ·8· ·period you're monitoring as contract monitor?
 ·9· · · · A.· · At the time of this NCR, is that the
 10· ·question?
 11· · · · Q.· · Yes.
 12· · · · A.· · I think it would be the second.
 13· · · · Q.· · Okay, so there wasn't a fourth quarter of
 14· ·2019 done?
 15· · · · A.· · Not that we reviewed at this point that I
 16· ·recall having seen.
 17· · · · Q.· · So this is the second one, then?
 18· · · · A.· · Yeah.
 19· · · · Q.· · And again, is it fair to say that CoreCivic
 20· ·was noncompliant?
 21· · · · · · · MR. AUMANN:· Objection to form.
 22· · · · · · · THE WITNESS:· Yes.
 23· ·BY MS. MAPLES:
 24· · · · Q.· · And if we scroll down, is it fair to say that
 25· ·CoreCivic was noncompliant on clinical services


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                             Nashville,
Case 3:22-cv-00093 Document 37-2   FiledTennessee
                                         05/25/22 Page 110 of 162 PageID #: 3092  YVer1f
BOZA PLEASANT-BEY vs STATE OF TENNESSEE
WALTON, JON on 04/08/2021                                               Page 111
                                                                       Page 111
 ·1· ·considered essential?
 ·2· · · · A.· · I'm sorry, you broke up.
 ·3· · · · Q.· · If we look at Noncompliance Item 1 covering
 ·4· ·Behavioral Health Item 7, do you see that it's
 ·5· ·designated as essential?
 ·6· · · · A.· · Yes.
 ·7· · · · Q.· · And do you see the same thing is true of
 ·8· ·Noncompliant Item 2 covering Behavioral Health Item No.
 ·9· ·9?
 10· · · · A.· · Yes.
 11· · · · Q.· · Do you see that Noncompliant Item 3
 12· ·concerning Behavioral Health Item 12 is also considered
 13· ·essential?
 14· · · · A.· · Yes.
 15· · · · Q.· · Do you see that the next document in this
 16· ·collective exhibit has a Bates stamp at the top listed
 17· ·as TDOC 003825?
 18· · · · A.· · Yes.
 19· · · · Q.· · Do you see that it's dated February 2nd of
 20· ·2021?
 21· · · · A.· · Yes.
 22· · · · Q.· · And if we look at audit scope, it seems to
 23· ·cover the second and third quarters of 2020; is that
 24· ·right?
 25· · · · A.· · Yes.


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                             Nashville,
Case 3:22-cv-00093 Document 37-2   FiledTennessee
                                         05/25/22 Page 111 of 162 PageID #: 3093  YVer1f
BOZA PLEASANT-BEY vs STATE OF TENNESSEE
WALTON, JON on 04/08/2021                                               Page 112
                                                                       Page 112
 ·1· · · · Q.· · And this is the third noncompliance audit
 ·2· ·you've handled concerning clinic services?
 ·3· · · · · · · MR. AUMANN:· Objection to form.
 ·4· · · · · · · THE WITNESS:· Yes.
 ·5· ·BY MS. MAPLES:
 ·6· · · · Q.· · And again, CoreCivic is noncompliant?
 ·7· · · · · · · MR. AUMANN:· Same objection, form.
 ·8· · · · · · · THE WITNESS:· Yes.
 ·9· ·BY MS. MAPLES:
 10· · · · Q.· · And if we go down to Compliance No. 1
 11· ·covering Behavioral Health Item 7, that's an essential
 12· ·item?
 13· · · · A.· · Yes.
 14· · · · Q.· · And noncompliance Item 2, Behavioral Health
 15· ·Item No. 8 is also essential and noncompliant?
 16· · · · A.· · Yes.
 17· · · · Q.· · Are these the only three clinical services
 18· ·noncompliant reports you have been a part of since
 19· ·November of 2019?
 20· · · · A.· · To my knowledge.
 21· · · · Q.· · Is it fair to say that for the entire period
 22· ·that you've been at Trousdale, CoreCivic has not been in
 23· ·compliance with its clinical services requirement?
 24· · · · · · · MR. AUMANN:· Objection to form.
 25· · · · · · · MR. WELBORN:· Same objection.


                       Briggs & Associates 615/482-0037
                             Nashville,
Case 3:22-cv-00093 Document 37-2   FiledTennessee
                                         05/25/22 Page 112 of 162 PageID #: 3094  YVer1f
BOZA PLEASANT-BEY vs STATE OF TENNESSEE
WALTON, JON on 04/08/2021                                               Page 113
                                                                       Page 113
 ·1· · · · · · · THE WITNESS:· I really can't say.· There are
 ·2· ·some areas where they are noncompliant, but to say that
 ·3· ·they're noncompliant as a department, I can't agree to
 ·4· ·that.
 ·5· ·BY MS. MAPLES:
 ·6· · · · Q.· · Well, Mr. Walton, you testified that the
 ·7· ·definition of an essential requirement is that you have
 ·8· ·to be either 100 percent compliant or you're not
 ·9· ·compliant, right?
 10· · · · A.· · For an essential finding.· So if we look at
 11· ·that on a item-by-item basis, Item 8, yeah, they failed
 12· ·that Item 8 standard, but that doesn't mean they failed
 13· ·every standard there was.
 14· · · · Q.· · Okay, well, is it fair to say that for the
 15· ·entire time you've been an employee with an office
 16· ·located at Trousdale, CoreCivic has failed multiple
 17· ·essential requirements concerning clinical services?
 18· · · · A.· · That would be fair, yes.
 19· · · · · · · MS. MAPLES:· I'm going to put another
 20· ·document in the chat as well.
 21· · · · · · · (Exhibit 8 was marked.)
 22· ·BY MS. MAPLES:
 23· · · · Q.· · Mr. Walton, I will represent to you that this
 24· ·is another collection of similar reports beginning with
 25· ·the Bates stamp TDOC 002260.· Do you see that?


                       Briggs & Associates 615/482-0037
                             Nashville,
Case 3:22-cv-00093 Document 37-2   FiledTennessee
                                         05/25/22 Page 113 of 162 PageID #: 3095  YVer1f
BOZA PLEASANT-BEY vs STATE OF TENNESSEE
WALTON, JON on 04/08/2021                                               Page 114
                                                                       Page 114
 ·1· · · · A.· · I do.
 ·2· · · · Q.· · Do you see that the first report here is
 ·3· ·dated December 31st of 2019?
 ·4· · · · A.· · Yes.
 ·5· · · · Q.· · And what is this document?
 ·6· · · · A.· · It's a noncompliance report for failure to
 ·7· ·meet the records and report standard.
 ·8· · · · Q.· · Now, what does it mean by records and report?
 ·9· · · · A.· · Records and report is a monitoring instrument
 10· ·that the contract monitor utilizes to determine whether
 11· ·or not the contractor is compliant based on the
 12· ·standards set forth in the instrument.
 13· · · · Q.· · And how often do you evaluate CoreCivic using
 14· ·the records and reports monitoring instrument?
 15· · · · A.· · Biannually.
 16· · · · Q.· · And is this first report here dated December
 17· ·31st, 2019, the first one you handled at CoreCivic?
 18· · · · A.· · Yes.
 19· · · · Q.· · And do you see that Noncompliant Item 1 is
 20· ·Records and Reports Item 9?
 21· · · · A.· · Yes.
 22· · · · Q.· · Do you see that, again, CoreCivic has not
 23· ·submitted complete and accurate reports?
 24· · · · · · · MR. AUMANN:· Objection to form.
 25· · · · · · · MR. WELBORN:· Same objection.


                       Briggs & Associates 615/482-0037
                             Nashville,
Case 3:22-cv-00093 Document 37-2   FiledTennessee
                                         05/25/22 Page 114 of 162 PageID #: 3096  YVer1f
BOZA PLEASANT-BEY vs STATE OF TENNESSEE
WALTON, JON on 04/08/2021                                               Page 115
                                                                       Page 115
 ·1· · · · · · · THE WITNESS:· Yes.
 ·2· ·BY MS. MAPLES:
 ·3· · · · Q.· · Do you see that there is a second
 ·4· ·noncompliant item, Records and Reports Item 5?
 ·5· · · · A.· · Yes.
 ·6· · · · Q.· · And does this state that CoreCivic has not
 ·7· ·provided monthly staffing reports as required again?
 ·8· · · · · · · MR. WELBORN:· Object to the form.
 ·9· · · · · · · MR. AUMANN:· Same objection.
 10· · · · · · · THE WITNESS:· At the time of this report,
 11· ·this noncompliance report documented that the staffing
 12· ·reports received were not accurate.· It was not that
 13· ·they had not provided a staffing report, but they had
 14· ·not provided accurate staffing reports.
 15· ·BY MS. MAPLES:
 16· · · · Q.· · Okay, so they submitted something, it just
 17· ·was wrong?
 18· · · · A.· · Yes, ma'am, and that --
 19· · · · · · · MR. AUMANN:· Objection to form.
 20· ·BY MS. MAPLES:
 21· · · · Q.· · Go ahead.
 22· · · · A.· · And that's what the bullets detail below.
 23· · · · Q.· · Do you see the next document with the Bates
 24· ·stamp TDOC 001405 is dated February 13th of 2020?
 25· · · · A.· · Yes.


                       Briggs & Associates 615/482-0037
                             Nashville,
Case 3:22-cv-00093 Document 37-2   FiledTennessee
                                         05/25/22 Page 115 of 162 PageID #: 3097  YVer1f
BOZA PLEASANT-BEY vs STATE OF TENNESSEE
WALTON, JON on 04/08/2021                                               Page 116
                                                                       Page 116
 ·1· · · · Q.· · Do you see that it covers the audit period
 ·2· ·from January through March of 2020?
 ·3· · · · A.· · Yes.
 ·4· · · · Q.· · Do you see that, again, there are
 ·5· ·noncompliance items concerning records and reports?
 ·6· · · · A.· · Yes.
 ·7· · · · Q.· · We can continue going through all of these,
 ·8· ·but is it fair to say that during every biannual review
 ·9· ·you conducted, CoreCivic has in some way had some
 10· ·noncompliance concerning records and reports?
 11· · · · A.· · I'm going to say no.
 12· · · · Q.· · No.· Which time period were they not?
 13· · · · A.· · What time period are we talking about?
 14· · · · Q.· · The time period you've been at CoreCivic --
 15· ·or excuse me, the time period you've been at Trousdale.
 16· ·Mr. Walton, are you still with me?
 17· · · · A.· · I am.· I'm going -- I'm looking.
 18· · · · Q.· · Okay, what are you checking?
 19· · · · A.· · The noncompliance that were issued to
 20· ·CoreCivic.· There were noncompliances issued on 10 -- go
 21· ·ahead.
 22· · · · Q.· · Well, I mean, when you say you're looking at
 23· ·it, do you have that in some kind of spreadsheet on your
 24· ·computer?
 25· · · · A.· · I don't.· I've got the e-mail saved where we


                       Briggs & Associates 615/482-0037
                             Nashville,
Case 3:22-cv-00093 Document 37-2   FiledTennessee
                                         05/25/22 Page 116 of 162 PageID #: 3098  YVer1f
BOZA PLEASANT-BEY vs STATE OF TENNESSEE
WALTON, JON on 04/08/2021                                               Page 117
                                                                       Page 117
 ·1· ·send the noncompliance reports to the contractor.
 ·2· · · · Q.· · You've got those all saved on your computer
 ·3· ·and you're looking at them now?
 ·4· · · · A.· · Yes, ma'am.
 ·5· · · · · · · MS. MAPLES:· Can we make those a late-filed
 ·6· ·exhibit to the deposition if you could get those to us?
 ·7· · · · · · · THE WITNESS:· Okay.
 ·8· · · · · · · (Exhibit 9 was marked late-filed.)
 ·9· · · · · · · (Off-the-record discussion.)
 10· ·BY MS. MAPLES:
 11· · · · Q.· · Okay, Mr. Walton --
 12· · · · A.· · It appears I was wrong.· That has been a
 13· ·finding every quarter.· The records and reports has had
 14· ·a finding every quarter.
 15· · · · Q.· · And when you say a finding, you mean a
 16· ·finding of noncompliance concerning records and reports?
 17· · · · A.· · Yes.
 18· · · · · · · MS. MAPLES:· Okay, that's all.
 19· · · · · · · MR. WELBORN:· 12:30?
 20· · · · · · · MS. MAPLES:· 12:30.
 21· · · · · · · (Luncheon recess observed.)
 22· ·BY MS. MAPLES:
 23· · · · Q.· · Mr. Walton, I'm going to put another document
 24· ·on your screen.
 25· · · · A.· · Okay.


                       Briggs & Associates 615/482-0037
                             Nashville,
Case 3:22-cv-00093 Document 37-2   FiledTennessee
                                         05/25/22 Page 117 of 162 PageID #: 3099  YVer1f
BOZA PLEASANT-BEY vs STATE OF TENNESSEE
WALTON, JON on 04/08/2021                                               Page 118
                                                                       Page 118
 ·1· · · · Q.· · Do you see that this is a TDOC policy given
 ·2· ·the No. 205.03?
 ·3· · · · · · · MR. AUMANN:· Janna, you've got like a screen
 ·4· ·of your files.
 ·5· · · · · · · MS. MAPLES:· Okay.· Well, then, give me just
 ·6· ·a second.
 ·7· ·BY MS. MAPLES:
 ·8· · · · Q.· · Mr. Walton, do I have the right thing now?
 ·9· · · · A.· · You do, yes.
 10· · · · Q.· · Okay, so do you see in front of you a TDOC
 11· ·policy with the No. 205.03?
 12· · · · A.· · Yes, ma'am.
 13· · · · Q.· · And do you see that the subject of the policy
 14· ·is contract monitoring of privately managed facilities?
 15· · · · A.· · Yes, ma'am.
 16· · · · Q.· · And what does this policy describe?
 17· · · · A.· · It's a broad overview of what the contract
 18· ·monitor's role is.
 19· · · · Q.· · And if we look at section Roman numeral 4E,
 20· ·it says:· Contract monitoring instrument; a document
 21· ·used by designated TDOC and staff to measure, evaluate
 22· ·and document contractor performance and compliance with
 23· ·the terms of designated contracts.
 24· · · · A.· · Yes.
 25· · · · Q.· · And contract monitoring instrument, is that


                       Briggs & Associates 615/482-0037
                             Nashville,
Case 3:22-cv-00093 Document 37-2   FiledTennessee
                                         05/25/22 Page 118 of 162 PageID #: 3100  YVer1f
BOZA PLEASANT-BEY vs STATE OF TENNESSEE
WALTON, JON on 04/08/2021                                               Page 119
                                                                       Page 119
 ·1· ·what we've been looking at in your noncompliance report?
 ·2· · · · A.· · That's the end result.· The noncompliance
 ·3· ·report is the end result.· The instrument is what I was
 ·4· ·looking at on the wall to say what we review on a
 ·5· ·quarterly and a biannual basis.
 ·6· · · · Q.· · So every time something said monitoring
 ·7· ·instrument Staffing 9, that's what they're referring to,
 ·8· ·a contract monitoring instrument as defined in Roman
 ·9· ·numeral 4E?
 10· · · · A.· · Correct.
 11· · · · Q.· · And 4F states:· Essential instrument items.
 12· ·Actions or responsibilities of contractors indicated on
 13· ·the contract monitoring instruments that have been
 14· ·determined to require 100 percent compliance.· Do you
 15· ·see that?
 16· · · · A.· · Yes.
 17· · · · Q.· · And is that referring to the certain
 18· ·essential items we've been discussing throughout your
 19· ·deposition, like contract monitoring instrument Staffing
 20· ·2B or Staffing 9?
 21· · · · A.· · Yes.
 22· · · · Q.· · Do you see Section 4J describes summary of
 23· ·noncompliance report slash liquidated damage events, in
 24· ·parenthesis SNR?
 25· · · · A.· · Yes, ma'am.


                       Briggs & Associates 615/482-0037
                             Nashville,
Case 3:22-cv-00093 Document 37-2   FiledTennessee
                                         05/25/22 Page 119 of 162 PageID #: 3101  YVer1f
BOZA PLEASANT-BEY vs STATE OF TENNESSEE
WALTON, JON on 04/08/2021                                               Page 120
                                                                       Page 120
 ·1· · · · Q.· · What are those?
 ·2· · · · A.· · Which part?
 ·3· · · · Q.· · Well, what is a summary of noncompliance?
 ·4· · · · A.· · So the summary of noncompliance is a
 ·5· ·spreadsheet pulled that the contract monitor maintains.
 ·6· ·And it's basically a tracking method on those
 ·7· ·noncompliance reports where you saw that the finding was
 ·8· ·a repeat finding.· We track those by using the SNR so
 ·9· ·that we can document those on the NCR to say when that
 10· ·finding occurred.
 11· · · · · · · So the SNR is a tool utilized by our central
 12· ·office team on the compliance side of the house so that
 13· ·they can review what is going on at the facility in a
 14· ·paraphrase narrative instead of having to look at each
 15· ·individual noncompliance report, the NCRs, as we have
 16· ·been doing.· The liquidated damage event is separate of
 17· ·the SNR in that the liquidated damage event is, from
 18· ·where I sit, only pertains to staffing.
 19· · · · Q.· · So is it fair to say that the summary of
 20· ·noncompliance reports are going to contain some
 21· ·information that will eventually make it into a
 22· ·noncompliance report, but haven't yet because you
 23· ·haven't reached the end of the quarter or the end of the
 24· ·biannual review period?
 25· · · · A.· · Pretty much the opposite.· If it makes its


                       Briggs & Associates 615/482-0037
                             Nashville,
Case 3:22-cv-00093 Document 37-2   FiledTennessee
                                         05/25/22 Page 120 of 162 PageID #: 3102  YVer1f
BOZA PLEASANT-BEY vs STATE OF TENNESSEE
WALTON, JON on 04/08/2021                                               Page 121
                                                                       Page 121
 ·1· ·way onto an NCR, it goes on the SNR report.· So when it
 ·2· ·becomes an official finding, it will go on that summary
 ·3· ·of noncompliance report.
 ·4· · · · Q.· · Okay.· What about Section 4K, which is titled
 ·5· ·weekly report of daily activities.· Reports prepared by
 ·6· ·the monitors detailing their weekly slash daily
 ·7· ·monitoring activities.· Do you prepare those?
 ·8· · · · A.· · Yes.
 ·9· · · · Q.· · Who are they submitted to?
 10· · · · A.· · The contract monitoring director and the
 11· ·correctional administrator.
 12· · · · Q.· · Is that John Fisher and Carolyn Jordan?
 13· · · · A.· · Correct.· And that will document like an
 14· ·overview of our week, what we did.· And when I say we,
 15· ·I'm speaking to the contract monitor of compliance and
 16· ·the contract monitor of operations.
 17· · · · Q.· · Do you ever receive feedback about what
 18· ·you're doing or suggestions for what you might do
 19· ·instead?
 20· · · · A.· · I do during my interim review process.                I
 21· ·don't on like a daily basis, if that's what you're
 22· ·asking.
 23· · · · Q.· · How have your interim reviews gone?· Have you
 24· ·gotten good reviews or bad reviews?
 25· · · · A.· · I've gotten good reviews.· I hope that


                       Briggs & Associates 615/482-0037
                             Nashville,
Case 3:22-cv-00093 Document 37-2   FiledTennessee
                                         05/25/22 Page 121 of 162 PageID #: 3103  YVer1f
BOZA PLEASANT-BEY vs STATE OF TENNESSEE
WALTON, JON on 04/08/2021                                               Page 122
                                                                       Page 122
 ·1· ·continues after this call.
 ·2· · · · Q.· · Congratulations.
 ·3· · · · A.· · Thank you.
 ·4· · · · Q.· · Do you see on Page 6, there is a letter F
 ·5· ·titled breach of contract process?
 ·6· · · · A.· · Yes, ma'am.
 ·7· · · · Q.· · Have you ever been involved in the breach of
 ·8· ·contract process?
 ·9· · · · A.· · No, ma'am.
 10· · · · Q.· · Has Trousdale ever been in breach of
 11· ·contract?
 12· · · · · · · MR. AUMANN:· Objection to form.
 13· · · · · · · MR. WELBORN:· Same objection.
 14· · · · · · · THE WITNESS:· The only way that I've known
 15· ·the facility to be in breach of contract is when they do
 16· ·not meet their essential monitoring line items that's
 17· ·documented in the noncompliance reports.· Anything
 18· ·beyond that, I really don't have any idea.
 19· · · · · · · MS. MAPLES:· Can we mark this as Exhibit 10?
 20· · · · · · · (Exhibit 10 was marked.)
 21· · · · · · · MS. MAPLES:· I'm going to show you another
 22· ·document.· And I'm going to put it on the chat.
 23· · · · · · · (Exhibit 11 was marked.)
 24· ·BY MS. MAPLES:
 25· · · · Q.· · Do you see the document that is going to be


                       Briggs & Associates 615/482-0037
                             Nashville,
Case 3:22-cv-00093 Document 37-2   FiledTennessee
                                         05/25/22 Page 122 of 162 PageID #: 3104  YVer1f
BOZA PLEASANT-BEY vs STATE OF TENNESSEE
WALTON, JON on 04/08/2021                                               Page 123
                                                                       Page 123
 ·1· ·Exhibit 11 to your deposition?
 ·2· · · · A.· · The comptroller's audit report?
 ·3· · · · Q.· · Yes.
 ·4· · · · A.· · Yes.
 ·5· · · · Q.· · Have you seen this document before?
 ·6· · · · A.· · I have not.
 ·7· · · · Q.· · You have never reviewed the January 2020
 ·8· ·comptroller's performance audit report?
 ·9· · · · A.· · No, ma'am.
 10· · · · Q.· · Why not?
 11· · · · A.· · I did not know it existed.
 12· · · · Q.· · So you've never heard anyone discussing it?
 13· · · · A.· · No, ma'am.
 14· · · · Q.· · You have never worked with CoreCivic to try
 15· ·to remedy issues that might be explored in the audit
 16· ·report?
 17· · · · A.· · No, ma'am.
 18· · · · · · · MR. AUMANN:· Objection to form.
 19· ·BY MS. MAPLES:
 20· · · · Q.· · Is it fair to say you've never discussed the
 21· ·report with your supervisors at TDOC?
 22· · · · A.· · That would be correct.
 23· · · · Q.· · Do you think that the performance audit
 24· ·report dated just three months after you arrived at the
 25· ·facility might be useful to you in performing your job


                       Briggs & Associates 615/482-0037
                             Nashville,
Case 3:22-cv-00093 Document 37-2   FiledTennessee
                                         05/25/22 Page 123 of 162 PageID #: 3105  YVer1f
BOZA PLEASANT-BEY vs STATE OF TENNESSEE
WALTON, JON on 04/08/2021                                               Page 124
                                                                       Page 124
 ·1· ·function?
 ·2· · · · · · · MR. AUMANN:· Objection to form.
 ·3· · · · · · · MR. WELBORN:· Object to the form.
 ·4· · · · · · · THE WITNESS:· No, ma'am.
 ·5· ·BY MS. MAPLES:
 ·6· · · · Q.· · Why not?
 ·7· · · · A.· · I believe the information contained in that
 ·8· ·report could have been informational at best, but I do
 ·9· ·not work for the Tennessee comptroller's office.· My
 10· ·scope of responsibility is clearly defined through my
 11· ·monitoring instruments.· They look at a lot of different
 12· ·things that the contract monitor does not.· So they
 13· ·really get more detailed in a lot of different areas
 14· ·where the contract monitor, that's not our role,
 15· ·responsibility.
 16· · · · Q.· · Well, how do you know if you've never seen it
 17· ·and didn't know it existed?
 18· · · · A.· · I do know what the comptroller looks for.                 I
 19· ·don't know -- I don't review their reports.
 20· · · · Q.· · So did you know that the Tennessee
 21· ·comptroller of treasury performed an audit of TDOC
 22· ·facilities, including those managed by CoreCivic?
 23· · · · A.· · Did I know that they did do those, yes.· Did
 24· ·I know when they did those, no.
 25· · · · Q.· · So you have an understanding of the fact that


                       Briggs & Associates 615/482-0037
                             Nashville,
Case 3:22-cv-00093 Document 37-2   FiledTennessee
                                         05/25/22 Page 124 of 162 PageID #: 3106  YVer1f
BOZA PLEASANT-BEY vs STATE OF TENNESSEE
WALTON, JON on 04/08/2021                                               Page 125
                                                                       Page 125
 ·1· ·these audits occurred and you have an understanding of
 ·2· ·what they looked for, but you don't think any of that
 ·3· ·information would be useful to you in performing your
 ·4· ·job as a contract monitor of compliance; is that right?
 ·5· · · · A.· · Correct.
 ·6· · · · · · · MR. AUMANN:· Objection to form.
 ·7· · · · · · · MR. WELBORN:· Same objection.
 ·8· ·BY MS. MAPLES:
 ·9· · · · Q.· · And no one at TDOC ever suggested that you
 10· ·should read it?
 11· · · · A.· · No one at TDOC has ever presented this to me
 12· ·for that suggestion.
 13· · · · · · · MS. MAPLES:· Okay, I think that's about all I
 14· ·have.· Let me check and see if there's anything else.
 15· ·BY MS. MAPLES:
 16· · · · Q.· · Is Warden Byrd back at the facility today?
 17· · · · A.· · No, ma'am.
 18· · · · Q.· · Is he going to return before his reassignment
 19· ·takes place; do you know?
 20· · · · A.· · I don't, no.
 21· · · · Q.· · Do you have an opinion as to Warden Byrd's
 22· ·job performance?
 23· · · · A.· · I do not, no.
 24· · · · · · · MS. MAPLES:· Okay, that's all I have.· Thank
 25· ·you, Mr. Walton.


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                             Nashville,
Case 3:22-cv-00093 Document 37-2   FiledTennessee
                                         05/25/22 Page 125 of 162 PageID #: 3107  YVer1f
BOZA PLEASANT-BEY vs STATE OF TENNESSEE
WALTON, JON on 04/08/2021                                               Page 126
                                                                       Page 126
 ·1· · · · · · · MR. WELBORN:· I've got some questions.
 ·2· ·EXAMINATION BY MR. WELBORN:
 ·3· · · · Q.· · Mr. Walton, my name is Joe Welborn, I
 ·4· ·represent CoreCivic in this case, along with my partner,
 ·5· ·Erin Polly.· We spoke a little bit earlier during a
 ·6· ·break.· I want to get some background information on you
 ·7· ·if I can.
 ·8· · · · A.· · Sure.
 ·9· · · · Q.· · Tell me where you grew up.
 10· · · · A.· · West Tennessee.
 11· · · · Q.· · What part?
 12· · · · A.· · A little town called Camden located in Benton
 13· ·County.
 14· · · · Q.· · That's where Patsy Cline met her demise, as I
 15· ·recall.
 16· · · · A.· · That is correct.
 17· · · · Q.· · Are you married?
 18· · · · A.· · I am, yes, sir.
 19· · · · Q.· · How long have you been married?
 20· · · · A.· · About nine years now.· I'm married to a
 21· ·nurse.· I've got three children of my own and I've got a
 22· ·stepdaughter.· I've got four grandchildren.· I'll have a
 23· ·fifth one in July, be the first boy of the group.                I
 24· ·started my career in corrections in 1997 as a
 25· ·correctional officer.· I had a lot to learn at that


                       Briggs & Associates 615/482-0037
                             Nashville,
Case 3:22-cv-00093 Document 37-2   FiledTennessee
                                         05/25/22 Page 126 of 162 PageID #: 3108  YVer1f
BOZA PLEASANT-BEY vs STATE OF TENNESSEE
WALTON, JON on 04/08/2021                                                 Page 127
                                                                         Page 127
 ·1· ·time, as I still do.
 ·2· · · · Q.· · You look too young to have that many
 ·3· ·grandkids.· How old are you?
 ·4· · · · A.· · I appreciate that.· I'm sorry?
 ·5· · · · Q.· · How old are you?
 ·6· · · · A.· · I'm 43.
 ·7· · · · Q.· · Tell me about your education after high
 ·8· ·school.
 ·9· · · · A.· · I didn't have any after high school.                I
 10· ·joined the military.· I spent six years with the
 11· ·Tennessee Army National Guard.· I started with the
 12· ·Tennessee Department of Corrections when I was 19.· It
 13· ·wasn't until I was age 37, I believe it was when I went
 14· ·back to school to get my undergrad.· And I got a
 15· ·bachelor of science degree in organizational leadership
 16· ·with a concentration in information technology from
 17· ·Bethel University.
 18· · · · Q.· · What age children do you have?
 19· · · · A.· · I've got -- my baby is 20.· And then from
 20· ·there it goes 20, 21, 23 and a 24-year-old stepdaughter.
 21· · · · Q.· · And you said you have five grandchildren?· Or
 22· ·four and one on the way?
 23· · · · A.· · Yeah.
 24· · · · Q.· · You started to tell me about this, about your
 25· ·experience in corrections.· You started as a corrections


                       Briggs & Associates 615/482-0037
                             Nashville,
Case 3:22-cv-00093 Document 37-2   FiledTennessee
                                         05/25/22 Page 127 of 162 PageID #: 3109    YVer1f
BOZA PLEASANT-BEY vs STATE OF TENNESSEE
WALTON, JON on 04/08/2021                                               Page 128
                                                                       Page 128
 ·1· ·officers.· Kind of, if you can, go through what you did
 ·2· ·in corrections and where you did it.
 ·3· · · · A.· · Okay, from 1997 to 2003, I was a correctional
 ·4· ·officer at the Turney Center Industrial Prison in Only,
 ·5· ·Tennessee.· I left in 2003 and left state service.· Went
 ·6· ·through a divorce at that same time.· And I went to work
 ·7· ·for a company called U.T.I. Logistics where I was their
 ·8· ·-- it was basically a shipping and receiving logistics
 ·9· ·center.· And I was their -- when I left there, I was the
 10· ·safety training and hiring manager.· So I wore a lot of
 11· ·hats in that role.
 12· · · · Q.· · Where did you go from there?
 13· · · · A.· · So that was from '03 to '09.· In '09, I went
 14· ·back to work for the state.· And I was at the Riverbend
 15· ·Maximum Security Institution.
 16· · · · Q.· · What did you do there?
 17· · · · A.· · I was an officer.· Got promoted to front line
 18· ·supervisor.· I was a corporal.· From that role, I became
 19· ·field training officer.· I was an adjunct academy
 20· ·instructor, where I was really involved with the
 21· ·training curriculum and development for Tennessee
 22· ·Department of Corrections.· And that was until 2014.
 23· · · · Q.· · Did you get to know the inmates -- any of the
 24· ·inmates at Riverbend?
 25· · · · A.· · Absolutely.


                       Briggs & Associates 615/482-0037
                             Nashville,
Case 3:22-cv-00093 Document 37-2   FiledTennessee
                                         05/25/22 Page 128 of 162 PageID #: 3110  YVer1f
BOZA PLEASANT-BEY vs STATE OF TENNESSEE
WALTON, JON on 04/08/2021                                               Page 129
                                                                       Page 129
 ·1· · · · Q.· · Ever run across a guy named Ed Zagorski?
 ·2· · · · A.· · I sure did.
 ·3· · · · Q.· · I represent him years ago in a post-
 ·4· ·conviction.
 ·5· · · · A.· · Yes.· Mr. Zagorski was -- him and all of the
 ·6· ·guys on death row.· I also served as a supervisor on the
 ·7· ·death-row unit, so I knew him well.
 ·8· · · · Q.· · And where did you go from Riverbend?
 ·9· · · · A.· · I went to the private sector and went to work
 10· ·for a company called Centurioin, which currently
 11· ·provisions all of the medical care for the Tennessee
 12· ·Department of Corrections.· So I kind of segued over
 13· ·into the medical side of the house from the security
 14· ·side.· And started off as a records manager, records
 15· ·supervisor in 2014.· And I stayed with them all the way
 16· ·up until 2019.· When I left, I was state-wide health
 17· ·information manager.
 18· · · · Q.· · Did you go back to work for TDOC after that?
 19· · · · A.· · I did.
 20· · · · Q.· · In this role as contract monitor?
 21· · · · A.· · Yes, sir.
 22· · · · Q.· · And you've been in that role, I think, since
 23· ·November of 2019?
 24· · · · A.· · That's correct.
 25· · · · Q.· · Of the staff at Trousdale, who did you


                       Briggs & Associates 615/482-0037
                             Nashville,
Case 3:22-cv-00093 Document 37-2   FiledTennessee
                                         05/25/22 Page 129 of 162 PageID #: 3111  YVer1f
BOZA PLEASANT-BEY vs STATE OF TENNESSEE
WALTON, JON on 04/08/2021                                               Page 130
                                                                       Page 130
 ·1· ·interact with the most?
 ·2· · · · A.· · The staff at Trousdale?
 ·3· · · · Q.· · Yes.· Or who do you interact with the most?
 ·4· · · · A.· · Contract monitor of operations would be the
 ·5· ·one that I interact the most with.
 ·6· · · · Q.· · How about the CoreCivic staff?
 ·7· · · · A.· · The quality manager.
 ·8· · · · Q.· · Who is that currently?
 ·9· · · · A.· · Kari Kaiser and Terry Carter.
 10· · · · Q.· · And I think you mentioned this, you have
 11· ·occasion to interact with the warden?
 12· · · · A.· · Yes.
 13· · · · Q.· · Both Warden Byrd now and previously Warden
 14· ·Washburn?
 15· · · · A.· · Correct.
 16· · · · Q.· · What other staff do you interact with on a
 17· ·regular basis?
 18· · · · A.· · The associate wardens.· And the chief of --
 19· · · · Q.· · Chief of security?
 20· · · · A.· · Yes.
 21· · · · Q.· · Can you describe for me your -- the type of
 22· ·relationship, working relationship you have with them?
 23· · · · A.· · I believe it to be very professional.· Our
 24· ·encounters are for very specific needs.· It's usually
 25· ·because of an issue that we've identified which could


                       Briggs & Associates 615/482-0037
                             Nashville,
Case 3:22-cv-00093 Document 37-2   FiledTennessee
                                         05/25/22 Page 130 of 162 PageID #: 3112  YVer1f
BOZA PLEASANT-BEY vs STATE OF TENNESSEE
WALTON, JON on 04/08/2021                                               Page 131
                                                                       Page 131
 ·1· ·either result in an area of noncompliance or already has
 ·2· ·resulted in the area of noncompliance.
 ·3· · · · Q.· · Are they responsive to your needs or
 ·4· ·requests?
 ·5· · · · A.· · They are.
 ·6· · · · Q.· · Are they cooperative with you?
 ·7· · · · A.· · They are.
 ·8· · · · Q.· · Do you find them to be professional in how
 ·9· ·they perform their jobs?
 10· · · · A.· · I do.
 11· · · · Q.· · You mentioned in your testimony earlier that
 12· ·you interact with inmates at various times; is that
 13· ·right?
 14· · · · A.· · Yes.
 15· · · · Q.· · Tell me about how that comes up.
 16· · · · A.· · When it comes to my interactions with the
 17· ·inmates?
 18· · · · Q.· · Right.
 19· · · · A.· · That generally occurs primarily through my
 20· ·observations while on the property.· So when I'm going
 21· ·through and I'm doing my daily walk-throughs and
 22· ·inspections of the facility or I'm reviewing my
 23· ·monitoring instruments, you know, all of that has to
 24· ·occur on the compound where the inmates reside.· So
 25· ·oftentimes while I'm doing my reviews, the inmates


                       Briggs & Associates 615/482-0037
                             Nashville,
Case 3:22-cv-00093 Document 37-2   FiledTennessee
                                         05/25/22 Page 131 of 162 PageID #: 3113  YVer1f
BOZA PLEASANT-BEY vs STATE OF TENNESSEE
WALTON, JON on 04/08/2021                                               Page 132
                                                                       Page 132
 ·1· ·freely approach me, ask me questions, ask me if there is
 ·2· ·anything that I can do to assist them with their needs.
 ·3· · · · · · · And traditionally, what I try to do is direct
 ·4· ·them to the appropriate department lead.· If it's
 ·5· ·something that they say they, well, I've already gone
 ·6· ·that route and I've gotten no resolution to that, then I
 ·7· ·will take their information and then I'll follow up on
 ·8· ·it personally.· And that's either by way of e-mail or
 ·9· ·speaking to that department head in person.· And
 10· ·typically, after that point, the matter gets resolved.
 11· · · · Q.· · When you say -- sounds like you all are
 12· ·getting some feedback from me, but hopefully you are
 13· ·understanding my question.· When you say you walk the
 14· ·compound, is the compound where the prisoners are
 15· ·located -- or inmates are located?
 16· · · · A.· · Yes, sir.
 17· · · · Q.· · You said you do that on a daily basis?
 18· · · · A.· · Yes, sir.
 19· · · · Q.· · Is that more than -- is that multiple times a
 20· ·day?
 21· · · · A.· · It can be, yes.
 22· · · · Q.· · When you do walk the compound, are you -- is
 23· ·it just you or do you have anybody with you?
 24· · · · A.· · Generally, it's just myself.
 25· · · · Q.· · And you're, I guess I'll say about a year-


                       Briggs & Associates 615/482-0037
                             Nashville,
Case 3:22-cv-00093 Document 37-2   FiledTennessee
                                         05/25/22 Page 132 of 162 PageID #: 3114  YVer1f
BOZA PLEASANT-BEY vs STATE OF TENNESSEE
WALTON, JON on 04/08/2021                                               Page 133
                                                                       Page 133
 ·1· ·and-a-half in at Trousdale in making your daily walks
 ·2· ·around the compound.· Do you feel safe when you do that?
 ·3· · · · A.· · I do.
 ·4· · · · Q.· · Has there ever been a time in your
 ·5· ·year-and-a-half there that you felt unsafe?
 ·6· · · · A.· · No.
 ·7· · · · Q.· · In making those rounds, walking the compound,
 ·8· ·do you recall any instances where you ran across a post,
 ·9· ·a critical post not being filled at the time?
 10· · · · A.· · Not that I was aware of, no.
 11· · · · Q.· · I want to ask you some general questions.
 12· ·Because you were asked a lot of questions about
 13· ·compliance, so I want to ask you some general questions
 14· ·about that.· In the context of your job, when you talk
 15· ·about compliance, that's simply compliance with the
 16· ·contract, right?
 17· · · · A.· · Correct.
 18· · · · Q.· · And so if -- and just overall, I think you
 19· ·were asked this question.· Other than what is contained
 20· ·in your noncompliance reports that we've gone through,
 21· ·to your knowledge, CoreCivic is in compliance with all
 22· ·other provisions of the contract, correct?
 23· · · · A.· · Can you repeat that question.
 24· · · · Q.· · Yes.· Based on what you know and in your job,
 25· ·other than what is contained in the noncompliance


                       Briggs & Associates 615/482-0037
                             Nashville,
Case 3:22-cv-00093 Document 37-2   FiledTennessee
                                         05/25/22 Page 133 of 162 PageID #: 3115  YVer1f
BOZA PLEASANT-BEY vs STATE OF TENNESSEE
WALTON, JON on 04/08/2021                                               Page 134
                                                                       Page 134
 ·1· ·reports that we've gone through or that you prepared
 ·2· ·since you've been there, CoreCivic is in compliance with
 ·3· ·the contract?
 ·4· · · · A.· · That is correct, yes.
 ·5· · · · Q.· · Let's get into the, just the noncompliance
 ·6· ·reports themselves.· As I understand it, on the
 ·7· ·essential items in the contract, if -- those require a
 ·8· ·hundred percent compliance, correct?
 ·9· · · · A.· · Yes, sir.
 10· · · · Q.· · So if CoreCivic is 99 percent compliant with
 11· ·whatever that requirement is, they're still not
 12· ·compliant with the contract if it's an essential item?
 13· · · · A.· · That's correct.
 14· · · · Q.· · So even in the ones that we went through, I
 15· ·mean CoreCivic could be 80 percent compliant, 90 percent
 16· ·compliant or whatever percentage, if it's an essential
 17· ·item, the contract, simply the contract requires a
 18· ·hundred percent compliance, correct?
 19· · · · A.· · Correct.
 20· · · · Q.· · Other items that aren't essential, they may
 21· ·not have to be.· They're not out of compliance simply
 22· ·because there's some noncompliance; is that accurate?
 23· · · · A.· · Yes, uh-huh.
 24· · · · Q.· · Let's talk about staffing a little bit.                 A
 25· ·staffing -- under this contract, a staffing requirement


                       Briggs & Associates 615/482-0037
                             Nashville,
Case 3:22-cv-00093 Document 37-2   FiledTennessee
                                         05/25/22 Page 134 of 162 PageID #: 3116  YVer1f
BOZA PLEASANT-BEY vs STATE OF TENNESSEE
WALTON, JON on 04/08/2021                                               Page 135
                                                                       Page 135
 ·1· ·is different from a post being vacant; is that accurate?
 ·2· · · · A.· · Yes.
 ·3· · · · Q.· · At a particular time; is that accurate?
 ·4· · · · A.· · Yes.
 ·5· · · · Q.· · Okay.· So staffing has to do with a staffing
 ·6· ·requirement in the contract that you have these
 ·7· ·positions, they need to be filled and if you don't have
 ·8· ·those filled you're out of compliance, right?
 ·9· · · · A.· · True.
 10· · · · Q.· · Now, you've worked at three different, I
 11· ·think, prisons.· The Turney Center in Only, right?
 12· · · · A.· · Yes.
 13· · · · Q.· · Riverbend Maximum Security Facility, right?
 14· · · · A.· · Yes.
 15· · · · Q.· · And at Trousdale?
 16· · · · A.· · Correct.
 17· · · · Q.· · Based on your experience, is staffing,
 18· ·maintaining a full-time staff a challenge in prisons?
 19· · · · A.· · Make sure I understood.· Your question is, is
 20· ·maintaining staffing a challenge at all prisons; is that
 21· ·what you're asking?
 22· · · · Q.· · Based on your experience?
 23· · · · A.· · Yes.
 24· · · · Q.· · Did you have, for example, at the Turney
 25· ·Center in Only -- I know that's in a rural area of West


                       Briggs & Associates 615/482-0037
                             Nashville,
Case 3:22-cv-00093 Document 37-2   FiledTennessee
                                         05/25/22 Page 135 of 162 PageID #: 3117  YVer1f
BOZA PLEASANT-BEY vs STATE OF TENNESSEE
WALTON, JON on 04/08/2021                                               Page 136
                                                                       Page 136
 ·1· ·Tennessee.· Did you have problems with maintaining a
 ·2· ·full staff?
 ·3· · · · A.· · Yes.
 ·4· · · · Q.· · Did you have -- in order to compensate for
 ·5· ·that, did you have to have officers and other employees
 ·6· ·and staff work overtime?
 ·7· · · · A.· · Yes.
 ·8· · · · Q.· · Was that common?
 ·9· · · · A.· · Yes.
 10· · · · Q.· · When people didn't -- this doesn't relate to
 11· ·staffing necessarily, it relates to posts being filled
 12· ·during a shift or during a day.· At that facility at the
 13· ·Turney Center, did you have staff at times not show up?
 14· · · · A.· · Yes.
 15· · · · Q.· · Did you have staff at times get sick?
 16· · · · A.· · Yes.
 17· · · · Q.· · Did you have staff at times get called out on
 18· ·emergencies?
 19· · · · A.· · Yes.
 20· · · · Q.· · I mean, essentially, did life happen in some
 21· ·form or fashion that caused you to be short on staff?
 22· · · · A.· · Yes.
 23· · · · Q.· · And what do you do in those instances to help
 24· ·that, have work overtime?· Is that one thing you do?
 25· · · · A.· · You improvise and overcome.· You try to get


                       Briggs & Associates 615/482-0037
                             Nashville,
Case 3:22-cv-00093 Document 37-2   FiledTennessee
                                         05/25/22 Page 136 of 162 PageID #: 3118  YVer1f
BOZA PLEASANT-BEY vs STATE OF TENNESSEE
WALTON, JON on 04/08/2021                                               Page 137
                                                                       Page 137
 ·1· ·as many people to work overtime as possible.· You begin
 ·2· ·to close your non-critical posts in order to back fill
 ·3· ·your critical vacancies.· And traditionally, that's the
 ·4· ·best way to get the goal accomplished.
 ·5· · · · Q.· · Even at the Turney Center, would there be
 ·6· ·times where you would call in temporary staff from other
 ·7· ·facilities in the state?
 ·8· · · · A.· · No.
 ·9· · · · Q.· · Didn't do that at the Turney Center?
 10· · · · A.· · No.· Not during the time that I was there,
 11· ·no.
 12· · · · Q.· · But in any event, if you had critical posts
 13· ·or posts that you couldn't fill during the day for
 14· ·whatever reason, as you said, you would improvise and
 15· ·overcome that and make sure that the facility was safe?
 16· · · · A.· · Correct.
 17· · · · Q.· · Did the same thing happen along this same
 18· ·line of questions at Riverbend?
 19· · · · A.· · More so.
 20· · · · Q.· · So you had staffing, in other words,
 21· ·fulfilling positions there, that was a challenge?
 22· · · · A.· · Yes.
 23· · · · Q.· · And you had that staff that either, for
 24· ·whatever happens in life, illness, emergency, they just
 25· ·decide they don't want to work there anymore, not show


                       Briggs & Associates 615/482-0037
                             Nashville,
Case 3:22-cv-00093 Document 37-2   FiledTennessee
                                         05/25/22 Page 137 of 162 PageID #: 3119  YVer1f
BOZA PLEASANT-BEY vs STATE OF TENNESSEE
WALTON, JON on 04/08/2021                                               Page 138
                                                                       Page 138
 ·1· ·up?
 ·2· · · · A.· · Yes.
 ·3· · · · Q.· · And you guys would have to, there, improvise
 ·4· ·and figure out how to make it work?
 ·5· · · · A.· · Correct.
 ·6· · · · Q.· · Did you find that the staff at the Trousdale
 ·7· ·facility did the same thing?
 ·8· · · · A.· · Yes.
 ·9· · · · Q.· · Kind of describe what you observed in that
 10· ·regard.
 11· · · · A.· · Trousdale consistently utilizes their staff
 12· ·in overtime positions to try to backfill the vacancies
 13· ·that they have.· You know, throughout the day, what they
 14· ·will do is rotate -- on a housing unit, they'll rotate
 15· ·what pods that they will consider closed.· If you've got
 16· ·three pods, if alpha pod was closed yesterday because of
 17· ·staffing shortage and just say, for example, you still
 18· ·have a staffing shortage today, we'll pull the bravo pod
 19· ·officer instead of having a pod closed back to back day
 20· ·after day.
 21· · · · · · · So what I've seen them do is they try to
 22· ·fairly compensate where they are limiting services
 23· ·within a housing area in order to continue operation of
 24· ·the facility.· They do utilize overtime.· They do offer
 25· ·bonuses to their staff for working their days off.· And


                       Briggs & Associates 615/482-0037
                             Nashville,
Case 3:22-cv-00093 Document 37-2   FiledTennessee
                                         05/25/22 Page 138 of 162 PageID #: 3120  YVer1f
BOZA PLEASANT-BEY vs STATE OF TENNESSEE
WALTON, JON on 04/08/2021                                               Page 139
                                                                       Page 139
 ·1· ·that seems to be the two largest areas that I've
 ·2· ·witnessed.
 ·3· · · · Q.· · When you say they close a pod, what do you
 ·4· ·mean by that?
 ·5· · · · A.· · They just pull the officers from that post
 ·6· ·instead of -- if you've got three officers assigned to a
 ·7· ·housing unit and you're short somewhere else on a
 ·8· ·compound, they'll pull from A-pod.· They'll pull the
 ·9· ·officer from A-pod.· And when that happens, the B and
 10· ·the C-pod officers have to compensate for what needs to
 11· ·carry on in the pod that's carrying a vacancy.
 12· · · · Q.· · Based on your observations of that, what you
 13· ·just described occurring, have they been able to
 14· ·maintain safety and security of the facility in doing
 15· ·that?
 16· · · · A.· · In my opinion, yes.
 17· · · · Q.· · Are you familiar with efforts that CoreCivic
 18· ·has made to try to fill all of the staffing positions at
 19· ·Trousdale?
 20· · · · A.· · I'm not sure I understand the question.
 21· ·Could you repeat that.
 22· · · · Q.· · I think I saw it somewhere in one of your --
 23· ·in the corrective action measures in your reports.· But
 24· ·I don't want to go back through all of those documents
 25· ·because that technology gets beyond me.· But my question


                       Briggs & Associates 615/482-0037
                             Nashville,
Case 3:22-cv-00093 Document 37-2   FiledTennessee
                                         05/25/22 Page 139 of 162 PageID #: 3121  YVer1f
BOZA PLEASANT-BEY vs STATE OF TENNESSEE
WALTON, JON on 04/08/2021                                               Page 140
                                                                       Page 140
 ·1· ·is, are you familiar with some of the efforts that have
 ·2· ·been made by CoreCivic and the staff out there to hire
 ·3· ·corrections officers and other staff at the facility?
 ·4· · · · A.· · I am.
 ·5· · · · Q.· · Describe some of those efforts.
 ·6· · · · A.· · I've seen television campaign ads.· I've
 ·7· ·heard radio ads.· And they have signage posted
 ·8· ·throughout the administration area of referral bonuses
 ·9· ·that they offer.
 10· · · · Q.· · So would it be fair to say that they, based
 11· ·on your observations, that they put forth pretty strong
 12· ·efforts to hire staff out there?
 13· · · · A.· · They do.
 14· · · · Q.· · Would it be fair to say that they want to
 15· ·have a full-time -- a full staff?
 16· · · · A.· · I'm sorry?
 17· · · · Q.· · Would it be fair to say, based your
 18· ·observations of the efforts made at Trousdale, that they
 19· ·want to have a full staff?
 20· · · · A.· · Yes.
 21· · · · Q.· · Do they face the same challenges that you
 22· ·faced in terms of having a full staff at Riverbend and
 23· ·the Turney Center?
 24· · · · A.· · Yes.
 25· · · · Q.· · Is it -- in your view, based on your


                       Briggs & Associates 615/482-0037
                             Nashville,
Case 3:22-cv-00093 Document 37-2   FiledTennessee
                                         05/25/22 Page 140 of 162 PageID #: 3122  YVer1f
BOZA PLEASANT-BEY vs STATE OF TENNESSEE
WALTON, JON on 04/08/2021                                               Page 141
                                                                       Page 141
 ·1· ·experience, is it any different, the challenges they
 ·2· ·face on a day-to-day basis in terms of staffing, in
 ·3· ·terms of people for whatever reason not showing up to
 ·4· ·work or being called out on an emergency, do they face
 ·5· ·the same challenges that you faced at Riverbend and the
 ·6· ·Turney Center?
 ·7· · · · A.· · They do.
 ·8· · · · · · · MR. WELBORN:· Let me take a quick break here
 ·9· ·and I'll be right back to you.
 10· · · · · · · THE WITNESS:· Okay.
 11· · · · · · · (Recess observed.)
 12· · · · · · · MR. WELBORN:· Thank you, Mr. Walton.· I have
 13· ·no further questions.
 14· · · · · · · THE WITNESS:· Thank you.
 15· · · · · · · MR. AUMANN:· We don't have any questions.
 16· · · · · · · MS. MAPLES:· I'm done.· Thank you, Mr.
 17· ·Walton.
 18· · · · · · · THE WITNESS:· Thank you all.
 19· · · · · · · FURTHER DEPONENT SAITH NOT.
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                       Briggs & Associates 615/482-0037
                             Nashville,
Case 3:22-cv-00093 Document 37-2   FiledTennessee
                                         05/25/22 Page 141 of 162 PageID #: 3123
BOZA PLEASANT-BEY vs STATE OF TENNESSEE
WALTON, JON on 04/08/2021                                               Page 142
                                                                       Page 142
 ·1· · · · · · · · · · · CERTIFICATE

 ·2
 · · ·STATE OF TENNESSEE· · ·)
 ·3· · · · · · · · · · · · · )· ·SS.
 · · ·COUNTY OF DAVIDSON· · ·)
 ·4

 ·5· · · · · · I, CAROLE K. BRIGGS, Licensed Court Reporter

 ·6· ·within and for the State of Tennessee, do hereby certify

 ·7· ·that the above deposition was reported by me and that

 ·8· ·the foregoing pages of the transcript is a true and

 ·9· ·accurate record to the best of my knowledge, skills, and

 10· ·ability.

 11· · · · · · I further certify that I am not a relative,

 12· ·counsel or attorney of either party nor employed by any

 13· ·of the parties in this case or otherwise interested in

 14· ·the event of this action.

 15· · · · · · IN WITNESS WHEREOF, I have hereunto affixed my

 16· ·official hand on this 23rd day of April 2021.

 17· ·_______________________________

 18· ·CAROLE K. BRIGGS

 19· ·Shorthand Reporter

 20· ·Tennessee License No. 345

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                       Briggs & Associates 615/482-0037
                             Nashville,
Case 3:22-cv-00093 Document 37-2   FiledTennessee
                                         05/25/22 Page 142 of 162 PageID #: 3124
BOZA PLEASANT-BEY vs STATE OF TENNESSEE
WALTON, JON on 04/08/2021                                               ·Index: $179,705.77..2592
                               002260 113:25                     18th 40:21
            Exhibits
                               002281 83:15                      19 87:10 127:12
 Exhibit 2 23:17,18 25:20      002288 85:10                      1997 126:24 128:3
 Exhibit 3 50:22,23,25         002291 73:16                      1st 30:10,14 44:15 49:16 74:8
                                                                  90:4 91:15
 Exhibit 4 52:22 53:2 59:7     002298 80:14
 Exhibit 5 73:5,12             002373 30:10
                                                                                  2
 Exhibit 6 102:24              003537 103:4
                               003709 108:5                      2 23:17,18 25:20 38:21 46:4 60:11
 Exhibit 7 108:1
                                                                  78:5 84:1 85:24 88:10 92:12
 Exhibit 8 113:21              003793 110:1                       94:17 97:3 100:7 109:17 111:8
                               003825 111:17                      112:14
 Exhibit 10 122:19,20
                               03 128:13                         20 15:24 16:5,10,20 31:1,20 39:23
 Exhibit 11 122:23 123:1                                          45:1 48:13,21 66:18 127:19,20
                               09 128:13
                                                                 2003 128:3,5
                 $
                                                1                2014 128:22 129:15
 $179,705.77 99:23                                               2015 89:8
 $180,000 99:25 100:14,16,22   1 13:18,19 38:24 39:2,3,4,6,14    2017 27:7,9
                                41:1,13,14 44:18 74:12,14,16
 $53,200 101:16                 93:15,19 109:14 111:3 112:10     2018 25:6 32:2
                                114:19
                                                                 2019 7:17 22:11 25:14 26:6,19
                 0             10 39:23 50:13 116:20 122:19,20    27:11,16 32:3,4,5 33:11,16,19
                                                                  35:9 36:11 40:20,21,22 41:20
 000933 53:6                   100 113:8 119:14                   57:8 73:24 74:8,9,24 77:25 79:19
                               1018 53:16                         80:8,15 83:17 84:21 85:4,12,19
 000936 55:4 59:7
                                                                  95:9 108:20 109:9 110:14 112:19
 000953 66:19                  10th 36:11                         114:3,17 129:16,23

 000957 60:9                   11 122:23 123:1                   2020 26:13 29:4 30:1,4,14,22
                               118 100:10,15,16,21                33:3 39:10 40:22 44:7 45:13
 000960 64:17                                                     49:15 87:4,5,9 88:24 89:9,12,14
 000961 62:8                   12 111:12                          90:4 91:15,16,21 92:11 93:11,12
                               12:30 98:21,25 117:19,20           95:3,10 96:9,13 99:9,21 100:1
 001018 53:10 54:4                                                103:6 108:19 110:1,4 111:23
 001372 26:12 29:3 30:23       12th 108:19                        115:24 116:2 123:7

 001405 115:24                 13th 115:24                       2021 6:3 30:10 44:15 49:16
                               14 83:22                           111:20
 001432 85:18
                               140 7:7                           205.03 118:2,11
 001441 87:4
                               15th 78:11                        20th 95:6
 001696 29:23
                               16 7:15 87:10                     21 127:20
 001760 93:13
                               16th 32:4 40:20 78:12             22nd 110:1
 001769 94:16
                               1789 97:1,2                       23 127:20
 001775 96:6
                               17th 25:5 32:2                    24 60:8,9 75:1
 001789 100:7
                               18 24:5 29:9                      24-year-old 127:20
 001792 99:21
                               18-page 29:11,12                  25 94:6
 001794 89:8
                               180 96:21                         2592 71:9



                       Briggs & Associates 615/482-0037
                             Nashville,
Case 3:22-cv-00093 Document 37-2   FiledTennessee
                                         05/25/22 Page 143 of 162 PageID #: 3125
BOZA PLEASANT-BEY vs STATE OF TENNESSEE
WALTON, JON on 04/08/2021                                                       ·Index: 25th..administrator
 25th 33:16,19 89:8 91:16 93:12
                                                      5                                  A
 26th 87:4
 27 64:16                            5 73:5,12 106:14 115:4              A-POD 139:8,9
 28 62:7,21                          50 39:25 63:21 64:3,14              a.m. 6:2,4
 29th 33:11 35:9                     501.01 51:3                         A4 62:12,21 63:3,4
 2B 74:17,22 75:11 78:6 79:4                                             abiding 7:21
  83:20 85:22 87:5 89:11 92:11                        6
  93:4,16,19 95:14 96:11 98:5                                            absence 70:13
  119:20                                                                 Absolutely 13:16 70:1 128:25
                                     6 61:6 102:24 109:14 122:4
 2nd 111:19                          6,103.33 85:15                      academy 128:19
                                     6,810.34 86:25                      access 72:5
                 3
                                     6,957.25 99:22                      accomplished 137:4
 3 41:22 42:10 46:8 50:23,25 54:16   6A 85:25 86:2 96:1                  account 14:21
  55:3 79:13 84:8 86:18 88:21
  92:18 95:1 109:21 111:11           6B 78:6,7 79:3 84:2 96:1            accuracy 47:25 68:13 84:12

 30 63:21                            6N 51:9                             accurate 82:15,18,21 83:2 86:14
                                                                          95:19 114:23 115:12,14 134:22
 30-day 34:1                                                              135:1,3
                                                      7
 30th 72:14 84:21                                                        accurately 84:17
 31st 25:13 26:6,13 29:3 30:14,22    7 88:10,13,14 108:1 109:18 111:4    achieved 47:5
  32:3,5 33:3 40:20,21,22 49:15       112:11
                                                                         acting 8:20
  73:24 74:9 83:17 114:3,17
                                     7,676.34 80:16
 34 86:11                                                                action 32:15,19,22,23 33:4,8,14
                                     7/3/14 54:3                          34:5 35:5,16 36:2,4,10,16 37:4,
 36 86:12                                                                 11,22 38:10,23 41:1,5,6,12,14,16,
                                     7/3/2014 53:13
                                                                          23 42:14 43:15,16,24 44:3,7 45:5,
 37 127:13
                                                                          10,17 46:1,5,9,17 47:1,4 77:15
 3rd 40:22 103:6                                      8                   78:1 81:6 91:13 99:13 106:16,19,
                                                                          21,24,25 107:3,20 139:23
                 4                   8 6:3 45:1 84:9,11 88:22 92:13      actions 34:6 77:11 78:20 119:12
                                      94:17 96:1 109:22 112:15 113:11,
                                      12,21                              activities 121:5,7
 4 42:12 43:14 52:22 53:2 59:7
  89:1                               80 134:15                           activity 105:20,23
 40 48:17,22 49:8,12                 81 100:11                           actual 40:11 51:13
 43 79:23,25 127:6                   8:06 6:2,4                          add 43:5,12
 45 63:10 79:18 85:7 89:5 92:20                                          addition 45:9 60:12
  100:12                                              9                  additional 15:6
 45-day 79:24                                                            adequate 67:1,10
                                     9 79:14,16 85:3 86:19 89:2 92:19
 4E 118:19 119:9                      93:4 95:1,15 97:3 98:12 100:8      adhere 54:8
 4F 119:11                            111:9 114:20 117:8 119:7,20
                                                                         adjunct 128:19
 4J 119:22                           90 134:15
                                                                         administration 140:8
 4K 121:4                            96 93:22 94:7 96:16,23
                                                                         administrative 8:5 10:13 11:3
 4th 29:25 39:10 49:15               960 64:18
                                                                         administrator 105:12 121:11
                                     99 134:10



                       Briggs & Associates 615/482-0037
                             Nashville,
Case 3:22-cv-00093 Document 37-2   FiledTennessee
                                         05/25/22 Page 144 of 162 PageID #: 3126
BOZA PLEASANT-BEY vs STATE OF TENNESSEE
WALTON, JON on 04/08/2021                                                                    ·Index: ads..basis
 ads 140:6,7                          area 12:15 15:16 31:15 37:16          106:4 107:25 125:1
                                       76:4 131:1,2 135:25 138:23 140:8
 advance 72:11                                                             August 29:25 39:10 45:13 49:15
                                      areas 12:10 13:9 40:11 104:25         84:21 103:6
 advisory 65:2,6,9,17
                                       106:5,8 113:2 124:13 139:1
                                                                           Aumann 6:12 9:3 12:12 16:12
 age 127:13,18
                                      arise 61:2                            21:12 27:9,12 34:9 35:17 38:4
 aggregate 81:13 104:17                                                     42:24 43:1 45:18 49:20 50:2,8
                                      Army 127:11
                                                                            54:9 55:1,5 62:17,24 64:5,11
 agree 6:6,11,16,19 17:6 64:10
                                      arrived 20:13 21:1 34:1 41:20         65:19 72:16 73:1 75:22 77:5 79:6
  99:17 113:3
                                       42:7 108:24 123:24                   80:1,20 83:5 87:16 88:18 91:5
 ahead 9:4 12:13 16:2,13 21:13                                              92:1 93:6 94:1,11,22 95:22 96:17
                                      asks 46:4,8                           97:22 98:6,14 100:17,23 101:4,
  34:10,13 43:2 47:9,10 50:4 62:18,
  25 75:23 77:6 91:6 102:16 115:21    aspects 19:16                         12,21 104:3,19 109:5 110:21
  116:21                                                                    112:3,7,24 114:24 115:9,19 118:3
                                      assault 70:18,19                      122:12 123:18 124:2 125:6
 alpha 138:16                                                               141:15
                                      assess 91:4
 amount 14:3 17:4,8 86:22 90:12                                            author 34:4 103:10
                                      assessing 45:16
  108:13
                                      assessment 32:3 91:11                authority 105:2,6
 amounts 99:18
                                      assessments 32:11                    authorized 80:16 99:22
 and-a-half 133:1
                                      assigned 33:13 35:2,4,10 40:8,9      average 80:4,9,10
 and/or 54:22
                                       68:5 139:6                          aware 8:6,7,8,16 9:12 11:4,8 19:7
 annual 44:23 51:10,18,25 52:5                                              20:3,17 56:12 60:6 65:7 133:10
                                      assignment 36:5
  101:13,15
                                      assist 132:2
 annually 63:21                                                                              B
                                      assistant 8:20 9:23 21:1 36:11,
 answers 46:6
                                       18 44:10,12
                                                                           B1 59:7
 anymore 137:25
                                      associate 130:18
 apologies 93:18                                                           baby 127:19
                                      assume 33:22 42:8,9 43:4
 apologize 25:24 72:17 107:16                                              bachelor 127:15
                                      assumed 11:5
 appeal 17:7                                                               back 15:2 18:8 22:14 30:21 38:17
                                      assuming 72:10                        53:14 54:15 76:19 84:12 94:2
 appears 52:24 63:4 117:12                                                  98:24 99:8 100:6 104:4 125:16
                                      assumption 42:11
                                                                            127:14 128:14 129:18 137:2
 applicable 79:13
                                      attached 21:2 29:22 31:12             138:19 139:24 141:9
 applicants 65:1
                                      attention 28:9 29:7 81:3             backfill 138:12
 applied 40:12 74:22
                                      attentive 17:20                      background 64:25 66:1 68:3,4
 applies 38:23                                                              126:6
                                      attorney 6:5,7 90:21 91:17 92:4,
 appointed 33:16,19                    6,8 93:11                           bad 28:16 121:24
 appointment 42:18 43:18,22           attorneys 24:13 72:19                barrier 65:12
 approach 132:1                       audit 14:12,13,18,25 15:6,8 16:6,    based 64:2 94:12 102:4,7,9
                                       22 17:25 22:21 24:8 26:18 27:6,8,    104:25 114:11 133:24 135:17,22
 approval 57:9
                                       16,17,18,23 28:1 30:3,13,16          139:12 140:10,17,25
 approve 68:6                          32:10 37:17,20,24 76:4 103:7,17,
                                                                           basically 15:10 69:19 84:24
                                       22 106:11 108:9,10 109:9 111:22
 approximate 95:6                      112:1 116:1 123:2,8,15,23 124:21
                                                                            97:13 120:6 128:8

 approximately 7:15 8:19                                                   basis 28:5,23 32:9 49:4 57:19
                                      auditor 30:8 74:19
                                                                            59:2 61:11 90:8,13 108:15 113:11
 April 6:3 32:4 40:20 96:9 99:8,21,   audits 15:9 18:23 19:22 21:20         119:5 121:21 130:17 132:17
  25 100:10
                                       22:13 26:21 27:4 103:13 104:2        141:2




                       Briggs & Associates 615/482-0037
                             Nashville,
Case 3:22-cv-00093 Document 37-2   FiledTennessee
                                         05/25/22 Page 145 of 162 PageID #: 3127
BOZA PLEASANT-BEY vs STATE OF TENNESSEE
WALTON, JON on 04/08/2021                                                     ·Index: Bates..classifications
 Bates 25:25 26:11 29:3,23 53:5,     breakdown 56:15                     center 7:8 68:16 69:10 128:4,9
  10 55:2,3 59:7 60:8 62:8 64:17                                          135:11,25 136:13 137:5,9 140:23
                                     Brentwood 12:8
  66:19 73:15 80:14 83:15 85:9,17                                         141:6
  87:4 93:12 94:16 96:5 99:21        briefly 99:5
                                                                         central 55:12 59:8 68:16 69:10
  103:2,4 108:5 109:25 111:16
  113:25 115:23
                                     broad 118:17                         120:11

                                     broke 111:2                         Centurioin 129:10
 began 6:2 33:20,23
                                     broken 28:4                         CEO 12:4
 begin 137:1
                                     bullet 63:5                         certificate 72:4
 beginning 29:21 36:10 41:11
  77:25 113:24                       bulletin 45:20                      chairperson 14:2 15:17 17:6,25
                                                                          18:3,9 19:19 20:4,7,9,12,16,21
 begins 53:5                         bullets 115:22                       21:7,9,11,16,18 31:14
 behalf 19:2 45:21 104:22 107:10     bunch 77:19                         chairperson's 31:13
  108:9
                                     Byrd 8:3,4,8,12,14,17 9:1,6,10,     challenge 135:18,20 137:21
 Behavioral 109:14,18,22 111:4,       13,16 10:3,4,7 97:9 103:1 125:16
  8,12 112:11,14                      130:13                             challenges 140:21 141:1,5
 Benton 126:12                       Byrd's 10:10 97:5 125:21            changed 33:25
 Bethel 127:17                                                           chaplain 67:17
                                                      C
 biannual 14:19,25 15:6 26:21                                            chaplains 67:19 68:3
  27:4,8,17,20 28:11,23 29:4,12,13
  30:6 32:2 37:17 48:12,25 49:2,3    C-O-M-P 56:9                        characterized 96:15
  103:18 116:8 119:5 120:24          C-POD 139:10                        charge 42:7
 biannually 14:15,22 114:15          calculates 85:11                    charts 108:16
 bimonthly 81:24                     call 72:12,15,19,25 122:1 137:6     chat 24:14 50:23 53:1 73:19
                                                                          102:23 113:20 122:22
 bit 24:7 95:8 104:14 106:18 126:5   called 13:12,13 28:2 59:9 65:14
  134:24                              71:5 126:12 128:7 129:10 136:17    cheaper 101:18,23 102:2
 bleed 103:17                         141:4                              cheat 13:13
 blue 45:22                          Camden 126:12                       check 107:2 125:14
 board 65:3,6,9,18                   campaign 140:6                      checked 31:1
 bold 38:25                          cap 39:19 41:10,11                  checking 116:18
 bolded 24:24 39:14 40:16            captured 28:11                      checks 64:25 66:1 68:3
 bonuses 138:25 140:8                care 56:16 129:11                   chemical 70:22
 book 15:20 16:10,20                 career 126:24                       chief 130:18,19
 boss 81:16                          Carolyn 47:16 81:16,18,21 82:2      children 126:21 127:18
                                      121:12
 bottom 53:12,15,17,18,20,25                                             chose 107:6
  80:14 85:2                         carry 139:11
                                                                         Chuck 11:16,23
 boy 126:23                          carrying 139:11
                                                                         circular 76:6 104:15
 Branstetter 6:10                    Carter 46:21 130:9
                                                                         cited 75:5
 bravo 138:18                        case 15:17 126:4
                                                                         clarify 28:3 70:22
 breach 69:21 70:21 75:13 122:5,     caused 35:14 136:21
  7,10,15                                                                Class 68:14,17,18,23,25 69:1,4,
                                     CCI 53:5,10 54:4 55:4 59:7 60:8      7,9,12,13 70:3,6,17
 break 13:15 50:7 98:16,20 99:2       62:8 64:17 66:19
  126:6 141:8                                                            classifications 69:6
                                     CDR 72:23,24



                       Briggs & Associates 615/482-0037
                             Nashville,
Case 3:22-cv-00093 Document 37-2   FiledTennessee
                                         05/25/22 Page 146 of 162 PageID #: 3128
BOZA PLEASANT-BEY vs STATE OF TENNESSEE
WALTON, JON on 04/08/2021                                                           ·Index: clause..copies
 clause 41:2                        complete 78:7 82:15,18,21 83:2      contact 70:14,15
                                     84:12 95:19 114:23
 clear 29:20 31:19 48:25 73:9                                           contained 58:3 124:7 133:19,25
                                    completed 14:4 16:25
 cleared 66:2                                                           context 105:18 133:14
                                    compliance 7:11,12,19 12:11
 Cline 126:14                                                           continue 29:21 36:13 37:24
                                     13:10 19:3,15 22:12 23:3 28:8
                                                                         80:12 81:5 82:12 88:9 98:1 116:7
 clinic 108:10 112:2                 32:13,18 36:13,14,20 37:3 40:1
                                                                         138:23
                                     49:17,24 67:3 76:5 78:8 82:17
 clinical 108:9,14,17 109:3          92:24 97:3 98:4,12 102:14 103:7,   continued 46:25 91:25
  110:25 112:17,23 113:17
                                     13,22 104:2 106:2,11 112:10,23
                                     118:22 119:14 120:12 121:15
                                                                        continues 37:24 122:1
 clinicians 108:12
                                     125:4 133:13,15,21 134:2,8,18,21   continuing 62:22
 close 93:4 137:2 139:3              135:8
                                                                        contract 7:5,9,10,11,12,19 12:11
 closed 138:15,16,19                compliant 19:17 22:16,21,25          13:4,6,10 14:10 19:1,2,4,10,12
 closures 61:5                       31:3,21 52:6 102:17 113:8,9         23:3,5 28:20 29:1 31:1 32:13,18
                                     114:11 134:10,12,15,16              34:24 36:3 40:13 47:17,25 48:6
 clothing 12:16                                                          52:9,18,23 54:7,17 59:19 61:7,9,
                                    complied 46:1
 clue 100:25 101:2                                                       14,15 65:25 66:19 67:23 68:2,9,
                                    compound 131:24 132:14,22            14 69:8 70:12 71:19 72:23 74:21
 Cockrill 20:18,20,24,25 43:6,8      133:2,7 139:8                       81:4 82:17 86:9 89:23 97:15
 codes 58:5                                                              102:13 105:24 106:1 110:8
                                    comptroller 124:18,21
                                                                         114:10 118:14,17,20,25 119:8,13,
 collection 29:17 113:24            comptroller's 123:2,8 124:9          19 120:5 121:10,15,16 122:5,8,
 collective 24:18 25:20 26:5 73:7                                        11,15 124:12,14 125:4 129:20
                                    computer 22:5 58:12,19 71:2,4,5
  107:24 111:16                                                          130:4 133:16,22 134:3,7,12,17,25
                                     116:24 117:2
                                                                         135:6
 colon 32:1                         concentration 12:16 127:16
                                                                        contracted 90:25 107:17
 comb 15:21                         concern 82:2,4
                                                                        contractor 48:10 60:12 61:7
 combined 24:20                     concerns 18:18                       63:7,12 64:23 65:1 66:25 77:15
 comfortable 22:22                                                       91:8 107:11 114:11 117:1 118:22
                                    conclusion 100:9
 command 97:15                                                          contractor's 63:19 77:13 81:3
                                    conditions 11:12                     87:21
 Commissary 12:19                   conduct 14:13 36:12 107:1           contractors 119:12
 commissioner 6:14 9:23             conducted 18:23 36:19 37:1,5        contracts 91:1 118:23
 commissioner's 69:20                48:13 116:9
                                                                        contractual 7:21 63:17 102:12
 common 34:19 136:8                 confirm 53:15
                                                                        contributing 89:19
 commonly 43:5                      confuse 14:23
                                                                        control 11:5 23:24
 communicated 47:3                  confused 48:11
                                                                        convenience 73:6
 communication 69:10                confusing 14:18
                                                                        conversation 17:21
 communications 68:16               Congratulations 122:2
                                                                        conversations 9:12,16 18:24
 comp 56:5,10,11,14,20 57:12        consideration 101:6                  37:2 47:8,12,16 81:20,25
  59:10 61:20,22                    considered 60:4 63:5,6,7 70:20      conviction 129:4
 company 107:18 128:7 129:10         79:9 111:1,12
                                                                        cooperative 131:6
 compared 84:14                     consistent 41:3 86:13,14
                                                                        coordinator 20:16 33:13,15,18
 compensate 136:4 138:22            consistently 77:2 138:11             34:7 35:11,14,22 41:24 42:6,18,
  139:10                            constitute 78:13                     21 43:19,23 46:12
 complaints 18:13 66:7,10,16        constitutes 70:17                   copies 22:4 58:14 84:13



                       Briggs & Associates 615/482-0037
                             Nashville,
Case 3:22-cv-00093 Document 37-2   FiledTennessee
                                         05/25/22 Page 147 of 162 PageID #: 3129
BOZA PLEASANT-BEY vs STATE OF TENNESSEE
WALTON, JON on 04/08/2021                                                      ·Index: Corecivic..deposition
 Corecivic 6:18 9:19,21,24 10:20      County 54:21 55:8,14 63:14          day-to-day 105:19,23 108:15
  11:15 12:2,4,6,11 32:15 33:4         90:21,25 91:3,17 126:13             141:2
  34:15 43:10 45:25 46:5,10,17
                                      COURT 6:3,19                        days 58:6,7 63:10 74:25 79:18
  49:17,24 51:22 54:7 55:16 58:14,
                                                                           83:22 85:7 87:10 89:5 92:20 94:6
  17 66:9 77:2,11,21 78:1 79:19       cover 99:18 100:4 106:5 110:4
                                                                           100:12 138:25
  80:10 81:10 82:20 86:21 88:17,24     111:23
  89:24 91:1,18 93:4 95:14,18 98:4,                                       death 70:19 72:3,4 129:6
  11,13 99:14 100:15 101:18
                                      covered 90:19 95:6 97:18
  104:12,16 105:14 107:2 110:19,
                                                                          death-row 129:7
                                      covering 85:19 87:5 89:9 95:4
  25 112:6,22 113:16 114:13,17,22      108:20 111:3,8 112:11              deaths 70:23 71:8,12,17
  115:6 116:9,14,20 123:14 124:22
  126:4 130:6 133:21 134:2,10,15      covers 74:16 116:1                  Deceased 71:6
  139:17 140:2                        CR 71:9                             December 14:20 26:19 27:7,16
 Corecivic's 34:6 83:1 97:20                                               28:13 30:14 36:11 73:24 83:16
                                      created 51:21,22 69:17 90:2
  99:12                                                                    85:19 114:3,16
                                      criminal 68:4
 corner 26:2 53:12,18,20 73:16                                            decide 23:12 137:25
  93:13 96:6                          critical 61:5 74:21 75:1 83:23
                                                                          decided 92:3
                                       87:11 93:23 94:7 96:14 133:9
 corporal 128:18                       137:3,12                           defendant 6:13
 correct 15:7 18:22 19:24 25:17,      current 7:4 8:2,3 20:4              defense 6:8 91:10
  18 28:8 31:23 43:20 46:3,7 50:5
  51:24 58:10 68:24 69:2 79:2,5       curriculum 128:21                   defer 22:15 38:14 70:25 104:4
  81:7 89:6 91:20 92:9 93:9 94:23     customer 102:14                     deficiency 39:18 41:3 44:22
  95:6 96:25 103:12 104:10 107:10                                          72:23 75:18 77:22 81:8
  119:10 121:13 123:22 125:5          customer's 102:17
  126:16 129:24 130:15 133:17,22                                          deficient 31:18
                                      cut 56:4
  134:4,8,13,18,19 135:16 137:16                                          defined 119:8 124:10
  138:5
                                                      D                   definition 72:2 113:7
 corrected 42:15 43:16
                                                                          definitions 63:4
 Correction 6:14                      daily 8:1 44:10 60:23,25 74:19
                                       121:5,6,21 131:21 132:17 133:1     degree 127:15
 Correction's 31:21
                                      damage 32:11 91:11 119:23           delay 90:2
 correctional 7:8 52:10 105:12         120:16,17
  121:11 126:25 128:3                                                     deliver 55:24
                                      damages 32:4 40:19 91:4 102:19      demise 126:14
 corrections 7:22 9:18 32:11
  36:7 76:9 90:25 91:12 103:20        dash 24:25                          deny 68:6
  105:17 107:17 126:24 127:12,25
                                      data 15:6 89:18 91:19               department 6:13 7:22 9:18
  128:2,22 129:12 140:3
                                      date 7:16 26:5 27:10,15 31:13,14     15:16 31:21 32:10 36:7 76:9
 corrective 32:15,19,21,23 33:4,                                           90:24 91:12 103:19 104:7,13,23
                                       40:10,11 53:19 75:7 77:20 78:18
  7,14 34:5,6 35:5,16 36:2,4,10                                            107:17 113:3 127:12 128:22
                                       79:18 86:6
  37:4,11,22 38:23 41:1,5,6,11,14,                                         129:12 132:4,9
  16,23 42:14 43:15,23 44:3,6 45:5,   dated 25:5,13 26:13 29:3,25
  10,17 46:1,5,9,17,25 47:4 77:10,     30:10,22 39:10 44:15 49:15 73:24   department's 105:8
  15 78:1 81:6 91:13 99:13 106:15,     83:16 87:4 89:8 103:6 108:19       departmental 67:4
  19,21,25 107:2 139:23                110:1 111:19 114:3,16 115:24
                                       123:24                             depending 18:3 24:11
 correctly 16:15
                                      dates 14:4 58:6,9 77:19 89:19       DEPONENT 141:19
 cost 99:23
                                      day 17:11 48:18 57:10 58:24         deposed 6:24
 costing 100:14
                                       70:8,9 72:13 78:11,12 81:23 86:3   deposition 6:1,6,20 13:15,18
 costly 102:15                         132:20 136:12 137:13 138:13,19,     23:17 50:23 52:22 72:7,11 73:2,5
                                       20                                  103:23 117:6 119:19 123:1
 counselor 84:20



                       Briggs & Associates 615/482-0037
                             Nashville,
Case 3:22-cv-00093 Document 37-2   FiledTennessee
                                         05/25/22 Page 148 of 162 PageID #: 3130
BOZA PLEASANT-BEY vs STATE OF TENNESSEE
WALTON, JON on 04/08/2021                                                  ·Index: depositions..equipment
 depositions 6:4                    discuss 97:8,14                     earlier 10:19 27:3 40:25 50:16
                                                                         77:9 126:5 131:11
 describe 15:8 40:6 75:5 78:1       discussed 11:12 46:18 47:19
  79:22 106:18 108:3 118:16          50:17 77:9 97:11,19 99:11 123:20   easier 24:20
  130:21 138:9 140:5
                                    discussing 32:14 35:8 48:3          easy 57:1 58:16
 describes 119:22                    119:18 123:12
                                                                        Ed 129:1
 describing 25:3                    discussion 117:9
                                                                        education 127:7
 description 18:13,15 33:4 100:8    discussions 9:9 10:2,6 46:16
                                                                        effective 39:20
  107:12,15                          47:23
                                                                        efforts 139:17 140:1,5,12,18
 descriptions 13:1                  displeasure 82:8
                                                                        egregious 94:9
 designate 67:1                     distributed 28:20,25
                                                                        Elizabeth 20:11 21:3,6 33:20
 designated 67:10 92:23 111:5       divorce 128:6
                                                                         34:7 42:10
  118:21,23
                                    document 23:16,20,24 24:4,14,
                                                                        emergencies 61:2,3 136:18
 designates 68:18                    23 26:4 27:7,17 30:11 33:11 51:3
                                     52:22,25 53:4,9 73:4,14,23 82:12   emergency 60:13,18 69:21
 detail 24:12 82:14 106:18 115:22
                                     83:14 85:17 87:3 94:15 96:5         137:24 141:4
 detailed 12:15 13:24 41:4,13        102:22 103:2,4,11 104:24 106:15,
                                     22 107:10,23 108:4,7 111:15
                                                                        emergent 69:18
  124:13
                                     113:20 114:5 115:23 117:23         emphasizing 40:3
 detailing 41:8 121:6                118:20,22 120:9 121:13 122:22,
                                     25 123:5                           employed 21:4 58:22
 determination 31:17
                                    documentation 31:25 37:6            employee 12:18 57:16,17 58:5
 determine 43:9 66:1 78:9 86:3
                                     40:17 69:17 76:17,22 82:15 83:2     78:16 113:15
  91:3 114:10
                                    documented 24:12 44:23 71:10        employees 47:13 62:13,23
 determined 21:16 22:11 39:24
                                     75:19 84:17 97:12 104:5,11          67:16 84:16 86:11,12 136:5
  71:12 75:11 119:14
                                     115:11 122:17                      employment 10:10 33:23 78:20
 determines 28:14 76:10 91:12
                                    documenting 32:19 37:25 48:19       encounters 130:24
 determining 67:9                    82:5
                                                                        end 28:25 48:18 53:9 69:15
 develop 54:20                      documents 24:19 73:7,10 99:6         119:2,3 120:23
 development 128:21                  108:17 139:24
                                                                        ends 53:9
 dialogue 17:18 48:3                Dotson 9:24
                                                                        ensure 7:20 13:8,25 14:1,6 16:14
 difference 20:15                   doubled 96:24                        17:1 18:6 19:15 28:16 32:21 36:4
                                    download 24:15                       37:23 41:25 42:14 43:16 46:11
 direct 81:17 132:3
                                                                         48:1 68:13 69:2,18 74:19,20 82:4,
 direction 17:20                    drafted 28:6 76:21                   17

 directive 69:20                    draw 29:6 81:3                      ensures 48:6
 directly 55:24                     drive 57:5                          ensuring 47:5 82:14
 director 6:15 10:24 11:18 28:21    drop 102:22                         entered 19:23 20:1 42:1 69:14
  29:1 32:23 47:17,24 48:6 59:19    due 11:1 31:14 32:12 34:18 40:10    entire 15:23 22:7 83:11 95:12
  89:23 121:10                       45:7 61:3                           112:21 113:15
 directs 74:18                      duly 6:24                           entirety 52:1
 disciplinary 36:6,16 38:10 43:9    duties 101:6                        entry 68:6 69:2 89:18 91:19
  56:16
                                                                        equals 39:25
 disciplined 8:14                                    E
                                                                        equipment 12:21
 discrepancies 82:13 91:9
                                    e-mail 116:25 132:8


                       Briggs & Associates 615/482-0037
                             Nashville,
Case 3:22-cv-00093 Document 37-2   FiledTennessee
                                         05/25/22 Page 149 of 162 PageID #: 3131
BOZA PLEASANT-BEY vs STATE OF TENNESSEE
WALTON, JON on 04/08/2021                                                                    ·Index: Erin..force
 Erin 6:17 126:5                     explain 31:8 32:17 59:25 69:4        fashion 14:5 92:8 136:21
                                      74:14 84:9 87:8 108:10
 error 107:10                                                             feature 102:23
                                     explanation 41:4,13,15,19 45:9
 errors 89:18                                                             February 30:10 44:15 49:16 87:4
                                      77:20
                                                                           89:9,12,14 90:3 91:15 92:11
 essential 74:17 75:11,15,16
                                     explored 123:15                       108:19 111:19 115:24
  79:9,14 92:23 109:10,15,19,23
  111:1,5,13 112:11,15 113:7,10,17   express 88:5                         feedback 121:17 132:12
  119:11,18 122:16 134:7,12,16,20
                                     expressed 82:2                       feel 16:15 22:22 98:21 105:2
 essentially 14:6 17:8 41:10                                               133:2
                                     extended 90:10
  136:20
                                                                          feels 48:8
                                     extent 47:23 98:3
 establish 65:2
                                                                          felt 133:5
                                     extenuated 29:10
 evaluate 114:13 118:21
                                                                          field 128:19
 evaluation 51:10,18,25 52:5
                                                     F                    figure 104:15 138:4
  87:22
                                                                          file 13:7 18:10 57:5 71:1,2
 event 69:7,11 120:16,17 137:12      face 140:21 141:2,4
                                                                          filed 17:23 18:2
 events 119:23                       faced 140:22 141:5
                                                                          files 17:2 118:4
 eventually 120:21                   facetious 50:12
                                                                          fill 100:15 101:19 102:11 137:2,
 EXAMINATION 7:1 126:2               facilities 89:24 105:14 118:14        13 139:18
 examined 6:24                        124:22 137:7
                                                                          filled 60:2 63:10 75:1 79:17
 examples 70:16                      facility 7:20 11:6,24 12:17,18        84:23,25 87:11 133:9 135:7,8
                                      15:11,13 24:24 26:25 28:7,16,23      136:11
 exceed 63:21 64:3                    32:8,21 34:25 36:2 37:3,12 41:3,7
                                      42:17,20 43:10,18,21 45:13          final 28:6 72:3 103:7
 exceeded 79:24 100:11
                                      52:10,23 54:13 56:18 62:3 63:15     find 17:17 23:11 28:9 74:23 131:8
 exclusively 97:18                    67:2 68:5,19 69:21 70:6 80:16        138:6
 excuse 63:14 81:10 103:2 110:7       81:7 86:4,9,16 89:16 90:10 98:9
                                      99:22 100:22 104:23 105:20,25       finding 31:16 32:1,12 33:1,12
  116:15
                                      106:20 107:9 108:14,18 120:13        35:10,23 37:13,16,24 39:6,19
 executive 9:17,20 63:6               122:15 123:25 125:16 131:22          40:13 41:3 47:24 48:3,18 49:13
                                      135:13 136:12 137:15 138:7,24        74:17 78:13,19 79:10 83:10 91:10
 executives 11:15 12:2                                                     113:10 117:13,14,15,16 120:7,8,
                                      139:14 140:3
 exhibit 13:18,19 23:17,18 24:18                                           10 121:2
                                     facility's 37:22 42:4 47:4
  25:20 26:5 29:8,14 50:22,25
                                                                          findings 32:20 41:7 47:3 89:19
  52:21,22 53:2 59:7 73:5,7,12       fact 11:2 92:22 97:20 124:25          104:24 108:9
  102:24 103:23 107:24 108:1
  111:16 113:21 117:6,8 122:19,20,   facts 8:9                            fine 98:23 99:1
  23 123:1                           failed 41:24,25 46:9 113:11,12,16    finish 16:2
 existed 123:11 124:17               failure 114:6                        firing 94:20
 expectation 102:17 104:7            fair 16:8 19:21 25:19 49:16,23       Fisher 105:11 121:12
  107:18                              68:22 77:1,19 95:4,12,20 96:2
                                      98:3,10,11 109:2 110:19,24          focus 82:19
 expectations 97:14 103:20
  104:1,13,17                         112:21 113:14,18 116:8 120:19       follow 132:7
                                      123:20 140:10,14,17
 expected 97:15                                                           follow-up 18:5 37:15,19 46:10
                                     fairly 16:23 138:22
 experience 127:25 135:17,22                                              font 38:25
  141:1
                                     familiar 19:8 50:20 52:9 55:7
                                      60:16 103:13,16,19,21 139:17        Food 12:21
 expert 50:20                         140:1
                                                                          force 70:21,22




                       Briggs & Associates 615/482-0037
                             Nashville,
Case 3:22-cv-00093 Document 37-2   FiledTennessee
                                         05/25/22 Page 150 of 162 PageID #: 3132
BOZA PLEASANT-BEY vs STATE OF TENNESSEE
WALTON, JON on 04/08/2021                                                             ·Index: foregoing..hope
 foregoing 6:1                       generated 22:2,17 23:5 25:8,16
                                      26:15                                                H
 foremost 69:23
                                     give 55:1 63:3 70:16 76:10 91:22
 forgot 79:1                                                              half 13:5,6
                                      98:25 118:5
 form 9:3 12:12 16:12 21:12 34:9                                          hand 19:14,15
                                     giving 13:8
  35:17 38:4 42:24 43:1 45:18
  49:20 50:1,2 54:9 57:19 62:17,24   goal 137:4                           handbook 51:11 52:7
  64:5,11 65:10,19 75:22 77:5 79:6                                        handle 66:10
                                     good 42:11 98:25 121:24,25
  80:1,20 83:5 87:16 88:18 91:5
  92:1 93:6 94:1,10,11,22 95:21      gotcha 39:7                          handled 112:2 114:17
  96:17 97:22 98:6,14 100:17,18,23                                        handles 66:16
  101:4,12,21,22 104:3,19,20 109:5
                                     grab 57:7 58:21
  110:21 112:3,7,24 114:24 115:8,    grandchildren 126:22 127:21          happen 69:7 136:20 137:17
  19 122:12 123:18 124:2,3 125:6                                          happened 84:24
  136:21                             grandkids 127:3
                                     great 50:9 82:14                     happy 13:16
 formal 28:24 36:15 38:10 48:9
  108:8                              grew 126:9                           hard 57:5
 formally 8:6 90:16                  grievance 12:19 13:21,23 14:2,       Hartsville 7:7
 format 48:7                          6,8,14 15:1,17,24 16:9,10,19        Hashemian 6:13 73:1
                                      17:2,9,21,23,24,25 18:2,3,6,9,10,
 formated 48:7                        11,18,25 19:6,8,18,19 20:2,4,6,9,   hats 128:11
                                      12,15,16,21 21:2,7,9,10,16,17       head 10:1 15:16 18:21 132:9
 formatting 48:1
                                      22:12,24 25:21 27:19,25 28:2
 found 31:3,17 32:8 45:1 75:6         31:12,13,18 33:13,15,18 34:7        header 24:24 36:10 40:16 54:16
  82:20 83:1 84:3 109:2               35:10,14,22 39:4,5 40:9,10,12,14     62:12
                                      41:1,19,24 42:6,18,21 43:19,22      headquarters 12:6
 fourth 80:8 110:13
                                      44:11 45:1 46:12 47:13,20 49:1,
 frame 27:21 84:18                    17,25 50:17 51:6,10,11,19 52:7      health 56:16 108:16 109:14,18,
                                      106:8                                22 111:4,8,12 112:11,14 129:16
 frames 19:16
                                     grievance's 48:14                    heard 10:12,17 17:3 20:1 72:24
 freely 132:1                                                              123:12 140:7
                                     grievances 19:22 20:1 21:21
 frequency 70:7                                                           held 43:7 91:16 107:20
                                      26:9 31:1 36:12,19 39:23 48:22
 frequently 11:1,22 28:14             51:13 55:22 56:16 57:14,16,17       Herzfeld 6:9
                                      59:1,3 106:12,15
 front 24:23 30:11 51:2 53:5 73:15                                        Hey 73:18
  90:11 103:1,3 118:10 128:17        grievant 14:2 17:2
                                                                          high 127:7,9
 fulfilling 137:21                   grieving 31:16
                                                                          highlight 93:25
 full 33:10 136:2 140:15,19,22       group 29:10 108:12 126:23
                                                                          highlighted 93:22 96:14
 full-time 135:18 140:15             Guard 127:11
                                                                          hire 58:6,9 101:19 140:2,12
 fully 22:12,20                      guess 14:24 37:21 48:11,16 64:1
                                      76:7,12 81:17 90:17 91:2 100:21     hired 84:16 86:5,6,11,12
 function 65:17 124:1                 104:15 105:7,22 132:25
                                                                          hiring 94:20 128:10
                                     guidelines 62:2                      histories 68:4
                  G
                                     guiding 34:25                        holding 17:18 34:2
 general 19:11 62:2 133:11,13        guy 129:1                            Holly 20:5
 general's 81:19                     guys 129:6 138:3                     homicide 72:2
 generally 34:19 131:19 132:24
                                                                          homicides 71:22
 generate 21:21,25 22:16 27:22
                                                                          hope 121:25



                       Briggs & Associates 615/482-0037
                             Nashville,
Case 3:22-cv-00093 Document 37-2   FiledTennessee
                                         05/25/22 Page 151 of 162 PageID #: 3133
BOZA PLEASANT-BEY vs STATE OF TENNESSEE
WALTON, JON on 04/08/2021                                                                 ·Index: hour..item
 hour 69:9 72:14 98:19               including 124:22                     88:22 89:2 92:13 95:25 114:9,12,
                                                                          14 118:20,25 119:3,7,8,11,19
 hourly 101:14                       incomplete 83:2,4,9 86:16
                                      88:16,23 92:15                     instruments 13:4,12 28:3,21
 hours 80:16 85:11,14 86:25
                                                                          48:25 49:1 95:19 119:13 124:11
  99:14,22                           inconsistent 89:21
                                                                          131:23
 house 105:15 120:12 129:13          increase 94:13
                                                                         interact 130:1,3,5,11,16 131:12
 housing 138:14,23 139:7             independent 14:25 57:12 63:7
                                                                         interacting 106:1
 HR 43:11                            independently 24:15
                                                                         interaction 13:21
 human 66:14,15                      indication 94:3
                                                                         interactions 131:16
 hundred 22:25 75:17 76:5 92:24      individual 18:24 34:2 42:7 61:1
                                                                         interferes 107:20
  93:4 134:8,18                       66:2 120:15
                                                                         interim 121:20,23
 hygiene 12:16                       individuals 9:20
                                                                         interpret 23:12 42:20
                                     Industrial 128:4
                  I                                                      interpretation 35:19 43:4
                                     informal 10:4,8
                                                                         interrupting 25:24
 idea 122:18                         informally 8:7
                                                                         introduce 6:5
 identification 31:11 40:8           information 17:24 18:1 31:9,10
                                      48:1 56:13 58:3 60:24 120:21       investigating 34:25
 identified 21:22 22:14 56:24         124:7 125:3 126:6 127:16 129:17
  130:25                                                                 investigation 71:17
                                      132:7
 identify 22:17 52:6 58:16 82:6,13                                       involuntary 78:17
                                     informational 124:8
  84:15 89:25 91:8 107:9 109:11                                          involve 60:22
                                     initiated 44:7
 illness 137:24                                                          involved 9:11 36:7 65:24 66:6,
                                     injury 71:9
 impact 68:20 76:14                                                       11,12 67:6,9,13,17 71:16,20 74:1
                                     inmate 12:19 17:22 18:2,9 25:21      108:24 122:7 128:20
 implementation 105:22                26:9 31:16 40:13 45:1 48:13,22
                                                                         involves 17:9
 implemented 32:22 41:9,20            50:17 51:5,11 55:22 57:14 59:1
  45:17 46:5                          70:18,19 71:17 108:16              isolated 18:23
 important 69:16,24 75:21 79:3       inmate's 31:11,13 40:8,9            issuance 90:2
 improve 37:13 89:17 90:1            inmates 17:10,15 18:12,17,24        issue 24:9 32:24 39:21 74:23
                                      71:6 106:1 128:23,24 131:12,17,     87:8 100:9 130:25
 improvement 47:5 104:25              24,25 132:15
                                                                         issued 26:24 32:2,11,20 49:3
 improving 32:24                     inside 11:12                         77:1 89:15 116:19,20
 improvise 136:25 137:14 138:3       inspections 131:22                  issues 22:18 23:1 28:8 93:22
 in-depth 45:8                                                            97:20 123:15
                                     inspector 81:19
 inaccurate 83:3,9 86:16 88:17,                                          issuing 32:25 48:9
                                     instance 67:17 88:16
  23 92:15                                                               item 15:19 37:14,19 38:21,24
                                     instances 22:23 31:2 34:21
 incident 68:8,14,17,18,19 69:10,                                         39:2,3,4,6,14 41:1,2,16 44:18
                                      39:23 133:8 136:23
  14 70:17                                                                45:7 46:4 60:11 61:6 66:22 74:11,
                                     institution 51:9,15 68:7,20          14,16 75:11,12,15,16,17,21,25
 incidents 68:23 69:1,5,6 70:3,6      128:15                              76:2,4 78:4,7,9,14 79:9,13 81:6
 include 12:15,17 14:1 54:21                                              84:8,11 85:24 86:18,19 87:5
                                     instructor 128:20
  61:2,10 75:7 78:17 86:6                                                 88:10,21 89:1,11 92:11,12,16,18,
                                     instrument 13:24 14:8,14 15:1,       19 93:15,16,19 94:17 95:1,14,15
 included 45:21 48:2                  19 22:2,5 27:19 31:2 48:15 49:2,    97:3 98:5,12 100:7,8 106:14
 includes 56:15                       6,11 74:18,22 75:10 78:5 79:14,     109:14,17,18,21,22 111:3,4,8,11,
                                      16 81:6 83:20 84:2,9 85:3,21,25     12 112:11,12,14,15 113:11,12




                       Briggs & Associates 615/482-0037
                             Nashville,
Case 3:22-cv-00093 Document 37-2   FiledTennessee
                                         05/25/22 Page 152 of 162 PageID #: 3134
BOZA PLEASANT-BEY vs STATE OF TENNESSEE
WALTON, JON on 04/08/2021                                                 ·Index: item-by-item..maintained
  114:19,20 115:4 134:12,17           kind 11:2,5 12:25 14:18,25 15:21   limited 16:9 32:25 54:21
                                       32:14 36:10 56:13 58:3,25 77:10
 item-by-item 113:11                                                     limiting 138:22
                                       87:23 107:25 108:3 116:23 128:1
 itemized 104:18                       129:12 138:9                      liquidated 32:3,11 40:19 91:11
                                                                          102:19 119:23 120:16,17
 items 12:15 13:24 54:23 63:5         knew 129:7
  92:23 93:3 96:1 97:12 103:17                                           list 12:15,25 13:3,9,12 84:16
                                      knowledge 9:22 19:11 71:15
  109:8,10 116:5 119:11,18 122:16                                         104:18
                                       105:7,8 112:20 133:21
  134:7,20
                                                                         listed 27:6,15 48:14,23 54:24
                                                                          55:19 61:12,19 84:21,23 109:23
                                                        L
                  J                                                       111:16

                                      labeled 58:19                      load 53:1
 Janna 6:9 27:9 29:6 38:17 55:1
  73:18 98:21 118:3                   lack 46:10                         local 65:2,5,8,17
 Jannell 20:5                         landed 18:6                        locate 57:1 58:16
 January 14:20 20:8 25:13 26:13       lapsed 90:12                       located 7:6 12:7 113:16 126:12
  29:3 30:3,22 32:3,5 33:3 40:20,22                                       132:15
                                      laptop 57:6
  49:15 77:25 87:5,9,10 88:24                                            log 15:20,23,24 16:10,20 19:18,
  116:2 123:7                         larger 29:9                         23 20:2 59:3
 Jason 10:19 11:5,9,13                largest 139:1                      logistics 128:7,8
 Jennings 6:10                        late-filed 13:18,19 117:5,8        logs 15:18 60:12,18
 job 7:4,9,18 11:17 12:25 17:12,16    layman's 105:22                    long 7:13 8:17 20:6,12 24:5 57:8
  18:13,15 21:10,17 23:7,9 88:6                                           58:22 72:7,9,10 81:25 126:19
  107:12,14 123:25 125:4,22
                                      lead 132:4
  133:14,24                           leadership 9:17,21 127:15          long-standing 97:21
 jobs 12:19 131:9                     learn 126:25                       longer 21:6 24:7 33:12 34:17
                                                                          35:2,10
 Joe 6:17 126:3                       learned 17:17
                                                                         looked 25:20 49:14 125:2
 John 105:11 121:12                   leave 8:5,9,12,17 9:1 10:4,8,13
                                       11:3                              Lopez 20:11 21:3,6 33:20 42:10
 joined 127:10                                                            43:8
 Jon 6:23 7:3                         Lee 9:24
                                                                         Lopez's 34:8
 Jordan 47:17,24 81:17,18,21          left 12:24 75:2 83:24 87:11 94:8
                                       96:14 128:5,9 129:16              lot 17:17 48:3 55:24 72:21 79:25
  82:2 121:12                                                             80:19 89:18,19 101:16 103:17
 July 25:5 26:18 27:7,16 28:12        left-hand 73:15 93:13 96:6          124:11,13 126:25 128:10 133:12
  30:13 32:2 126:23                   lengthy 24:10                      lower 69:5
 June 30:4 40:22 41:20 63:21          leniency 76:11                     lunch 99:1
                                      letter 32:4 122:4                  luncheon 117:21
                  K
                                      letters 40:20                      Lybrunca 20:23,25 43:6
 K-A-I-S-E-R 46:23                    level 14:3 60:3
 K-A-R-I 46:23                        levels 12:18 97:8                                  M

 Kaiser 46:21,23 130:9                liable 107:21                      Macon 7:7
 Kari 46:21,23 130:9                  liaison 61:8,10,14,15 78:15        made 139:18 140:2,18
 Keeton 11:16,23                      life 136:20 137:24                 maintain 58:14 59:5 60:12 65:2
 Kelly 81:19                          light 80:25                         139:14

                                      limit 98:22                        maintained 14:5 19:19



                       Briggs & Associates 615/482-0037
                             Nashville,
Case 3:22-cv-00093 Document 37-2   FiledTennessee
                                         05/25/22 Page 153 of 162 PageID #: 3135
BOZA PLEASANT-BEY vs STATE OF TENNESSEE
WALTON, JON on 04/08/2021                                                  ·Index: maintaining..noncompliance
 maintaining 135:18,20 136:1          medical 71:10 129:11,13               month 33:24 56:19 74:25 78:11,
                                                                              19,23 79:23 83:17,23 84:14,15
 maintains 120:5                      Medlin 9:25 10:19 11:5,9,13,22
                                                                              85:4 86:4 89:21 92:19 93:11 94:6
 majority 83:13                       meet 86:9 114:7 122:16                  95:17 96:21,24 97:5 100:10
 make 13:17 14:23 24:20 27:1          meeting 63:16 97:10 102:12            monthly 54:22 56:5,13,20 57:12
  28:13 43:23 73:18 95:5 101:9,10      104:1,6,13,16                          58:2,17 59:2 61:11 78:23 84:3,23
  117:5 120:21 135:19 137:15                                                  85:18 89:7 90:5,7,13 115:7
                                      meetings 11:9 107:1
  138:4
                                                                            months 7:15 14:20 36:14 76:21
                                      member 33:12,15 35:2,9 61:2
 makes 28:18 120:25                                                           94:12 95:4,13 123:24
                                      mentioned 10:19 14:8 19:18            morning 25:3 50:17 72:21
 making 133:1,7
                                       27:10 57:11 97:17 106:4 130:10
 managed 118:14 124:22                 131:11                               moved 49:5
 manager 46:19,20 128:10              met 13:25 126:14                      moving 89:7
  129:14,17 130:7
                                      method 84:13 89:17 120:6              multiple 24:19 29:13,18 73:10
 managers 37:3 46:24                                                          113:16 132:19
                                      middle 28:17
 managing 10:24 11:18 54:8                                                  multitude 97:12
                                      military 127:10
 manner 16:25 42:1
                                      minimum 64:23                                           N
 Maples 6:9 7:1 9:5 12:22 13:17,
                                      minutes 50:10
  20 16:17 21:14 23:15,19 24:13,16
  26:1,3 27:11,13 34:12 35:20 38:7    misspoke 27:11                        named 8:20 129:1
  43:13 45:24 49:22 50:3,6,9,13,15,                                         names 58:6 86:5
  22 51:1 52:25 53:3 54:11 55:3,6
                                      misunderstood 57:24
  62:20 63:2 64:8,15 65:15,21         modified 48:8                         narrative 120:14
  73:13,20,22 76:1 77:8 79:11 80:5                                          National 127:11
  83:7 87:19 88:20 91:14 92:2 93:7    moment 63:23
  94:5,14,24 95:24 96:19 97:25        monitor 7:5,10,11,12,19 12:11         natural 72:2
  98:8,16,18,23 99:4 100:20 101:1,     13:10 19:2,4,6,10,12,15 23:3         nature 36:6 67:25
  7,15,17,24 102:3,21,25 104:8         28:14 31:1 32:13,18 34:24 36:13,
  105:4 107:22 108:2 109:7 110:23      20 61:16 63:24 65:25 67:16,19,23     NCR 25:2 27:20 28:6 29:4 32:2,5
  112:5,9 113:5,19,22 115:2,15,20      68:2,9,23,25 69:8 70:12,15 71:19       33:3,5 35:15 38:14 39:10 44:4
  117:5,10,18,20,22 118:5,7            72:6 81:4,5 82:12,17 86:9 91:9         77:12 83:10 90:2 104:5 109:11
  122:19,21,24 123:19 124:5 125:8,     103:18 105:24 106:1 110:8              110:9 120:9 121:1
  13,15,24 141:16                      114:10 120:5 121:15,16 124:12,       NCR's 28:20
 March 72:14 93:11 95:3,6,9            14 125:4 129:20 130:4
                                                                            NCRS 22:15 120:15
  96:13 116:2                         monitor's 31:17 32:10 36:3
                                       37:13 40:13 47:25 118:18             necessarily 136:11
 mark 122:19
                                      monitored 104:1                       needed 18:7
 marked 13:19 23:18 50:25 53:2
  56:23 73:12 102:24 108:1 113:21     monitoring 16:19,22 22:2,4            Nikki 6:12 72:16 73:1
  117:8 122:20,23                      28:18,20,21 29:1 32:23 37:14         NN 64:19
 married 126:17,19,20                  38:15 39:6 44:24 47:17,24 48:6
                                       54:17 59:19 64:24 67:6 75:10,12,     non- 97:2
 matter 36:6 132:10                    15,16,17,21 78:5 79:13,16 80:4,6,    non-critical 137:2
                                       9,25 83:19 84:2,9 85:3,21,25 86:7
 matters 43:10,11 69:12 70:6                                                noncompliance 22:15,17,18
                                       88:22 89:2,23 92:13 95:18,25
 Maximum 128:15 135:13                 110:8 114:9,14 118:14,20,25            23:4 24:25 25:2,11,21 26:9,12,24
                                       119:6,8,13,19 121:7,10 122:16          28:11 30:7 32:1,20 33:1 35:14
 means 32:8 35:3,13 44:22 90:17                                               36:14 38:1,9,11 39:21 40:4,17
                                       124:11 131:23
  92:23 94:20                                                                 44:11,15,18 45:8,14 46:25 47:13,
                                      monitors 13:4 14:10 19:1 23:5           20,22 49:14 72:22 74:4,11,14,16,
 measure 118:21
                                       28:22 68:15 89:23 121:6                23 75:19 76:17,20 78:4 79:13,22
 measures 139:23                                                              82:5 83:16 84:1 87:8 90:5 93:15,



                       Briggs & Associates 615/482-0037
                             Nashville,
Case 3:22-cv-00093 Document 37-2   FiledTennessee
                                         05/25/22 Page 154 of 162 PageID #: 3136
BOZA PLEASANT-BEY vs STATE OF TENNESSEE
WALTON, JON on 04/08/2021                                                ·Index: noncompliances..paperwork
  18,21 94:17 95:1 99:9,13 100:7      79:6,7 80:1,2,20,21 83:5,6 87:16    operate 18:16
  104:9,12,24 105:1 106:6 108:8       88:18 91:5,24 92:1 93:6 94:1,10,
                                                                          operated 24:24
  109:1,8,14 111:3 112:1,14 114:6     11,22 95:22 96:17 97:22 98:6,7,
  115:11 116:5,10,19 117:1,16         14 100:17,23,24 101:4,12,21         operation 138:23
  119:1,2,23 120:3,4,7,15,20,22       104:3,19 109:5,6 110:21 112:3,7,
  121:3 122:17 131:1,2 133:20,25
                                                                          operations 7:10 9:24 13:6 19:5,
                                      24,25 114:24,25 115:9,19 122:12,
                                                                            11,13,14 56:18 67:23 68:21
  134:5,22                            13 123:18 124:2 125:6,7
                                                                            70:12,14 71:19 105:15,17,19,21,
 noncompliances 21:22,24             obligation 102:12                      24 121:16 130:4
  116:20
                                     obligations 63:17                    opinion 80:22 88:1,5 102:1,6,8,
 noncompliant 32:1,9 37:25                                                  13,18 125:21 139:16
                                     observations 131:20 139:12
  38:21,24 39:2,3,14,19,24 45:2
  77:3 79:20 83:20 84:3,8 85:3,22,
                                      140:11,18                           opportunity 17:7 91:8
  24 86:18,19 87:6 88:10,12,21       observe 13:25 14:11,12 48:5          opposed 26:22
  89:1,12 92:11,12,16,18 95:14,15,
  18 96:11 100:9 109:2,17,21
                                     observed 50:14 91:9 99:3             opposing 13:6
                                      117:21 138:9 141:11
  110:20,25 111:8,11 112:6,15,18                                          opposite 120:25
  113:2,3 114:19 115:4               obtained 84:14
                                                                          order 15:23 61:24 62:1,2 136:4
 noon 98:21,25                       obvious 104:24                         137:2 138:23
 normal 68:21                        occasion 130:11                      orderly 14:5
 note 29:8 75:9                      occasionally 23:4                    orders 62:4,5
 noted 35:15 86:22 99:14,17          occur 24:11 70:3,7 131:24            organizational 127:15
  109:15
                                     occurred 9:13 38:2 40:11 77:21       outcome 72:3
 notes 71:1,7 78:5 94:3               120:10 125:1
                                                                          outcomes 108:15
 notice 79:8                         occurrence 69:9
                                                                          outline 72:4
 noticed 89:18                       occurring 139:13
                                                                          outlined 51:11
 notification 24:25 69:19 75:12      occurs 14:19 131:19
                                                                          outlines 61:1
 notified 61:9 69:9,11 70:10         October 33:16,19 74:8,9,23 75:1
                                      78:20,23 79:19,23 80:8,15 84:22
                                                                          overcome 136:25 137:15
 November 7:17 22:11 33:24
                                      95:9 110:1                          oversee 10:11 12:10,14 67:16,
  34:1 57:7 83:17,23 84:24 85:4,12
  112:19 129:23                                                             19,24
                                     off-the-record 117:9
 number 25:25 31:11,12 40:9          offer 138:24 140:9                   overseeing 32:14 67:7 71:16
  55:2 56:15 58:7 78:20,22 79:1                                           oversees 105:14
  80:14,23 85:11,14 96:14,21,23      office 7:6 13:1,2,7 55:12 59:8
  99:14 105:16                        71:3 81:19 113:15 120:12 124:9      oversight 16:9 18:25 69:25
                                                                            78:25
 numbers 45:20 89:20 96:1            officer 63:6 126:25 128:4,17,19
                                      138:19 139:9                        overtime 80:16,19 85:11 86:22
 numeral 118:19 119:9                                                       87:1 99:15,18,23,25 100:3,14
                                     officers 128:1 136:5 139:5,6,10
 nurse 126:21                                                               101:19 102:1,11,16 136:6,24
                                      140:3
                                                                            137:1 138:12,24
                                     official 22:1 121:2
                  O                                                       overview 56:18 118:17 121:14
                                     oftentimes 131:25
 Object 65:10 95:21 100:18           OMS 56:1,3                                            P
  101:22 104:20 115:8 124:3
                                     onboard 97:11
 objection 9:3 12:12 16:12 21:12                                          pages 24:5 29:9 62:22
                                     onboarding 97:13
  34:9,11 35:17 38:4 42:24 43:1                                           paid 99:18
  45:18 49:20 50:1,2 54:9 62:17,24   open-book 15:11
  64:5,6,11,12 65:19 75:22 77:5                                           paperwork 15:18 19:16



                       Briggs & Associates 615/482-0037
                             Nashville,
Case 3:22-cv-00093 Document 37-2   FiledTennessee
                                         05/25/22 Page 155 of 162 PageID #: 3137
BOZA PLEASANT-BEY vs STATE OF TENNESSEE
WALTON, JON on 04/08/2021                                                           ·Index: paragraph..process
 paragraph 31:25 33:10 35:1,8         permanent 60:12                      posted 61:3 140:7
  36:9 38:3,8 54:19 59:6 63:19 75:4
                                      permitted 107:5                      posts 74:21 75:1 83:23 87:11
  77:25
                                                                            93:23 94:7 96:14 136:11 137:2,
                                      person 34:17,22 35:4,22 43:7
 paraphrase 120:14                                                          12,13
                                       81:15 97:15 132:9
 parenthesis 39:14 119:24                                                  practice 16:6 89:25
                                      personal 12:20 57:6
 Parker 6:14 9:23                                                          practices 28:16
                                      personally 132:8
 part 9:20 17:12,16 18:13 29:4                                             precise 13:9
                                      personnel 63:6,19,20 64:3
  30:6,16 35:15 37:3 42:21 47:4
                                                                           predecessor 34:8
  49:7 78:14 83:13 108:23 112:18      pertains 120:18
  120:2 126:11                                                             prepare 61:7 72:7,9,10 73:1
                                      phone 72:12,15,25
                                                                            121:7
 partially 46:6
                                      physical 105:19
                                                                           prepared 55:16 98:1 121:5 134:1
 participant 34:24
                                      place 28:17 52:7,8 74:8 125:19
                                                                           preparing 51:12 74:1
 participate 37:22
                                      plaintiff 6:10
                                                                           present 10:8
 partner 126:4
                                      plaintiff's 6:7
                                                                           presented 29:8 45:21 125:11
 passing 17:13
                                      plan 32:19 35:5 36:3,4,10 37:4,
                                                                           pretty 120:25 140:11
 past 15:23                            11,22 38:23 41:5,6 42:13 43:15,
                                       23,25 44:3,6 45:5,10,17 46:1,17     previous 14:20 39:19 41:7,14,
 Patsy 126:14
                                       47:1,4 81:6 91:13 99:12 106:16,      23,24 42:6 46:9 74:18 76:20
 pattern 63:17                         21,25                                77:10 83:10 84:14 94:12
 Paul 56:9                            plans 32:22,24 106:19 107:3          previously 41:16 44:23 99:11,14
                                                                            130:13
 pay 100:21 101:19                    pod 138:16,18,19 139:3,11
                                                                           primarily 70:13 131:19
 paying 102:1,16                      pods 138:15,16
                                                                           primary 82:19
 pending 71:11                        point 18:4 29:16 32:10 37:15,18
                                       53:22 110:15 132:10                 prior 31:25 40:17 43:7 48:9
 people 100:22 101:19 136:10
                                                                            76:17,22
  137:1 141:3                         pointed 39:13
                                                                           prison 11:13 68:21 70:2 76:14
 percent 22:25 39:25 63:21 64:4,      policy 12:21 13:25 14:7 31:22
                                                                            128:4
  14 75:18 76:5 92:24 93:5 113:8       50:17 51:3 66:9 67:4 118:1,11,13,
  119:14 134:8,10,15,18                16                                  prisoners 132:14
 percentage 134:16                    Polly 6:17 25:24 73:18 91:24         prisons 135:11,18,20
                                       126:5
 percentages 59:20                                                         private 129:9
                                      population 17:18
 perform 65:17 131:9                                                       privately 24:24 118:14
                                      portion 45:5 52:2,4 76:23 77:12
 performance 21:10 34:23 87:24                                             problem 42:22 97:21 99:2
  88:6 118:22 123:8,23 125:22         position 7:13 17:5 22:24 33:13        106:11
                                       34:3,20 35:3,11 36:3 43:7 58:5,6,
 performed 124:21                                                          problems 136:1
                                       7 60:1 62:3 63:12 75:2 78:18,22
 performing 21:17 123:25 125:3         84:19,20,22,25 86:6 102:11          procedure 12:21 15:8,10 16:6,7,
                                       104:22,23 105:9 107:9                9 19:9,13 41:19 49:18,25 66:10
 period 26:18 27:6,16 28:6,18
  29:10,12 30:3,13 37:15 38:13,15     positions 79:17,24 85:7 89:4         procedures 12:19,20 14:6 19:14
  39:6 44:24 58:22 63:11 74:8 80:4,    92:20 100:4,11,15,16 101:20          25:22 28:15 51:6,10,12,19 69:16
  6,10 81:1 82:14 86:8 89:22 90:10     135:7 137:21 138:12 139:18
                                                                           proceeding 107:3
  95:4,7,13,17 103:18 110:6,7,8
                                      post 61:5,24 62:1,2,4,5,6 133:8,9
  112:21 116:1,12,13,14,15 120:24
                                       135:1 139:5
                                                                           process 13:22 16:19 17:9,21
                                                                            18:11,19,25 19:6 21:2 22:12,16,
 periods 14:22 28:4 29:13 49:18
                                      post- 129:3                           24 24:9 28:2,22 32:24 37:18 41:8,
  74:18
                                                                            9 47:13,21 52:7 81:7,12 106:8



                       Briggs & Associates 615/482-0037
                             Nashville,
Case 3:22-cv-00093 Document 37-2   FiledTennessee
                                         05/25/22 Page 156 of 162 PageID #: 3138
BOZA PLEASANT-BEY vs STATE OF TENNESSEE
WALTON, JON on 04/08/2021                                                        ·Index: processing..report
  121:20 122:5,8                      26:25 27:2,14 28:19 48:10 62:19   record 7:2 60:13
                                      67:20 76:13 82:25 91:2 95:5
 processing 18:5                                                        records 114:7,8,9,14,20 115:4
                                      110:10 132:13 133:19,23 135:19
                                                                         116:5,10 117:13,16 129:14
 professional 81:18 130:23            139:20,25
  131:8                                                                 red 39:14 45:5 75:9
                                     questions 18:18 29:7 45:20,23
 program 64:25 66:14,16               126:1 132:1 133:11,12,13 137:18   redaction 91:10
                                      141:13,15
 programs 67:3                                                          refer 22:22 94:2
                                     quick 50:6 141:8
 promoted 21:8 43:8 128:17                                              referenced 43:6
 pronounce 72:17                                       R                referral 140:8
 proper 48:7                                                            referred 65:12
 properly 21:17                      radio 140:7                        referring 40:25 42:5,6 51:16 96:1
                                     ran 133:8                           119:7,17
 property 12:18,20 66:2 70:20
  131:20                             rate 60:1 96:15                    reflected 49:18 75:1 94:7
 provide 41:4,15 45:8 64:24 67:2     ratio 59:15,21,22 60:4 63:20,24    reflective 93:22
  87:22 91:9 107:18,19                64:3                              regard 138:10
 provided 46:11 57:19 63:10,12       Raymond 8:3                        regular 130:17
  86:9 108:18 115:7,13,14
                                     reached 120:23                     regularly 7:25 10:25 14:13
 providing 31:9 45:9 78:15 86:5
  99:12                              read 23:12 39:21 52:12,15,16,17,   relate 136:10
                                      18,19 125:10
 provisions 129:11 133:22                                               related 10:3,7 69:12
                                     reading 40:16
 pull 16:3 138:18 139:5,8                                               relates 136:11
                                     reads 80:15
 pulled 15:24 16:11,20 120:5                                            relationship 130:22
                                     reason 10:3,8 34:17 49:3 78:16
 purpose 43:5 52:4 90:23              137:14 141:3                      release 12:20
 purposes 68:11                      reasons 8:11 34:19 41:23 46:9      relevant 107:1
 pursuant 55:17                      reassigned 9:7,10,13,16 35:23      religion 67:14,18
 purview 43:9                        reassigning 10:3                   religious 6:15 66:23 67:2,3,7,11,
                                                                         24,25 68:2
 put 24:14 45:4 49:12 50:22,23       reassignment 10:7 34:18
  73:4,10 79:1 102:21 107:22          125:18                            remains 32:25 39:18 44:22 48:19
  113:19 117:23 122:22 140:11                                            49:13
                                     recall 9:25 33:7 34:2 44:6 47:2
                                      63:23 72:12 88:8 96:13 97:10,24   remedy 123:15
                   Q                  110:16 126:15 133:8
                                                                        remember 22:19 46:14 50:16
                                     receipt 18:10                      removal 21:9
 qualified 52:13
                                     receive 55:13,16,20 57:12,16,20,   removed 34:15,20 35:15,23
 quality 46:18,20,24 47:3 130:7       22,25 58:25 59:2,3 61:18 121:17
 quarter 14:17 22:20 28:2,13                                            removing 34:7
                                     received 18:7 42:1 58:17 78:10,
  29:11 37:17 39:5 80:7,8 108:20                                        reoccurring 32:9
                                      11 115:12
  109:9 110:4,13 117:13,14 120:23
                                     receiving 128:8                    repeat 10:5 16:16 39:15 41:2,3
 quarterly 14:15,18,21,22 15:2,3,                                        47:2 56:6 62:19 74:17 120:8
  9 18:23 21:20 26:22 27:3,8,17,22   recent 30:18                        133:23 139:21
  28:5,10,23 48:13,17,21 49:1,6,7
                                     recently 10:21                     repeated 44:19 94:17
  54:22 59:3 103:18 107:25 119:5
                                     recess 50:14 99:3 117:21 141:11    repeating 45:8
 quarters 111:23
                                     recipient 55:10                    report 21:21,25 22:1,17,23 25:2,
 question 10:5 12:13 14:24 16:16



                       Briggs & Associates 615/482-0037
                             Nashville,
Case 3:22-cv-00093 Document 37-2   FiledTennessee
                                         05/25/22 Page 157 of 162 PageID #: 3139
BOZA PLEASANT-BEY vs STATE OF TENNESSEE
WALTON, JON on 04/08/2021                                                              ·Index: reported..scroll
  11 26:9,12 27:17,18,20 28:11,25     resolution 132:6                      22
  29:11,12,17,22 30:7,8,16 31:19
                                      resolved 132:10                      Roman 118:19 119:8
  32:2,22 34:4 35:6 44:15 45:14
  47:22 48:5,9,12 49:11 56:5,6,14     resource 66:14,16                    roster 60:25
  57:12,19,22 59:10,11,12 61:21,22
                                      respective 36:11,18 44:10            roster's 94:7
  71:10 72:23 74:2,4,15 76:21 77:2,
  9,22 78:10,15,21,23 83:10,16        responded 17:3 31:15 43:18           rosters 60:23 74:7,20
  84:4,13,24 85:18 86:5,12,23 89:7,
  14 90:11,13 94:20 96:9 97:2 99:9,   responding 14:2                      rotate 138:14
  13 100:6 104:9 106:6 108:8          response 17:6,23 31:14 33:5          rounds 133:7
  109:1,9 114:2,6,7,8,9,16 115:10,     41:11,12,25 42:4 44:3 45:13,20,
  11,13 119:1,3,23 120:15,22                                               route 132:6
                                       22 46:11 48:25 49:9 77:13,14
  121:1,3,5 123:2,8,16,21,24 124:8     81:3 99:12                          routine 10:24 11:7 57:19 60:13,
 reported 36:15 37:4 38:2,9,12                                              18
                                      responses 13:25 14:1 40:10,11
  68:14,15 84:15,25                                                        routinely 70:5 81:22 106:3
                                      responsibilities 7:18 119:12
 REPORTER 6:3,19                                                           row 129:6
                                      responsibility 13:5 18:6 36:2
 reporting 28:4,6 41:10 54:20          87:18,20,21 124:10,15               rumor 10:14
  55:7 59:1,5 74:18 82:18,21 84:13
  86:15 88:17,23 89:17,21 90:1        responsible 32:19 33:12 35:2,9,      rumors 10:12,16,17
  91:19 92:16 94:13 95:19 97:20        23
                                                                           run 23:8 129:1
 reports 15:2 22:15,21 23:2,4         responsive 131:3
                                                                           rural 135:25
  24:8 25:20,21 26:24 27:22,25        rest 98:2
  28:1 29:18 44:9,11 47:25 49:10,
  15,19 51:12 54:22 55:11,13,16,19    result 36:15 38:10 75:12 91:10,                       S
  56:16,20 57:11,20,25 58:4,17         11 119:2,3 131:1
  60:13,16 61:8,10,12,18 68:4,8,12    resulted 78:21 131:2                 S-T-A-T 56:10
  72:22 80:25 84:22 86:8,10,13
                                      return 99:5 125:18                   safe 52:12 93:3 133:2 137:15
  90:5,8,16,18,20 91:17 95:7 98:2
  104:5,6,12 105:1 112:18 113:24      review 7:20 13:4,5,9 14:11,21,22     safety 128:10 139:14
  114:14,20,23 115:4,7,12,14           15:1,12,19 16:24 22:3 23:4 28:8,
  116:5,10 117:1,13,16 120:7,20
                                                                           SAITH 141:19
                                       10 36:12,13,24 37:14,23 38:1,11
  121:5 122:17 124:19 133:20           43:11 44:25 49:7 51:12,25 52:2,4    salary 101:5 102:5
  134:1,6 139:23                       57:18 59:4,15 60:23 61:4 62:4,5     sample 15:24
 represent 6:6,18 107:24 113:23        64:2 65:25 68:2,8,11 69:2 74:7,19
  126:4 129:3                          86:9 106:22 108:14 109:11 116:8     samples 16:5,10,20 31:20 45:1
                                       119:4 120:13,24 121:20 124:19       sampling 15:20 19:22
 representing 6:13
                                      reviewed 28:22 39:24 74:20           Sanitation 12:16
 request 37:8                          80:24 105:1 110:15 123:7
 requests 131:4                                                            save 22:4
                                      reviewing 28:5 32:21 78:8
 require 119:14 134:7                  131:22                              saved 116:25 117:2

 required 55:10 61:8 74:21 75:17      reviews 13:6 14:3 16:24 36:19,       scheduled 12:1
  115:7                                24 47:25 48:13,17,21 90:9
                                                                           school 127:8,9,14
                                       121:23,24,25 131:25
 requirement 55:17 63:13,16                                                science 127:15
  69:12 112:23 113:7 134:11,25        revisit 15:3 37:14
  135:6                                                                    scope 23:7 36:1 87:18 101:6
                                      right-hand 26:1 53:12,18              111:22 124:10
 requirements 54:7,20 55:8 59:6       Riverbend 128:14,24 129:8
  62:15,23 113:17                                                          screen 23:15,20 24:5 30:23 39:3
                                       135:13 137:18 140:22 141:5
                                                                            50:24 52:23 73:5 96:5 102:22
 requires 76:4 92:24 134:17           role 20:13 32:14,17 33:23,25          107:23 117:24 118:3
 reside 131:24                         34:16,17 35:4,5 82:16 106:19,21
                                                                           scroll 23:23 24:1,18 25:10 29:21
                                       118:18 124:14 128:11,18 129:20,
                                                                            30:9,21 38:24 42:12 51:8 53:8,14,



                       Briggs & Associates 615/482-0037
                             Nashville,
Case 3:22-cv-00093 Document 37-2   FiledTennessee
                                         05/25/22 Page 158 of 162 PageID #: 3140
BOZA PLEASANT-BEY vs STATE OF TENNESSEE
WALTON, JON on 04/08/2021                                                        ·Index: scrolling..standards
  20 54:15 60:7 62:7 64:16 66:18     sets 54:7                          specific 16:23 18:21 33:7 40:13
  77:18,24 78:4 79:12 80:12 83:14                                        44:4 75:5 130:24
                                     severity 40:3
  85:9 86:18 88:9 92:12 94:15
                                                                        specifically 47:2,6 97:16
  100:6 109:13,25 110:24             share 23:15
                                                                        specifies 48:15
 scrolling 33:2 39:9 44:14 93:10     she'll 48:8
  97:1 106:10                                                           spell 56:7
                                     sheet 13:13
 sec 73:21                                                              spend 105:25
                                     shift 21:1 60:13,16,23,25 69:15
 secondary 86:11                      74:19 75:3 94:7 136:12            spent 99:25 127:10
 section 51:9 62:12,21 63:3,9        shifts 74:20 75:5                  spill 106:5
  64:19 99:12 118:19 119:22 121:4
                                     shipping 128:8                     spoke 126:5
 sector 129:9
                                     short 37:21 136:21 139:7           spreadsheet 14:10,14 116:23
 security 12:20 62:3 63:20 64:3,                                         120:5
  25 68:20 69:21 70:21 75:24 76:2,
                                     shortage 138:17,18
                                                                        staff 33:12,15 34:23 35:1,9 36:5
  7,13,14 128:15 129:13 130:19       shortly 53:1
                                                                         37:2 43:10 46:11 51:12 55:21
  135:13 139:14
                                     show 15:10 23:16 37:17 80:13        57:13,15,17 61:1,3 63:20 66:7,10,
 segued 129:12                        122:21 136:13 137:25               16 67:1,10 68:5 70:18 74:7 84:2
                                                                         107:2 118:21 129:25 130:2,6,16
 select 16:4                         showing 102:14 141:3                135:18 136:2,6,13,15,17,21
 selecting 16:5                      sick 136:15                         137:6,23 138:6,11,25 140:2,3,12,
                                                                         15,19,22
 send 13:14 117:1                    side 105:15 120:12 129:13,14
                                                                        staffed 74:21 82:8
 sending 91:17 92:3                  signage 140:7
                                                                        staffing 12:17 55:21 57:13,20,22,
 sense 14:23 28:18                   similar 113:24                      25 58:17 59:12 62:13,16,23
 sensitive 75:24 76:2,7,13           simpler 76:12                       63:14,17 64:2 67:25 74:7,16,22
                                                                         75:11 78:5,6,7,10,23 79:3,14,16
 sentence 35:7,13 38:3,8 63:9,13,    simply 133:15 134:17,21             80:25 81:21 82:3,10,13,20 83:1,
  18 64:23 65:1 74:6 80:15 85:10
                                     single 29:17                        16,19 84:2,4,9,11,13,23 85:3,18,
 separate 13:3,12 28:22 59:12                                            22 86:19 87:5,15 88:10,13,14,22
  86:8 120:16                        sir 43:3 126:18 129:21 132:16,18    89:2,11 90:5 92:10,13,19,23 93:3,
                                      134:9                              16,19 94:17 95:1,7,14,15 96:8
 separated 78:16                                                         97:3,8,16,20 98:5,12 99:9 100:8
                                     sit 120:18
 separation 78:18                                                        115:7,11,13,14 119:7,19,20
                                     site 10:25 12:1 57:17 108:12        120:18 134:24,25 135:5,17,20
 September 33:11 35:8 40:21                                              136:11 137:20 138:17,18 139:18
  84:22 89:8,15 90:4 91:16,21        situations 60:14,19
                                                                         141:2
  93:12                              six-month 95:7,13
                                                                        stamp 26:11 53:5,10 55:2,4
 Sergeant 20:18,20                   slash 62:13 77:15 119:23 121:6      64:17 66:19 83:15 85:18 87:4
 series 13:24 54:23 61:12 73:7       SNR 119:24 120:8,11,17 121:1        93:12 94:16 96:6 103:2,4 111:16
  99:6                                                                   113:25 115:24
                                     sort 75:20 77:20
 served 129:6                                                           stamped 29:3,23 59:7 60:8 62:8
                                     sound 43:21                         73:15 85:10 99:21 108:5 109:25
 service 31:15 78:16 107:18,19
  128:5                              sounds 78:24 104:14 132:11         stand 56:11
 services 6:15 12:21 63:11 64:20     space 67:1,11                      standard 16:7 75:20 86:10 90:1
  66:23 67:2,3,7,11,24 68:2 108:9,   speak 10:14 17:10,15 22:25 70:7     113:12,13 114:7
  10,17 109:3 110:25 112:2,17,23      73:21 84:12 97:16 104:22 105:3,   standardized 16:5
  113:17 138:22                       5,6
                                                                        standards 7:21 14:1,11 54:12
 set 7:21 54:12 62:2,15,22 63:4      speaking 76:22 107:16 121:15        108:14 114:12
  102:12 114:12                       132:9



                       Briggs & Associates 615/482-0037
                             Nashville,
Case 3:22-cv-00093 Document 37-2   FiledTennessee
                                         05/25/22 Page 159 of 162 PageID #: 3141
BOZA PLEASANT-BEY vs STATE OF TENNESSEE
WALTON, JON on 04/08/2021                                                                  ·Index: start..time
 start 6:7 58:6 92:3                 succinct 13:9                        93:13 94:16 96:6 97:1 99:21
                                                                          100:7 103:4 108:5 110:1 111:17
 started 97:9 126:24 127:11,24,25    sufficient 28:7 91:13
                                                                          113:25 115:24 118:1,10,21
  129:14
                                     suggest 106:23                       123:21 124:21 125:9,11 129:18
 starting 22:10
                                     suggested 125:9                     TDOC's 16:8 19:8 104:1,17
 starts 72:18
                                     suggestion 125:12                   team 9:17 47:3 71:10 120:12
 stat 56:5,10,11,14,20 57:12 59:10
                                     suggestions 121:18                  technical 19:16
  61:20,22
                                     suicide 72:3                        technology 127:16 139:25
 state 6:14 7:2 54:20 59:5 61:8
  115:6 128:5,14 137:7               summary 77:10 103:7 119:22          television 140:6
                                      120:3,4,19 121:2
 State's 55:7                                                            tells 18:4
                                     summer 44:7
 state-wide 129:16                                                       temporary 137:6
                                     supervision 47:18 64:24
 statement 37:12 44:1                                                    ten 13:3,12 50:10,12
                                     supervisor 21:1 44:11 81:17
 states 33:11 36:10 38:8 39:15                                           Tennessee 6:13,14 7:7,22 9:18
                                      90:8,15 128:18 129:6,15
  41:15,22,24 51:9 53:15 60:11                                            31:21 32:10 36:7 90:24 91:12
  61:6 63:19 64:22 66:25 74:7,11     supervisor's 41:25                   107:17 124:9,20 126:10 127:11,
  75:10 76:17 99:22 119:11                                                12 128:5,21 129:11 136:1
                                     supervisors 123:21
 stating 45:25                                                           tenure 103:19
                                     supervisory 46:10
 stayed 129:15                                                           term 105:16
                                     supply 63:13
 staying 28:15 92:20                                                     terminated 84:17
                                     surprised 15:13
 steer 17:19                                                             termination 34:18 58:9
                                     surround 108:17
 stepdaughter 126:22 127:20                                              terms 105:22 118:23 140:22
                                     surrounding 8:9 47:23 48:4           141:2,3
 store 58:11
                                     swear 97:17                         Terry 46:21 130:9
 stored 13:7 56:21,24 57:4
                                     sworn 6:24                          test 15:11
 story 37:21
                                     system 55:25 56:1,3,24 57:3         testified 27:3 29:2 63:23 113:6
 Stranch 6:10                         69:3
                                                                         testimony 131:11
 strict 75:20
                                                     T                   thing 22:1 59:13,14 60:20,22
 strike 21:3 28:1 60:3 64:1 81:11
                                                                          61:16 68:1 72:22 88:21 108:16
  103:2
                                     table 31:5,8,9,10,24 39:22 40:7,     111:7 118:8 136:24 137:17 138:7
 strong 140:11                        16 75:4                            things 17:19 19:5 24:20 36:6
 subject 51:5 103:7 118:13           takes 81:7 90:8 125:19               81:2,13 105:21 124:12

 subjective 80:24                    taking 28:17                        Thomas 73:1
 subjects 54:23                      talk 82:14 133:14 134:24            thought 52:17 104:10
 submit 51:9,16 61:7                 talked 72:21 92:10                  time 6:5 8:21 11:23 14:3 17:4,8
                                                                          19:16 22:7 23:23 27:1,21 28:7
 submits 78:15 86:4 90:16            talking 42:10 73:9 108:4 116:13      29:11 34:1 37:18 38:6,12 41:9
 submitted 51:18 61:11 69:3          tandem 89:24                         45:4 46:12 48:22 49:2,18 57:18
  90:11,18 91:3,7 93:11 94:21                                             58:21 70:10 75:2,7 77:21 80:3
  114:23 115:16 121:9                TDOC 9:21,22 14:7 16:5 26:11         83:11,22 84:6,17 87:11,13 89:16,
                                      29:3,23 30:10,23 31:11 40:8         22 90:10,12 95:9,17 98:22 102:13
 submitting 90:5,7                    45:22 47:12,17 49:17 50:17 51:11    105:25 108:13 110:6,7,9 113:15
 successful 43:24                     55:12 57:9 60:5 68:18 69:22,24      115:10 116:12,13,14,15 119:6
                                      73:16 80:14 81:11 83:15 85:10,18    127:1 128:6 133:4,9 135:3 137:10
 successfully 45:17                   87:4,20,23 88:3,5 89:8 92:24



                       Briggs & Associates 615/482-0037
                             Nashville,
Case 3:22-cv-00093 Document 37-2   FiledTennessee
                                         05/25/22 Page 160 of 162 PageID #: 3142
BOZA PLEASANT-BEY vs STATE OF TENNESSEE
WALTON, JON on 04/08/2021                                                   ·Index: timely..walk-throughs
 timely 16:25 42:1 92:8               100:3,11 103:14,25 104:17        unit 129:7 138:14 139:7
                                      108:24 109:2 112:22 113:16
 times 16:11,21 105:16 131:12                                          University 127:17
                                      116:15 122:10 129:25 130:2
  132:19 136:13,15,17 137:6
                                      133:1 135:15 138:6,11 139:19     unsafe 133:5
 tiny 53:23                           140:18
                                                                       upcoming 42:13 43:15
 title 7:4,9 11:17 12:25             Trousdale's 7:23 22:12 67:7
                                      71:17
                                                                       uptick 94:4 96:15,23
 titled 54:16 62:13 63:19 64:19
                                     true 83:11 111:7 135:9            usual 11:4
  66:23 121:4 122:5
                                     TTCC 103:7                        utilize 14:11 16:23 138:24
 titles 58:5
                                                                       utilized 120:11
 today 6:3 12:1 72:8,9,11 73:2       Tuesday 72:14
  125:16 138:18
                                     turn 90:1 91:1 107:16             utilizes 114:10 138:11
 told 8:11,13 12:8                                                     utilizing 17:25
                                     Turner 7:8 52:10
 Tom 6:12
                                     Turney 128:4 135:11,24 136:13
                                                                                         V
 TOMIS 55:25 56:2 69:3,14             137:5,9 140:23 141:6
 Tony 6:14 9:23                      turnover 55:21 57:13,15 59:11,    vacancies 12:18 55:21 57:13,15
                                      15,21,22 60:4 63:20,24 64:3       59:11 63:9 74:8 137:3 138:12
 tool 14:12,18 16:23 18:1 120:11
                                     type 130:21                       vacancy 59:20 63:11 75:8 78:21
 top 10:1 18:21 26:1 28:15 73:15
  93:12 94:16 96:6 111:16            typically 23:11 24:8 81:25 92:7    79:24 84:22 139:11
                                      132:10                           vacant 58:7 60:1,2 75:2,6 78:22
 total 58:7 63:17 78:20 99:23
  100:10                                                                79:17,18 83:24 84:20 85:1,7
                                                     U                  87:12 89:4 92:19,20 94:8 100:4,
 totals 56:17                                                           10,15,16 101:19 102:11 135:1
 town 126:12                         U.T.I. 128:7                      vacated 78:18
 track 76:19 120:8                   uh-huh 39:1 41:17 42:16 43:17     Vantell 8:24
 tracking 67:6 120:6                  44:20 134:23
                                                                       varies 70:9
 traditionally 23:6 132:3 137:3      ultimately 17:1 49:12 107:15
                                                                       verbal 87:23
 training 55:22 57:14,17,23          unacceptable 60:5
                                                                       verbiage 65:12
  128:10,19,21                       unannounced 15:15
                                                                       view 140:25
 transfers 56:17                     uncommon 24:11
                                                                       Vincent 8:24
 transported 70:19                   undergrad 127:14
                                                                       visit 10:23 11:19 15:15
 treasury 124:21                     underneath 41:18 42:17 44:2
                                                                       visited 10:21 11:23
 treatment 67:7 69:4,5 84:20          54:2 61:12 106:14
                                     underperforming 34:22             voluntary 78:17
 Tricia 6:9
                                                                       volunteer 6:15 64:20,25 65:2,5,
 Trousdale 7:8,14 8:2,5,15,18 9:9    understand 16:18 48:20 56:7
                                                                        9,17 66:3
  10:21,23 11:1,6,10,19 13:22         73:9 134:6 139:20
  17:10 18:18,25 19:25 21:4,15                                         volunteers 65:22,24 67:1,10
                                     understanding 8:25 10:2,6
  22:8,10,20 23:9 29:5 30:19 33:21                                      68:6
                                      34:5,15 54:6 61:15 66:15 90:20
  47:14 49:24 51:16,18,22,23          103:25 104:16 124:25 125:1       VP 9:24 10:20
  52:10,23 54:8,13,21 55:8,13         132:13
  57:21 58:1,22 59:16 62:16,23
  63:14,15,24 64:2,4 65:5,22 66:6,   understood 16:14 95:5 135:19                        W
  10,16 67:10,13,24 68:9 69:25       unexplained 71:11
  70:4,24 71:11,23 77:11 80:10                                         walk 15:18 73:8 132:13,22
  81:21 82:3,8,11,21 83:12 88:2,7    unfilled 83:23 85:6 89:4 94:8
                                      96:15 100:4                      walk-throughs 131:21
  90:21,25 91:3,17 95:13 97:6,9



                       Briggs & Associates 615/482-0037
                             Nashville,
Case 3:22-cv-00093 Document 37-2   FiledTennessee
                                         05/25/22 Page 161 of 162 PageID #: 3143
BOZA PLEASANT-BEY vs STATE OF TENNESSEE
WALTON, JON on 04/08/2021                                              ·Index: walking..zoom
 walking 105:25 133:7                 writes 36:2
 walks 133:1                          writing 61:9
 wall 119:4                           written 31:1 35:5 36:4 39:25
                                       42:18 45:7 87:23
 Walton 6:23 7:3 12:23 23:22
  24:17 27:14 29:15 50:16 53:4        wrong 89:20 90:7 94:21 115:17
  99:5 103:3 107:23 113:6,23           117:12
  116:16 117:11,23 118:8 125:25
                                      wrote 35:21 52:15
  126:3 141:12,17
 Walton's 13:18
                                                     Y
 wanted 13:8 29:6,9 43:12 102:6
 warden 7:23 8:2,3,14,15,20,21        year 14:16 16:11,21
  9:6,10,12,16 10:3,4,7 11:2 36:11,   year- 132:25
  15,19 38:2,9,12 44:10,12 78:15
  84:6,7 87:13,24 88:2,6 94:21        year-and-a-half 133:5
  97:5,8,11,13 125:16,21 130:11,13    years 126:20 127:10 129:3
 warden's 84:3                        yes,ma'am 25:4
 wardens 130:18                       yesterday 11:25 138:16
 Washburn 84:7 87:13 88:2             young 81:19 127:2
  130:14
 Washburn's 87:24 88:6                               Z
 week 72:12 121:14
                                      Zagorski 129:1,5
 weekly 36:12,19,24 44:9 54:22
  121:5,6                             zoom 6:7,20 24:2,21 53:21 73:6
 weeks 8:19
 Welborn 6:17,21 34:11 50:1
  64:6,12 65:10 79:7 80:2,21 83:6
  94:10 95:21 98:7,20 100:18,24
  101:22 104:20 109:6 112:25
  114:25 115:8 117:19 122:13
  124:3 125:7 126:1,2,3 141:8,12
 West 126:10 135:25
 witnessed 139:2
 word 39:15
 words 27:16 93:22 137:20
 wore 128:10
 work 6:8 7:23 87:15 91:18 124:9
  128:6,14 129:9,18 136:6,24
  137:1,25 138:4 141:4
 worked 19:13 61:2 85:11 86:22
  99:15 123:14 135:10
 working 33:20 36:5 89:16,24
  90:9 102:10 130:22 138:25
 write 42:3 52:17 100:9




                       Briggs & Associates 615/482-0037
                             Nashville,
Case 3:22-cv-00093 Document 37-2   FiledTennessee
                                         05/25/22 Page 162 of 162 PageID #: 3144
